                            Case 25-10308             Doc 436-7               Filed 05/09/25     Page 1 of 110

                                                                                       February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                        Account Number:                       3719
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00074016 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 80 0000


       ALLIANCE GAME DISTRIBUTORS
       CONTROLLED DISBURSEMENT ACCOUNT
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                   Market Value/Amount                      Shares


Opening Ledger Balance                                                                                     $0.00


Deposits and Credits                                                     19                        $573,860.55


Withdrawals and Debits                                                    0                                $0.00


Checks Paid                                                              72                        $573,860.55


Ending Ledger Balance                                                                                      $0.00


Deposits and Credits

Ledger              Description                                                                                                      Amount

Date


02/03              Abr Special - A Increase                                                                                        $17,467.15

02/04              Abr Special - A Increase                                                                                          9,708.56

02/05              Abr Special - A Increase                                                                                         10,343.81

02/06              Abr Special - A Increase                                                                                           603.50

02/07              Abr Special - A Increase                                                                                           811.64

02/10              Abr Special - A Increase                                                                                          2,951.20

02/11              Abr Special - A Increase                                                                                           945.00

02/12              Abr Special - A Increase                                                                                         34,317.96

02/13              Abr Special - A Increase                                                                                         35,031.42

02/14              Abr Special - A Increase                                                                                           117.97

02/18              Abr Special - A Increase                                                                                         98,164.84

02/19              Abr Special - A Increase                                                                                         68,840.80

02/20              Abr Special - A Increase                                                                                        164,559.20

02/21              Abr Special - A Increase                                                                                         74,028.30

02/24              Abr Special - A Increase                                                                                         11,768.22

02/25              Abr Special - A Increase                                                                                         16,436.21

02/26              Abr Special - A Increase                                                                                         12,216.76

02/27              Abr Special - A Increase                                                                                         11,531.39

* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                     Page 1 of 4
                               Case 25-10308         Doc 436-7          Filed 05/09/25        Page 2 of 110

                                                                                    February 01, 2025 through February 28, 2025
                                                                                     Account Number:                     3719




Deposits and Credits               (continued)


Ledger              Description                                                                                                Amount

Date


02/28              Abr Special - A Increase                                                                                    4,016.62

Total                                                                                                                 $573,860.55



Checks Paid

         Check     Date Paid         Amount        Check    Date Paid          Amount         Check     Date Paid              Amount

         17252     02/26           $1,236.53      117209*   02/14              $73.91        117241      02/21            $3,531.20
        117175*    02/03           $7,362.70      117211*   02/12             $450.65        117243*     02/28                 $205.92
        117177*    02/04           $7,609.74      117212    02/12            $6,766.07       117246*     02/18                  $46.68
        117179*    02/04           $1,402.67      117213    02/14              $44.06        117247      02/21                 $935.45
        117180     02/03          $10,104.45      117214    02/11             $860.00        117248      02/21                 $531.60
        117182*    02/05           $4,342.76      117215    02/20           $20,181.20       117250*     02/21            $4,187.65
        117186*    02/13           $4,129.58      117216    02/25            $4,162.99       117251      02/20            $2,687.23
        117187     02/13          $30,421.41      117217    02/19             $390.23        117254*     02/27                 $441.46
        117189*    02/06            $603.50       117219*   02/18            $1,581.63       117256*     02/21          $31,468.50
        117192*    02/10           $1,828.13      117220    02/20             $684.52        117257      02/19            $3,536.40
        117193     02/07            $811.64       117221    02/24           $11,544.22       117259*     02/26            $3,921.02
        117194     02/18            $325.14       117222    02/20             $150.99        117260      02/25                 $127.21
        117195     02/10            $622.89       117224*   02/19           $60,581.29       117261      02/28                  $14.00
        117196     02/10            $500.18       117226*   02/20          $138,940.80       117263*     02/26            $3,424.50
        117198*    02/18            $197.49       117227    02/18           $95,649.57       117264      02/25                  $24.15
        117199     02/04            $696.15       117228    02/25           $11,000.77       117265      02/25                 $295.68
        117200     02/11             $85.00       117229    02/19            $4,332.88       117266      02/27            $1,619.35
        117201     02/05           $6,001.05      117231*   02/25              $10.00        117268*     02/28            $2,453.43
        117202     02/13            $353.71       117232    02/21              $15.10        117269      02/26            $3,634.71
        117203     02/13            $126.72       117234*   02/20             $330.46        117271*     02/28                 $529.56
        117204     02/12           $9,642.24      117235    02/24             $224.00        117276*     02/27            $4,332.85
        117205     02/12            $714.45       117236    02/21           $33,358.80       117278*     02/25                 $815.41
        117206     02/12          $16,744.55      117237    02/18             $364.33        117281*     02/27            $4,213.48
        117207     02/20           $1,584.00      117240*   02/27             $924.25        117283*     02/28                 $813.71


Total          72 check(s)                                                                                           $573,860.55
* indicates gap in sequence


Daily Balance


                                                     Ledger                                                                     Ledger

Date                                                Balance         Date                                                       Balance

02/03                                                  $0.00        02/18                                                        $0.00
02/04                                                  $0.00        02/19                                                        $0.00
02/05                                                  $0.00        02/20                                                        $0.00
02/06                                                  $0.00        02/21                                                        $0.00
02/07                                                  $0.00        02/24                                                        $0.00
02/10                                                  $0.00        02/25                                                        $0.00
02/11                                                  $0.00        02/26                                                        $0.00
02/12                                                  $0.00        02/27                                                        $0.00
02/13                                                  $0.00        02/28                                                        $0.00
02/14                                                  $0.00




                  Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                                 Page 2 of 4
                             Case 25-10308         Doc 436-7        Filed 05/09/25        Page 3 of 110

                                                                                February 01, 2025 through February 28, 2025
                                                                                 Account Number:                         3719




       Alliance Game Distributors
       Controlled Disbursement Account




Stop Payment Renewal Notice


Account Number                 3719                                                                  Bank Number:         802




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke           Sequence           Date             Renewal                  Low Range or                         High Range

Stop             Number             Entered          Date                    Check Number                            or Amount

                 0000056            05/03/2024       05/03/2025                     115141                               $150.00
                 0000057            05/08/2024       05/08/2025                     115184                         $12,976.00
                 0000058            05/09/2024       05/09/2025                     115482                               $213.25
                 0000059            05/17/2024       05/17/2025                     115510                        $865,130.92




Alliance Game Distributors                                                            JPMorgan Chase Bank, N.A.
Controlled Disbursement Account                                                       P O Box 182051
10150 York Rd                                                                         Columbus     OH 43218-2051
Hunt Valley MD 21030-3340




                                                                                                           Page 3 of 4
Case 25-10308   Doc 436-7        Filed 05/09/25   Page 4 of 110




            This Page Intentionally Left Blank




                                                              Page 4 of 4
                            Case 25-10308             Doc 436-7               Filed 05/09/25     Page 5 of 110

                                                                                       February 01, 2025 through February 28, 2025
       JPMorgan Chase Bank, N.A.
                                                                                        Account Number:                      0569
       P O Box 182051
       Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00099668 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 62 0000


       ALLIANCE GAME DISTRIBUTORS
       10150 YORK RD
       HUNT VALLEY MD 21030




Commercial Checking

Summary
                                                                      Number                   Market Value/Amount                      Shares


Opening Ledger Balance                                                                             $557,349.90


Deposits and Credits                                                   182                     $11,533,623.27


Withdrawals and Debits                                                   40                    $12,090,612.17


Checks Paid                                                               0                                $0.00


Ending Ledger Balance                                                                                   $361.00


Deposits and Credits

Ledger             Description                                                                                                       Amount
Date

02/03              Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Martin Delgado                                         $4,125.00
                   NM 88201 Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors Hunt Valley
                   MD 21030- US/Ac-               6410 Rfb=Ow0000535855541 9
                   Bbi=/Chgs/USD0,00/ Imad: 0203I1B7033R022841 Trn: 1162111034Ff
                   YOUR REF: OW00005358555419

02/03              Lockbox No: 22009 For 18 Items At 16:00 5 Trn: 2500718034Lb                                                      40,515.24

02/03              Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250131 CO                                   154,695.83
                   Entry Descr:186003      Sec:CCD      Trace#:242071759333176 Eed:250203
                   Ind ID:ACH-0131-B7F8B                Ind Name:Alliance Game Distribu Trn:
                   0319333176Tc

02/03              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250203                                 128,569.66
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000022022801 Eed:250203
                   Ind ID:6406597                  Ind Name:Alliance Game Distribu Trn:
                   0342022801Tc

02/03              Orig CO Name:Gamer Knights Ll            Orig ID:S941687665 Desc Date:250203                                     40,000.00
                   CO Entry Descr:Sender        Sec:CTX     Trace#:113000022022795 Eed:250203
                   Ind ID:770038122                 Ind Name:0000Alliance Game Di
                   Onlne Trnsfr88871070 Trn: 0342022795Tc




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                     Page 1 of 16
                     Case 25-10308           Doc 436-7         Filed 05/09/25         Page 6 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                            Account Number:                      0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

02/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250131                            17,419.72
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019333171 Eed:250203
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25032 Trn: 0319333171Tc

02/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250201                            11,867.89
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012022799 Eed:250203
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25034 Trn: 0342022799Tc

02/03      Orig CO Name:Phu Top Cards Ll          Orig ID:S941687665 Desc Date:250203                               9,988.32
           CO Entry Descr:Sender       Sec:CTX    Trace#:113000022022797 Eed:250203
           Ind ID:769816194               Ind Name:0000Alliance Game Di
           Onlne Trnsfr88871070 Trn: 0342022797Tc

02/03      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:013125                                6,945.92
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759333178
           Eed:250203    Ind ID:E74446 - 000003            Ind Name:Alliance Game
           Distribu Trn: 0319333178Tc

02/03      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:         CO                               2,995.31
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000029333173 Eed:250203          Ind
           ID:015Nnmustebo8Et             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Nnmust Ebo8Et Inv 2442108 Trn: 0319333173Tc

02/04      Book Transfer Credit B/O: Versus Games LLC Daly City CA 94015-4627 US                                  17,700.12
           Ref: Aetherdirft Release Product Trn: 3338245035Es
           YOUR REF: BMG OF 25/02/04

02/04      Lockbox No: 22009 For 13 Items At 16:00 5 Trn: 2501143035Lb                                            15,086.77

02/04      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250204                            312,165.62
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021374200 Eed:250204
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0351374200Tc

02/04      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250203 CO                               292,377.74
           Entry Descr:186003   Sec:CCD      Trace#:242071754092971 Eed:250204
           Ind ID:ACH-0203-E453B             Ind Name:Alliance Game Distribu Trn:
           0344092971Tc

02/04      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020325                                9,662.86
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754092975
           Eed:250204    Ind ID:8226Xw - 000003            Ind Name:Alliance Game
           Distribu Trn: 0344092975Tc

02/04      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:       CO                            5,679.81
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000014092973 Eed:250204
           Ind ID:2431773                Ind Name:Alliance Games West
           EDI Trn: 0344092973Tc

02/04      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 04                              1,814.34
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394203313 Eed:250204
           Ind ID:                  Ind Name:Alliance Games Trn: 0354203313Tc

02/04      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 04                                  516.53
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394203309 Eed:250204
           Ind ID:                  Ind Name:Alliance Games Trn: 0354203309Tc

02/04      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 04                                  311.50
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394203311 Eed:250204
           Ind ID:                  Ind Name:Alliance Games Trn: 0354203311Tc

02/05      Chips Credit Via: Bank of America, N.A./0959 B/O: 1/Nutmeg Games LLC                                     8,500.00
           3/US/New Milford 06776 Ref: Nbnf=Alliance Game Distributors Hunt Valley
           MD 21030- US/Ac-0000000064 10 Org=/385032787087 3/US/New Milfo Rd
           06776 Ogb=/385032787087 New Milf Ord CT 06776-4328 Obi=/Uri/Nutmeg G
           Ames LLC 139003 Ssn: 00517448 Trn: 0124146036Fc
           YOUR REF: 2025020500505497




                                                                                                         Page 2 of 16
                      Case 25-10308           Doc 436-7        Filed 05/09/25        Page 7 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                             Account Number:                    0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/05      Fedwire Credit Via: Navy Federal Credit Union/256074974 B/O: Erkz Card                                  1,080.20
           Bazaar LLC Orange Park FL 32073 US Ref: Chase Nyc/Ctr/Bnf=Alliance
           Game Distributors Hunt Valley MD 21030- US/Ac-             6410
           Rfb=Opf10280092979 Obi=Merchandise Acquisition Imad:
           0205Mfp00127001506 Trn: 0953511036Ff
           YOUR REF: OPF10280092979

02/05      Lockbox No: 22009 For 19 Items At 16:00 5 Trn: 2503886036Lb                                           34,322.43

02/05      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250205                           538,125.71
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027721903 Eed:250205
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0367721903Tc

02/05      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250204 CO                             173,431.92
           Entry Descr:186003    Sec:CCD      Trace#:242071755086031 Eed:250205
           Ind ID:ACH-0204-640B8             Ind Name:Alliance Game Distribu Trn:
           0355086031Tc

02/05      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250204                           75,091.10
           CO Entry Descr:Settlementsec:CCD        Trace#:091000015086035 Eed:250205
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25036 Trn: 0355086035Tc

02/05      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020425                             25,040.31
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755086033
           Eed:250205    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0355086033Tc

02/05      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:      CO                          23,277.33
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000015086029 Eed:250205
           Ind ID:2432358                Ind Name:Alliance Games West
           EDI Trn: 0355086029Tc

02/05      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:         CO                              3,353.93
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000025086037 Eed:250205          Ind
           ID:015Kzubcafbt0Xj            Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Kzubca Fbt0Xj Multiple Invoices Trn: 0355086037Tc

02/05      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Feb 05                              1,144.64
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000086689409
           Eed:250205    Ind ID:366184857545278             Ind Name:Alliance Game
           Distribu   Ref*TN*3661848575*Payment Via Payon Eer\ Trn: 0366689409Tc

02/06      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                   7,436.47
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 2430689 01/02/2025 2431227 01/03/2025 2432294
           01/07/2025 2432946 01/08/2025 2433499 01/08/2025/Chgs/USD20
           ,00/Ocmt/USD7456,47/ Trn: 2042001035Js
           YOUR REF: SWF OF 25/02/04

02/06      Lockbox No: 22009 For 9 Items At 16:00 5 Trn: 2500663037Lb                                            16,687.68

02/06      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250205 CO                             203,789.75
           Entry Descr:186003    Sec:CCD      Trace#:242071756792354 Eed:250206
           Ind ID:ACH-0205-4Bfc2             Ind Name:Alliance Game Distribu Trn:
           0366792354Tc

02/06      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250206                           197,229.26
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028045312 Eed:250206
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0378045312Tc

02/06      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250205                           53,982.87
           CO Entry Descr:Settlementsec:CCD        Trace#:091000016792352 Eed:250206
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25037 Trn: 0366792352Tc




                                                                                                        Page 3 of 16
                     Case 25-10308             Doc 436-7        Filed 05/09/25         Page 8 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                       569




Deposits and Credits      (continued)

Ledger     Description                                                                                                  Amount
Date

02/06      Orig CO Name:UPS-Capital               Orig ID:2362407381 Desc Date:020525                             15,101.51
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071756792350
           Eed:250206    Ind ID:E74446 - 000003             Ind Name:Alliance Game
           Distribu Trn: 0366792350Tc

02/06      Orig CO Name:Newbury Comics              Orig ID:1042744540 Desc Date:                                   7,813.88
           CO Entry Descr:Payments Sec:CCD           Trace#:051000016792356
           Eed:250206    Ind ID:40589                   Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0366792356Tc

02/06      Orig CO Name:Card Kingdom               Orig ID:1870697704 Desc Date:       CO                           4,146.80
           Entry Descr:EDI Pymntssec:CCD          Trace#:091000016792359 Eed:250206
           Ind ID:2433540                 Ind Name:Alliance Games West
           EDI Trn: 0366792359Tc

02/06      Orig CO Name:Intuit 72870370           Orig ID:9215986202 Desc Date:020325                               2,616.50
           CO Entry Descr:Bill_Pay Sec:CCD         Trace#:021000026792361 Eed:250206
           Ind ID:Enchanted Groun             Ind Name:Alliance Game Distribu Trn:
           0366792361Tc

02/06      Orig CO Name:Incipix Corporat          Orig ID:1637678000 Desc Date:250206                                   877.05
           CO Entry Descr:2 Bills    Sec:CCD      Trace#:021000022835801 Eed:250206
           Ind ID:E59367214                Ind Name:Alliance Game Distribu       2 Billsinv
           2433179, 2434512 Trn: 0372835801Tc

02/07      Fedwire Credit Via: Choice Financial Group/091311229 B/O: Lokok LLC                                    32,201.85
           Orlando FL 32819 Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors Hunt
           Valley MD 21030- US/Ac-                6410 Rfb=O/B Choicefin O Bi=Lokok LLC,
           Email Order From Febr Uar Y 7th Imad: 0207Mmqfmp4S002058 Trn:
           0737701038Ff
           YOUR REF: O/B CHOICEFIN

02/07      Book Transfer Credit B/O: Siam Commercial Bank Public CO Ltd Bangkok                                     5,857.55
           Thailand 10900- th Org:/1512384491 1/Our Games Trading CO.,Ltd. Ref:
           Invoice 2447171 For 405205-013/Ocmt/USD5857,55/ Trn: 6499853038Fs
           YOUR REF: SWF OF 25/02/07

02/07      Lockbox No: 22009 For 11 Items At 16:00 5 Trn: 2501052038Lb                                              9,895.40

02/07      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250206 CO                            380,198.51
           Entry Descr:186003       Sec:CCD    Trace#:242071757246580 Eed:250207
           Ind ID:ACH-0206-73D01               Ind Name:Alliance Game Distribu Trn:
           0387246580Tc

02/07      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250207                           105,399.47
           CO Entry Descr:Deposit       Sec:CCD     Trace#:021000027246582 Eed:250207
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0387246582Tc

02/07      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250206                           20,948.38
           CO Entry Descr:Settlementsec:CCD         Trace#:091000013589154 Eed:250207
           Ind ID:1199200601                Ind Name:Alliance Gam1199200601
           Payment Date 25038 Trn: 0373589154Tc

02/07      Orig CO Name:UPS-Capital               Orig ID:2362407381 Desc Date:020625                               5,449.70
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071753589152
           Eed:250207    Ind ID:E74446 - 000004             Ind Name:Alliance Game
           Distribu Trn: 0373589152Tc

02/07      Orig CO Name:Incipix Corporat          Orig ID:1637678000 Desc Date:250207                               1,720.80
           CO Entry Descr:3 Bills    Sec:CCD      Trace#:021000028443441 Eed:250207
           Ind ID:E59449350                Ind Name:Alliance Game Distribu       3 Billsinv
           2433919, 2434772, 243735 1, W/ Cm's Trn: 0388443441Tc

02/07      Orig CO Name:Bull Moose Music           Orig ID:010504481   Desc Date:      CO                           1,232.33
           Entry Descr:020725-1 Sec:PPD         Trace#:211274452271380 Eed:250207
           Ind ID:Alliance Game D             Ind Name:Alliance Game Distribu Trn:
           0382271380Tc




                                                                                                         Page 4 of 16
                     Case 25-10308           Doc 436-7         Filed 05/09/25        Page 9 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                              Account Number:                   0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/10      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                   13,277.51
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           2434742/2442270/2430117/2437279/2433267/2430544/2442951/2439830/24
           3051 7/Credit 822172/Ocmt/USD13277,51/ Trn: 2064475041Js
           YOUR REF: SWF OF 25/02/10

02/10      Lockbox No: 22009 For 32 Items At 16:00 5 Trn: 2502885041Lb                                           79,073.15

02/10      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250207 CO                              235,573.57
           Entry Descr:186003   Sec:CCD      Trace#:242071755288968 Eed:250210
           Ind ID:ACH-0207-21346             Ind Name:Alliance Game Distribu Trn:
           0385288968Tc

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                             58,718.60
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024874371 Eed:250210
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0414874371Tc

02/10      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250207                           20,679.02
           CO Entry Descr:Settlementsec:CCD        Trace#:091000015288966 Eed:250210
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25039 Trn: 0385288966Tc

02/10      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250208                             9,809.32
           CO Entry Descr:Settlementsec:CCD        Trace#:091000014874369 Eed:250210
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25041 Trn: 0414874369Tc

02/10      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020725                               8,512.91
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755288970
           Eed:250210    Ind ID:E74446 - 000003            Ind Name:Alliance Game
           Distribu Trn: 0385288970Tc

02/11      Fedwire Credit Via: Bank of America, N.A./026009593 B/O: Fantasiapelit                                10,614.06
           Tudeer Oy Fi 9845005Db590F3B0C865 Ref: Chase Nyc/Ctr/Bnf=Alliance
           Game Distributors Hunt Valley MD 21030- US/Ac               6410
           Rfb=Mmh021114112522 Obi=Customer 024899 Fantasiapelit Tudee R
           Oy/Finland Bbi=/Chgs/USD0,0 0/Chgs/USD20,00/Ocmt Imad:
           0211B6B7Hu2R004765 Trn: 0152981042Ff
           YOUR REF: MMH021114112522

02/11      Lockbox No: 22009 For 23 Items At 16:00 5 Trn: 2501140042Lb                                           44,698.89

02/11      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250210 CO                              362,379.46
           Entry Descr:186003   Sec:CCD      Trace#:242071757160831 Eed:250211
           Ind ID:ACH-0210-401Eb             Ind Name:Alliance Game Distribu Trn:
           0427160831Tc

02/11      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250211                           234,978.63
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027160833 Eed:250211
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0427160833Tc

02/11      Orig CO Name:One Eyed Jacques            Orig ID:1823440363 Desc Date:                                  3,219.57
           CO Entry Descr:ACH Creditsec:CCD         Trace#:053101124578247
           Eed:250211    Ind ID:29I00170Uh7267             Ind Name:Alliance Game
           Distribu Trn: 0414578247Tc

02/11      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 11                             3,186.34
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394578249 Eed:250211
           Ind ID:                  Ind Name:Alliance Games Trn: 0414578249Tc

02/11      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 11                             1,075.80
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394578253 Eed:250211
           Ind ID:                  Ind Name:Alliance Games Trn: 0414578253Tc

02/11      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:         CO                                  736.96
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000024578257 Eed:250211          Ind
           ID:015Hgufvvsc2Cam             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Hgufvv SC2Cam Multiple Invoices Trn: 0414578257Tc




                                                                                                        Page 5 of 16
                      Case 25-10308          Doc 436-7        Filed 05/09/25        Page 10 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/11      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 11                                 701.00
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394578255 Eed:250211
           Ind ID:                  Ind Name:Alliance Games Trn: 0414578255Tc

02/11      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 11                                 506.62
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394578251 Eed:250211
           Ind ID:                  Ind Name:Alliance Games Trn: 0414578251Tc

02/12      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                 12,041.94
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 2434966 2435223/Chgs/USD20,00/Ocmt/USD12061,94/
           Trn: 2054134041Js
           YOUR REF: SWF OF 25/02/10

02/12      Lockbox No: 22009 For 13 Items At 16:00 5 Trn: 2500743043Lb                                           29,359.98

02/12      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250212                           322,602.75
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021226696 Eed:250212
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0431226696Tc

02/12      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250211 CO                              215,399.19
           Entry Descr:186003    Sec:CCD     Trace#:242071751296726 Eed:250212
           Ind ID:ACH-0211-6Aa5F             Ind Name:Alliance Game Distribu Trn:
           0421296726Tc

02/12      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250211                           25,721.59
           CO Entry Descr:Settlementsec:CCD        Trace#:091000011296730 Eed:250212
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25043 Trn: 0421296730Tc

02/12      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021125                             23,558.87
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071751296728
           Eed:250212    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0421296728Tc

02/12      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021025                               7,054.61
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071751296732
           Eed:250212    Ind ID:8226Xw - 000003            Ind Name:Alliance Game
           Distribu Trn: 0421296732Tc

02/12      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Feb 12                                  947.66
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000082515039
           Eed:250212    Ind ID:366184867336397             Ind Name:Alliance Game
           Distribu   Ref*TN*3661848673*Payment Via Payon Eer\ Trn: 0432515039Tc

02/13      Fedwire Credit Via: Goldenwest Federal Credit Union/324377613 B/O: Royal                                3,042.58
           Tabletop Games LLC Saratoga Spgs, UT. 84045 Ref: Chase
           Nyc/Ctr/Bnf=Alliance Game Distributors Hunt Valley MD 21030-
           US/Ac-           6410 Rfb=O/B Goldwst CU O Bbi=/Bnf/Please Return Funds
           If N Ame An D Account Number Do Not Matc H Imad: 0213Qmgft006001283
           Trn: 1172421044Ff
           YOUR REF: O/B GOLDWST CU O

02/13      Lockbox No: 22009 For 5 Items At 16:00 5 Trn: 2502042044Lb                                            10,432.17

02/13      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250213                           162,695.39
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026442092 Eed:250213
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0446442092Tc

02/13      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250212 CO                              147,782.41
           Entry Descr:186003    Sec:CCD     Trace#:242071756442090 Eed:250213
           Ind ID:ACH-0212-Ebad1             Ind Name:Alliance Game Distribu Trn:
           0446442090Tc

02/13      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250212                           43,320.99
           CO Entry Descr:Settlementsec:CCD        Trace#:091000016442088 Eed:250213
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25044 Trn: 0446442088Tc




                                                                                                        Page 6 of 16
                      Case 25-10308            Doc 436-7      Filed 05/09/25          Page 11 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/13      Orig CO Name:UPS-Capital             Orig ID:2362407381 Desc Date:021225                              20,827.77
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071757039654
           Eed:250213    Ind ID:8226Xw - 000003            Ind Name:Alliance Game
           Distribu Trn: 0437039654Tc

02/13      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                 13,616.78
           CO Entry Descr:Payments Sec:CCD          Trace#:051000017039651
           Eed:250213    Ind ID:40589                 Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0437039651Tc

02/13      Orig CO Name:Intuit 87828530          Orig ID:9215986202 Desc Date:021025                               5,476.90
           CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000027039658 Eed:250213
           Ind ID:Enchanted Groun             Ind Name:Alliance Game Distribu Trn:
           0437039658Tc

02/13      Orig CO Name:Card Kingdom             Orig ID:1870697704 Desc Date:        CO                           5,357.34
           Entry Descr:EDI Pymntssec:CCD        Trace#:091000017039656 Eed:250213
           Ind ID:2437795                Ind Name:Alliance Games West
           EDI Trn: 0437039656Tc

02/13      Orig CO Name:Incipix Corporat        Orig ID:7882523347 Desc Date:250213                                3,970.21
           CO Entry Descr:3 Bills    Sec:CCD     Trace#:121140391318745 Eed:250213
           Ind ID:E59700232               Ind Name:Alliance Game Distribu       3 Billsinv
           2437375, 2437021, 243895 4 Trn: 0441318745Tc

02/13      Orig CO Name:Incipix Corporat        Orig ID:7882523347 Desc Date:250213                                1,613.15
           CO Entry Descr:4 Bills    Sec:CCD     Trace#:121140391318748 Eed:250213
           Ind ID:E59702435               Ind Name:Alliance Game Distribu       4 Billsinv
           2437376 S, 2437628 S, 24 38599 S, 2439073 S Trn: 0441318748Tc

02/13      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Feb 13                              1,300.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000081318742
           Eed:250213    Ind ID:366184868626316             Ind Name:Alliance Game
           Distribu   Ref*TN*3661848686*Payment Via Payon Eer\ Trn: 0441318742Tc

02/13      Orig CO Name:Bull Moose              Orig ID:2204895317 Desc Date:        CO                                  0.01
           Entry Descr:Acctverifysec:CCD       Trace#:021000027039649 Eed:250213        Ind
           ID:015Zkqgcelc5H3K            Ind Name:Alliance Game Distribu Trn:
           0437039649Tc

02/14      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Oliver Thiemt 3/DE/Kerpen                              43,775.18
           50169 Ref: Nbnf=Alliance Game Distributors Hunt Valley MD 21030-
           US/Ac-0000000064 10 Org=/DE02370700240283116200 3/DE/Kerpen 50169
           Ogb=/Bl37070024 Deutd Edbkoe Obi=/Uri/Order 2826148 Invoi Ce 2442448
           Bbi=/Ocmt/USD43775,18/ Ssn: 00042520 Trn: 0007301045Fc
           YOUR REF: 02PR250212653789

02/14      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Bnw Distribution Gmbh                                    8,388.84
           3/DE/Langenfeld 40764 Ref: Nbnf=Alliance Game Distributors Hunt Valley MD
           21030- US/Ac-        0064 10 Org=/DE38300700100127240000
           3/DE/Langenfeld 40764 Ogb=/Bl30070010 D Eutdeddxxx Obi=/Uri/Inv
           2412886+241 2690+2414461 Ab A 21000021 Bbi=/Ocm T/ Ssn: 00041444
           Trn: 0006983045Fc
           YOUR REF: 03PR250212694376

02/14      Book Transfer Credit B/O: Taishin International Bank CO.,Ltd Taipei Taiwan                              4,982.00
           Tw Org:/888751275461 Lin Chih Yu Ogb: Taishin International Bank CO.,Ltd
           3Rd FL Chung Shan N Rd Ref:/Chgs/USD18,00/Ocmt/USD5000,/ Trn:
           7486534045Fs
           YOUR REF: SWF OF 25/02/14

02/14      Lockbox No: 22009 For 10 Items At 16:00 5 Trn: 2501932045Lb                                           20,311.10

02/14      Abr Special - A Reverse Principal Payment                                                           636,686.59

02/14      Abr Special - A Reverse Principal Payment                                                           636,686.59

02/14      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250213 CO                           406,626.23
           Entry Descr:186003       Sec:CCD    Trace#:242071754672971 Eed:250214
           Ind ID:ACH-0213-Ad53D               Ind Name:Alliance Game Distribu Trn:
           0444672971Tc



                                                                                                        Page 7 of 16
                     Case 25-10308               Doc 436-7        Filed 05/09/25         Page 12 of 110

                                                                              February 01, 2025 through February 28, 2025
                                                                                 Account Number:                   0569




Deposits and Credits         (continued)

Ledger     Description                                                                                                    Amount
Date

02/14      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250214                            87,362.69
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000029313575 Eed:250214
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0459313575Tc

02/14      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250213                          45,857.94
           CO Entry Descr:Settlementsec:CCD            Trace#:091000014672973 Eed:250214
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25045 Trn: 0444672973Tc

02/14      Orig CO Name:Min Market 6895               Orig ID:1900334049 Desc Date:      CO                         13,944.83
           Entry Descr:Payments Sec:CCD              Trace#:081000034672969 Eed:250214
           Ind ID:Alliance                  Ind Name:Alliance Game Distribu Trn:
           0444672969Tc

02/14      Orig CO Name:Card Kingdom                  Orig ID:1870697704 Desc Date:      CO                         12,880.43
           Entry Descr:EDI Pymntssec:CCD             Trace#:091000014672967 Eed:250214
           Ind ID:2438186                    Ind Name:Alliance Games West
           EDI Trn: 0444672967Tc

02/14      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:021325                              8,954.24
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071754672975
           Eed:250214    Ind ID:8226Xw - 000002                Ind Name:Alliance Game
           Distribu Trn: 0444672975Tc

02/18      Fedwire Credit Via: The Bank of New York Mellon/021000018 B/O: Asgrim                                      1,963.49
           Holdings Ltd Canada Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors
           Hunt Valley MD 21030- US/Ac-000000006410 Rfb=O/B Bk of Nyc O
           Bi=2441194 Cm802423 Bbi=/Chgs/USD0, 00/Ocmt/USD1963,49/ Imad:
           0218B1Q8151C002977 Trn: 0240921049Ff
           YOUR REF: O/B BK OF NYC

02/18      Lockbox No: 22009 For 42 Items At 16:00 5 Trn: 2505325049Lb                                              61,617.48

02/18      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250214 CO                            267,832.05
           Entry Descr:186003       Sec:CCD      Trace#:242071752759051 Eed:250218
           Ind ID:ACH-0214-1B5Ce                  Ind Name:Alliance Game Distribu Trn:
           0452759051Tc

02/18      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250218                          101,952.06
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000022178163 Eed:250218
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0492178163Tc

02/18      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250218                            47,095.06
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000022178167 Eed:250218
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0492178167Tc

02/18      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250214                          33,647.44
           CO Entry Descr:Settlementsec:CCD            Trace#:091000012178161 Eed:250218
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25046 Trn: 0492178161Tc

02/18      Orig CO Name:Bull Moose                Orig ID:1204895317 Desc Date:        CO                             6,260.50
           Entry Descr:Bill.Com Sec:CCD          Trace#:021000022759048 Eed:250218        Ind
           ID:015Ymorfgdcb3Qm                  Ind Name:Alliance Game Distribu         Bull
           Moose Bill.Com 015Ymorfg Dcb3Qm Multiple Invoices Trn: 0452759048Tc

02/18      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250215                            6,242.92
           CO Entry Descr:Settlementsec:CCD            Trace#:091000012178165 Eed:250218
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25048 Trn: 0492178165Tc

02/18      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:021425                              4,978.19
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071752759053
           Eed:250218    Ind ID:8226Xw - 000003                Ind Name:Alliance Game
           Distribu Trn: 0452759053Tc

02/19      Lockbox No: 22009 For 26 Items At 16:00 5 Trn: 2502143050Lb                                              37,093.50




                                                                                                           Page 8 of 16
                    Case 25-10308            Doc 436-7        Filed 05/09/25         Page 13 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                            Account Number:                      0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

02/19      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250218 CO                               251,457.23
           Entry Descr:186003   Sec:CCD      Trace#:242071750698165 Eed:250219
           Ind ID:ACH-0218-04C66             Ind Name:Alliance Game Distribu Trn:
           0500698165Tc

02/19      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250219                            122,985.26
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020698167 Eed:250219
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0500698167Tc

02/19      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021825                              23,395.72
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755131592
           Eed:250219    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0495131592Tc

02/19      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021725                              14,932.70
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755131594
           Eed:250219    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0495131594Tc

02/19      Orig CO Name:One Eyed Jacques            Orig ID:1823440363 Desc Date:                                 11,330.89
           CO Entry Descr:ACH Creditsec:CCD         Trace#:053101125131584
           Eed:250219    Ind ID:2Gl0940Gil0678            Ind Name:Alliance Game
           Distribu Trn: 0495131584Tc

02/19      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250218                            10,744.28
           CO Entry Descr:Settlementsec:CCD        Trace#:091000015131596 Eed:250219
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25050 Trn: 0495131596Tc

02/19      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:          CO                              2,673.14
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000025131598 Eed:250219           Ind
           ID:015Nueqojwce003             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Nueqoj Wce003 Multiple Invoices Trn: 0495131598Tc

02/19      Orig CO Name:Incredible Dream          Orig ID:5825185555 Desc Date:         CO                              975.00
           Entry Descr:Pay6212465Sec:CCD          Trace#:221970445131586 Eed:250219
           Ind ID:6212465                Ind Name:Alliance Game Distribu      Invoice
           2444081 Trn: 0495131586Tc

02/19      Orig CO Name:Incredible Dream          Orig ID:5825185555 Desc Date:         CO                              800.00
           Entry Descr:Pay6223397Sec:CCD          Trace#:221970445131589 Eed:250219
           Ind ID:6223397                Ind Name:Alliance Game Distribu      Inv
           2433700 Trn: 0495131589Tc

02/20      Lockbox No: 22009 For 22 Items At 16:00 5 Trn: 2500214051Lb                                            38,558.27

02/20      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250219 CO                               207,808.41
           Entry Descr:186003   Sec:CCD      Trace#:242071754743124 Eed:250220
           Ind ID:ACH-0219-Abd10             Ind Name:Alliance Game Distribu Trn:
           0504743124Tc

02/20      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250220                              81,619.06
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000025656828 Eed:250220
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0515656828Tc

02/20      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                  14,766.21
           CO Entry Descr:Payments Sec:CCD          Trace#:051000014743121
           Eed:250220    Ind ID:40589                  Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0504743121Tc

02/20      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250219                            11,660.49
           CO Entry Descr:Settlementsec:CCD        Trace#:091000015656826 Eed:250220
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25051 Trn: 0515656826Tc

02/20      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021925                                6,656.30
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754743126
           Eed:250220    Ind ID:8226Xw - 000003            Ind Name:Alliance Game
           Distribu Trn: 0504743126Tc



                                                                                                         Page 9 of 16
                     Case 25-10308               Doc 436-7        Filed 05/09/25        Page 14 of 110

                                                                               February 01, 2025 through February 28, 2025
                                                                                Account Number:                     0569




Deposits and Credits         (continued)

Ledger     Description                                                                                                  Amount
Date

02/21      Lockbox No: 22009 For 12 Items At 16:00 5 Trn: 2502714052Lb                                               32,025.64

02/21      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250220 CO                             164,757.81
           Entry Descr:186003       Sec:CCD      Trace#:242071750851916 Eed:250221
           Ind ID:ACH-0220-98079                 Ind Name:Alliance Game Distribu Trn:
           0510851916Tc

02/21      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250221                             91,105.81
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000024485373 Eed:250221
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0524485373Tc

02/21      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250220                           15,884.16
           CO Entry Descr:Settlementsec:CCD            Trace#:091000014485371 Eed:250221
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25052 Trn: 0524485371Tc

02/21      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:022025                               4,652.77
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071750851918
           Eed:250221    Ind ID:E74446 - 000002                Ind Name:Alliance Game
           Distribu Trn: 0510851918Tc

02/21      Orig CO Name:Min Market 6895               Orig ID:1900334049 Desc Date:        CO                          2,945.00
           Entry Descr:Payments Sec:CCD              Trace#:081000030060725 Eed:250221
           Ind ID:Alliance                  Ind Name:Alliance Game Distribu Trn:
           0520060725Tc

02/24      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                                   5,000.00
           Ref: 2442967 Trn: 3591595055Es
           YOUR REF: BMG OF 25/02/24

02/24      Lockbox No: 22009 For 13 Items At 16:00 5 Trn: 2503146055Lb                                               26,028.27

02/24      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250221 CO                             393,831.51
           Entry Descr:186003       Sec:CCD      Trace#:242071753016018 Eed:250224
           Ind ID:ACH-0221-803A1                 Ind Name:Alliance Game Distribu Trn:
           0523016018Tc

02/24      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250224                             81,231.75
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000020845885 Eed:250224
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0550845885Tc

02/24      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250221                           15,325.44
           CO Entry Descr:Settlementsec:CCD            Trace#:091000010845881 Eed:250224
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25053 Trn: 0550845881Tc

02/24      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250222                             9,456.31
           CO Entry Descr:Settlementsec:CCD            Trace#:091000010845883 Eed:250224
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25055 Trn: 0550845883Tc

02/24      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:022125                               6,108.33
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071753016025
           Eed:250224    Ind ID:5832Vx - 000001                Ind Name:Alliance Game Dist.
           - Trn: 0523016025Tc

02/24      Orig CO Name:Archonia                 Orig ID:1204895317 Desc Date:        CO                               3,264.67
           Entry Descr:Bill.Com Sec:CCD          Trace#:021000023016020 Eed:250224         Ind
           ID:015Nezxkqrcl195                Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Nezxkq Rcl195 Multiple Invoices Trn: 0523016020Tc

02/24      Orig CO Name:Penguin Random H                Orig ID:1462905685 Desc Date:                                  1,600.00
           CO Entry Descr:ACH Paymntsec:CCD              Trace#:043000263016023
           Eed:250224    Ind ID:0000066673                   Ind Name:Diamond Comic
           Distribu Trn: 0523016023Tc

02/24      Orig CO Name:Carolina Comics               Orig ID:444887153   Desc Date:Feb 24                             1,468.51
           CO Entry Descr:Alliance Osec:PPD            Trace#:103107394508473 Eed:250224
           Ind ID:                     Ind Name:Alliance Games Trn: 0554508473Tc




                                                                                                            Page 10 of 16
                      Case 25-10308            Doc 436-7      Filed 05/09/25          Page 15 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0569




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/24      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 24                             1,023.33
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394508471 Eed:250224
           Ind ID:                    Ind Name:Alliance Games Trn: 0554508471Tc

02/24      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Feb 24                                   900.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000084508464
           Eed:250224    Ind ID:366184881610396             Ind Name:Alliance Game
           Distribu   Ref*TN*3661848816*Payment Via Payon Eer\ Trn: 0554508464Tc

02/24      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 24                                  890.56
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394508469 Eed:250224
           Ind ID:                    Ind Name:Alliance Games Trn: 0554508469Tc

02/24      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 24                                  432.93
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394508467 Eed:250224
           Ind ID:                    Ind Name:Alliance Games Trn: 0554508467Tc

02/24      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 24                                  178.63
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107394508472 Eed:250224
           Ind ID:                    Ind Name:Alliance Games Trn: 0554508472Tc

02/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250224                                     59.88
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020845879 Eed:250224
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0550845879Tc

02/25      Lockbox No: 22009 For 16 Items At 16:00 5 Trn: 2500836056Lb                                           49,380.81

02/25      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250224 CO                           235,993.27
           Entry Descr:186003       Sec:CCD    Trace#:242071752794687 Eed:250225
           Ind ID:ACH-0224-3327A               Ind Name:Alliance Game Distribu Trn:
           0562794687Tc

02/25      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250225                           130,715.88
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022794689 Eed:250225
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0562794689Tc

02/25      Orig CO Name:One Eyed Jacques            Orig ID:1823440363 Desc Date:                                21,630.34
           CO Entry Descr:ACH Creditsec:CCD         Trace#:053101129752385
           Eed:250225    Ind ID:2Ml11481FL4E58              Ind Name:Alliance Game
           Distribu Trn: 0559752385Tc

02/25      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022425                               9,010.73
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759752389
           Eed:250225    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0559752389Tc

02/25      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:       CO                           8,983.75
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000019752387 Eed:250225
           Ind ID:2442669                Ind Name:Alliance Games West
           EDI Trn: 0559752387Tc

02/25      Orig CO Name:Incipix Corporat         Orig ID:1637678000 Desc Date:250225                               2,737.73
           CO Entry Descr:4 Bills    Sec:CCD     Trace#:021000020186713 Eed:250225
           Ind ID:E60237934               Ind Name:Alliance Game Distribu       4 Billsinv
           2442596, 2443246, 244458 0, 2444403 Trn: 0560186713Tc

02/25      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Feb 25                                   600.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000086223237
           Eed:250225    Ind ID:366184883167025             Ind Name:Alliance Game
           Distribu   Ref*TN*3661848831*Payment Via Payon Eer\ Trn: 0566223237Tc

02/25      Orig CO Name:Archonia               Orig ID:1204895317 Desc Date:       CO                                   230.48
           Entry Descr:Bill.Com Sec:CCD        Trace#:021000029752391 Eed:250225        Ind
           ID:015Psujbhocne7L            Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Psujbh Ocne7L Inv 2451344 Trn: 0559752391Tc




                                                                                                        Page 11 of 16
                     Case 25-10308             Doc 436-7      Filed 05/09/25         Page 16 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0569




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/26      Book Transfer Credit B/O: Skandinaviska Enskilda Banken Ab Stockholm                                    5,530.50
           Sweden Se106- 40 Se Org:/59368230102 Sf-Bokhandeln Ab (Publ) Ref:
           400954/Chgs/USD0,00/Chgs/USD25,00/Ocmt/USD5555,50/ Trn:
           0940124056Fs
           YOUR REF: SWF OF 25/02/25

02/26      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantask A/S Dk-1453                                        903.09
           Kobenhavn K Ref: Nbnf=Alliance Game Distributors Hunt Valley MD 21030-
           US/Ac-0000000064 10 Org=/Dk3730004180095012 Dk-1453 Kobenhavn K
           Ogb=/006550253668 Dabad Kkkxxx Obi=/Uri/Acc. 25610(Fantask) Invoice 24
           46986 Bbi=/Bnf/Aba/6410 00569 Jpmorg Ssn: 00052630 Trn: 0010565057Fc
           YOUR REF: 2025022400265099

02/26      Book Transfer Credit B/O: Banco Internacional Del Peru S.A.A Lima Peru Pe                                    780.00
           Org:/Dni74695724 Elias Zambrano Moises Alonso Ref: 158 Pago DE
           Importaciones Trn: 2735355057Fs
           YOUR REF: SWF OF 25/02/26

02/26      Lockbox No: 22009 For 15 Items At 16:00 5 Trn: 2500616057Lb                                           23,397.41

02/26      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250226                           273,721.67
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028351307 Eed:250226
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0578351307Tc

02/26      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250225 CO                           166,300.22
           Entry Descr:186003       Sec:CCD    Trace#:242071758378821 Eed:250226
           Ind ID:ACH-0225-8Bbfb              Ind Name:Alliance Game Distribu Trn:
           0568378821Tc

02/26      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250225                           21,961.73
           CO Entry Descr:Settlementsec:CCD        Trace#:091000018378819 Eed:250226
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25057 Trn: 0568378819Tc

02/26      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:       CO                         12,389.67
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000018378823 Eed:250226
           Ind ID:2443043                Ind Name:Alliance Games West
           EDI Trn: 0568378823Tc

02/26      Orig CO Name:Enchanted Ground           Orig ID:9215986202 Desc                                         3,450.37
           Date:022125 CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000028378827
           Eed:250226    Ind ID:Enchanted Groun            Ind Name:Alliance Game
           Distribu Trn: 0568378827Tc

02/26      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022525                               3,313.39
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071758378825
           Eed:250226    Ind ID:8226Xw - 000003            Ind Name:Alliance Game
           Distribu Trn: 0568378825Tc

02/26      Orig CO Name:Incipix Corporat         Orig ID:1637678000 Desc Date:250226                               1,723.25
           CO Entry Descr:3 Bills    Sec:CCD     Trace#:021000021213730 Eed:250226
           Ind ID:E60297751               Ind Name:Alliance Game Distribu       3 Billsinv
           2443234 P, 2444513 P, 24 44535 P Trn: 0571213730Tc

02/27      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                   2,923.11
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 2439215 2439565/Chgs/USD20,00/Ocmt/USD2943,11/
           Trn: 2069148056Js
           YOUR REF: SWF OF 25/02/25

02/27      Chips Credit Via: Deutsche Bank Trust Company America/0103 B/O: 1/Maria                                 2,121.00
           Aurora Tostado Jimenez 3/Mx/Mexico Ref: Nbnf=Alliance Game Distributors
           Hunt Valley MD 21030- US/Ac-0000000064 10
           Org=/0074.3517.71.1580416561 3/M X/Mexico Ogb=/99917723
           Bcmrmxmmpym Obi=/Uri/Mercancia Local
           Bbi=/Chgs/USD10,00/Ocmt/Mxn43997, Ssn: 00605746 Trn: 0145507058Fc
           YOUR REF: NOTPROVIDED

02/27      Lockbox No: 22009 For 17 Items At 16:00 5 Trn: 2502044058Lb                                           31,749.63



                                                                                                        Page 12 of 16
                     Case 25-10308             Doc 436-7       Filed 05/09/25         Page 17 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                     0569




Deposits and Credits      (continued)

Ledger     Description                                                                                               Amount
Date

02/27      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250227                           333,367.32
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000025769166 Eed:250227
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0585769166Tc

02/27      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250226 CO                            120,444.80
           Entry Descr:186003       Sec:CCD     Trace#:242071755453788 Eed:250227
           Ind ID:ACH-0226-C2Bff               Ind Name:Alliance Game Distribu Trn:
           0575453788Tc

02/27      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250226                           29,181.42
           CO Entry Descr:Settlementsec:CCD         Trace#:091000015453783 Eed:250227
           Ind ID:1199200601                Ind Name:Alliance Gam1199200601
           Payment Date 25058 Trn: 0575453783Tc

02/27      Orig CO Name:Newbury Comics              Orig ID:1042744540 Desc Date:                                 17,206.78
           CO Entry Descr:Payments Sec:CCD           Trace#:051000015453785
           Eed:250227     Ind ID:40589                  Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0575453785Tc

02/27      Orig CO Name:UPS-Capital               Orig ID:2362407381 Desc Date:022625                               9,300.37
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071755453790
           Eed:250227     Ind ID:5832Vx - 000001            Ind Name:Alliance Game Dist.
           - Trn: 0575453790Tc

02/28      Chips Credit Via: Bank of America, N.A./0959 B/O: Steamforged Games Ltd                                       800.00
           Broadway Salford M50 2Ue Salford/Gb Ref: Nbnf=Alliance Game Distributors
           Hunt Valley MD 21030- US/Ac              0064 10 Org=/20019647145733
           Broadway Sal Ford M50 2Ue Salford/Gb Ogb=Barclay S Bank Uk Plc London
           United Kingdom Gb Obi=/Uri/Steamfor Ssn: 00361280 Trn: 0089818059Fc
           YOUR REF: 2025022800286434

02/28      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: 1/Maria Aurora Tostado                                     361.00
           Jimenez 3/Mx/Mexico Ref: Nbnf=Alliance Game Distributors Hunt Valley MD
           21030- US/Ac          0064 10 Org=/0074.3517.71.1580416561 3/M X/Mexico
           Ogb=Bbva Mexico Sa Ciudad DE Mexico, Cp 06600 Mexico Obi=/Uri/Material
           Local Ssn: 00765763 Trn: 0178371059Fc
           YOUR REF: 1223899084011002

02/28      Lockbox No: 22009 For 27 Items At 16:00 5 Trn: 2503564059Lb                                            54,798.86

02/28      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250227 CO                            369,325.23
           Entry Descr:186003       Sec:CCD     Trace#:242071751479985 Eed:250228
           Ind ID:ACH-0227-7B5Af               Ind Name:Alliance Game Distribu Trn:
           0581479985Tc

02/28      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250228                           183,563.48
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000027568910 Eed:250228
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0597568910Tc

02/28      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250227                           58,274.88
           CO Entry Descr:Settlementsec:CCD         Trace#:091000017568908 Eed:250228
           Ind ID:1199200601                Ind Name:Alliance Gam1199200601
           Payment Date 25059 Trn: 0597568908Tc

02/28      Orig CO Name:Talan Inc              Orig ID:9200502235 Desc Date:250228 CO                             16,911.48
           Entry Descr:ACH Pmt      Sec:CCD       Trace#:021000021479987 Eed:250228
           Ind ID:11163393966                 Ind Name:Alliance Game Distribu
           Poalga0049 Trn: 0581479987Tc

02/28      Orig CO Name:UPS-Capital               Orig ID:2362407381 Desc Date:022725                               3,297.71
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071754658966
           Eed:250228     Ind ID:5832Vx - 000001            Ind Name:Alliance Game Dist.
           - Trn: 0594658966Tc

02/28      Orig CO Name:Incipix Corporat          Orig ID:1637678000 Desc Date:250228                               1,313.08
           CO Entry Descr:2 Bills    Sec:CCD      Trace#:021000028460582 Eed:250228
           Ind ID:E60450656                Ind Name:Alliance Game Distribu       2 Billsinv
           2444520 S, 2445401 S Trn: 0598460582Tc



                                                                                                         Page 13 of 16
                    Case 25-10308            Doc 436-7       Filed 05/09/25       Page 18 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                          Account Number:                     0569




Deposits and Credits     (continued)

Ledger     Description                                                                                            Amount
Date

Total                                                                                                  $11,533,623.27



Withdrawals and Debits

Ledger     Description                                                                                            Amount
Date

02/03      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250203                       $105,471.44
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024245386 Eed:250203
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0344245386Tc

02/03      Loan Principal Payment                                                                            557,349.90

02/04      Loan Principal Payment                                                                            417,122.89

02/05      Loan Principal Payment                                                                            655,315.29

02/06      Loan Principal Payment                                                                            777,896.13

02/07      Loan Principal Payment                                                                            509,681.77

02/10      Loan Principal Payment                                                                            562,903.99

02/11      Loan Principal Payment                                                                            425,644.08

02/12      Loan Principal Payment                                                                            662,097.33

02/13      Loan Principal Payment                                                                          1,273,373.18

02/14      Loan Principal Payment                                                                          1,288,234.02

02/14      Loan Principal Payment                                                                            419,435.70

02/18      Loan Principal Payment                                                                            530,807.18

02/18      Loan Principal Payment                                                                                1,536.05

02/19      Loan Principal Payment                                                                            462,367.45

02/20      Loan Principal Payment                                                                            360,353.40

02/20      Loan Principal Payment                                                                              14,020.27

02/20      Loan Principal Payment                                                                                     782.01

02/21      Loan Principal Payment                                                                            295,588.34

02/21      Loan Principal Payment                                                                                     715.34

02/24      Loan Principal Payment                                                                            536,127.53

02/24      Loan Principal Payment                                                                              15,782.85

02/25      Loan Principal Payment                                                                            406,564.45

02/25      Loan Principal Payment                                                                              37,211.60

02/25      Loan Principal Payment                                                                              12,169.21

02/25      Loan Principal Payment                                                                              10,672.59

02/25      Loan Principal Payment                                                                                2,737.73

02/26      Loan Principal Payment                                                                            511,748.05

02/26      Loan Principal Payment                                                                                1,723.25

02/26      Loan Principal Payment                                                                                     600.00

02/27      Loan Principal Payment                                                                            512,423.80

02/27      Loan Principal Payment                                                                              25,833.98

02/27      Loan Principal Payment                                                                                2,121.00

02/27      Loan Principal Payment                                                                                     827.01

02/28      Loan Principal Payment                                                                            628,875.07

02/28      Loan Principal Payment                                                                              38,371.43

02/28      Loan Principal Payment                                                                              16,427.43

02/28      Loan Principal Payment                                                                                5,088.64

02/28      Loan Principal Payment                                                                                3,297.71

02/28      Loan Principal Payment                                                                                1,313.08

Total                                                                                                  $12,090,612.17




                                                                                                      Page 14 of 16
                     Case 25-10308          Doc 436-7        Filed 05/09/25        Page 19 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0569




Daily Balance


                                             Ledger                                                                    Ledger
Date                                        Balance        Date                                                    Balance

02/03                                   $311,651.45        02/18                                                   $782.01
02/04                                   $549,843.85        02/19                                              $14,802.28
02/05                                   $777,896.13        02/20                                                   $715.34
02/06                                   $509,681.77        02/21                                              $15,782.85
02/07                                   $562,903.99        02/24                                              $10,672.59
02/10                                   $425,644.08        02/25                                                   $600.00
02/11                                   $662,097.33        02/26                                                        $0.00
02/12                                   $636,686.59        02/27                                                $5,088.64
02/13                                  -$217,250.89        02/28                                                   $361.00
02/14                                     $1,536.05




          Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                       Page 15 of 16
Case 25-10308      Doc 436-7        Filed 05/09/25   Page 20 of 110




                This Page Intentionally Left Blank




                                                                  Page 16 of 16
                            Case 25-10308            Doc 436-7            Filed 05/09/25        Page 21 of 110

                                                                                      February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                        3396
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00085309 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 C1 0000


       ALLIANCE GAME DISTRIBUTORS
       OPERATING ACCOUNT
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                   Market Value/Amount                      Shares


Opening Ledger Balance                                                                                $11,513.37


Deposits and Credits                                                     28                     $15,291,396.36


Withdrawals and Debits                                                   64                     $15,183,222.32


Checks Paid                                                               0                                $0.00


Ending Ledger Balance                                                                              $119,687.41


Deposits and Credits

Ledger              Description                                                                                                      Amount
Date

02/03              Abr Special - A Increase                                                                                        $50,000.00

02/05              Abr Special - A Increase                                                                                        450,000.00

02/06              Abr Special - A Increase                                                                                        150,000.00

02/07              Remote Online Deposit            3396                                                                              896.00

02/07              Abr Special - A Increase                                                                                  4,100,000.00

02/10              Remote Online Deposit            3396                                                                             1,961.59

02/10              Abr Special - A Increase                                                                                        850,000.00

02/11              Remote Online Deposit            3396                                                                             1,993.50

02/11              Abr Special - A Increase                                                                                  1,275,000.00

02/12              Abr Special - A Increase                                                                                        750,000.00

02/13              Abr Special - A Increase                                                                                         15,000.00

02/14              Orig CO Name:Alliance Game Di            Orig ID:9233396001 Desc Date:Offset                                      8,242.40
                   CO Entry Descr:Reversal Sec:CCD           Trace#:021000023577916 Eed:250214
                   Ind ID:9233396001                 Ind Name:EFT File Name: Axrpc5            ACH
                   Origin#:9090209001 CO Eff: 25/ 02/14                                      250214
                   Axrpc5 Trn: 0453577916Tc

02/14              Remote Online Deposit            3396                                                                             7,208.25

02/14              Abr Special - A Increase                                                                                        725,000.00


* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                     Page 1 of 6
                     Case 25-10308           Doc 436-7       Filed 05/09/25        Page 22 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                          Account Number:                      3396




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

02/18      Remote Online Deposit         3396                                                                           6.00

02/18      Abr Special - A Increase                                                                           650,000.00

02/19      Remote Online Deposit         3396                                                                         153.00

02/19      Abr Special - A Increase                                                                           300,000.00

02/20      Abr Special - A Increase                                                                           725,000.00

02/21      Remote Online Deposit         3396                                                                        5,123.07

02/21      Abr Special - A Increase                                                                         3,175,000.00

02/21      JPMorgan Access Transfer From Account000000381775979                                               485,000.00
           YOUR REF: 1004134052SB

02/24      Remote Online Deposit         3396                                                                        5,812.55

02/24      Abr Special - A Increase                                                                           230,000.00

02/25      Abr Special - A Increase                                                                           205,000.00

02/26      Abr Special - A Increase                                                                           265,000.00

02/27      Abr Special - A Increase                                                                           315,000.00

02/28      Abr Special - A Increase                                                                           545,000.00

Total                                                                                                   $15,291,396.36



Withdrawals and Debits

Ledger     Description                                                                                               Amount
Date

02/03      Orig CO Name:Paysimple Billin        Orig ID:5330903620 Desc Date:250201                                   $95.35
           CO Entry Descr:ACH         Sec:CCD    Trace#:091000010458036 Eed:250203
           Ind ID:800-466-0992             Ind Name:Alliance Game Distri Trn:
           0340458036Tc

02/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         309,381.08
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7867200036Jo
           YOUR REF: NONREF

02/05      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                          152,426.68
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000026596908 Eed:250205
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0364U       ACH
           Origin#:9090209001 CO Eff: 25/ 02/05                            250205
           Rp0364Uc Trn: 0366596908Tc

02/06      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                          115,515.89
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7764800037Jo
           YOUR REF: NONREF

02/06      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                            50,304.03
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000026341212 Eed:250206
           Ind ID:9233396001               Ind Name:EFT File Name: Rp03772       ACH
           Origin#:9090209001 CO Eff: 25/ 02/06                            250206
           Rp03772F Trn: 0376341212Tc

02/07      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                                2,534.20
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7416600038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Hasbro, Inc US Imad:                                 862,762.00
           0207Mmqfmp2N031206 Trn: 7414600038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Sirius A Dice Inc US Ref:                            365,317.25
           Inv 2079 2080 2081 Imad: 0207Mmqfmp2N031218 Trn: 7415900038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: First Horizon Bank/084000026 A/C: At Distribution LLC US                          68,902.72
           Ref:/Bnf/Inv 5011577/Time/16:01 Imad: 0207Mmqfmp2N031219 Trn:
           7414700038Jo
           YOUR REF: NONREF




                                                                                                       Page 2 of 6
                     Case 25-10308            Doc 436-7      Filed 05/09/25        Page 23 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                          Account Number:                     3396




Withdrawals and Debits      (continued)

Ledger     Description                                                                                              Amount
Date

02/10      Book Transfer Debit A/C: The Pokemon Company International Bellevue WA                            100,000.00
           98004- US Ref:/Bnf/Inv 500174 & 498187 Trn: 7556700041Jo
           YOUR REF: NONREF

02/10      Book Transfer Debit A/C: Mufg Bank, Ltd. Tokyo Japan 100 8-388 Jp Trn:                          3,184,263.84
           7559300041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: Wells Fargo           0248 A/C: United Parcel Service US                         56,855.13
           Ref:/Time/14:33 Imad: 0210Mmqfmp2M030133 Trn: 7555400041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: Cibc Bank             6486 A/C: Flat River Group LLC US                          55,619.52
           Imad: 0210Mmqfmp2M030136 Trn: 7558600041Jo
           YOUR REF: NONREF

02/10      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                                    106.90
           M5L 1-A2 CA Ben:/41080025991 Lam Christian Fang Yip Ref:/Lmpd/Inv
           121024AR Trn: 7554400041Jo
           YOUR REF: NONREF

02/10      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                         180,142.92
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000027889046 Eed:250210
           Ind ID:9233396001                Ind Name:EFT File Name: Rp0412Q     ACH
           Origin#:9090209001 CO Eff: 25/ 02/10                            250210
           Rp0412Q8 Trn: 0417889046Tc

02/11      Book Transfer Debit A/C: Nykredit Bank As 1780 Kobenhavn V Denmark Dk                             314,970.64
           Ref: 011425-013125 Trn: 7423800042Jo
           YOUR REF: NONREF

02/11      Book Transfer Debit A/C: Santander Bank Polska Sa Warszawa Poland                                        3,200.00
           00-85-4 Pl Ref: 011425-013125 Trn: 7423700042Jo
           YOUR REF: NONREF

02/11      Book Transfer Debit A/C: Royal Bank of Canada Payment Centertoronto On                                   2,379.16
           Canada M5V2Y-1 CA Ref: 011425-013125 Trn: 7424700042Jo
           YOUR REF: NONREF

02/11      Book Transfer Debit A/C: Draco Gaming Inc Miami FL 33131-2976 US Ref:                                     425.97
           011425-013125 Trn: 7423900042Jo
           YOUR REF: NONREF

02/11      Chips Debit Via: The Bank of New York Mellon/0001                                                        5,047.56
           A/C:/It45B0707503007000000609950 It Ben: Swf-Icraitrrtvo It Ref:
           011425-013125 Ssn: 00473455 Trn: 7424000042Jo
           YOUR REF: NONREF

02/12      Fedwire Debit Via: Hsbc             1088 A/C: Ravensburger North America                        1,040,720.00
           Inc US Imad: 0212Mmqfmp2K019478 Trn: 4969500043Jo
           YOUR REF: NONREF

02/12      JPMorgan Access Transfer To Account                 5979                                            51,694.60
           YOUR REF: 1006054043SB

02/12      Fedwire Debit Via: Bk Amer             9593 A/C: Hasbro, Inc US Imad:                             583,304.54
           0212Mmqfmp2L034312 Trn: 8787100043Jo
           YOUR REF: NONREF

02/12      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                           93,834.67
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000027354141 Eed:250212
           Ind ID:9233396001                Ind Name:EFT File Name: Rp0436D     ACH
           Origin#:9090209001 CO Eff: 25/ 02/12                            250212
           Rp0436Dj Trn: 0437354141Tc

02/14      Fedwire Debit Via: Hunt            0024 A/C: Flex-Pac, Inc US Ref: E187862,                         18,188.51
           E186632 Imad: 0214Mmqfmp2N035454 Trn: 0140700045Vb
           YOUR REF: NONREF

02/14      Book Transfer Debit A/C: The Pokemon Company International Bellevue WA                            646,989.00
           98004- US Trn: 0141400045Vb
           YOUR REF: NONREF




                                                                                                      Page 3 of 6
                     Case 25-10308            Doc 436-7     Filed 05/09/25         Page 24 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                            Account Number:                   3396




Withdrawals and Debits      (continued)

Ledger     Description                                                                                              Amount
Date

02/14      Fedwire Debit Via: Key Gr Lakes             1039 A/C: National                                      44,889.42
           Entertainment US Imad: 0214Mmqfmp2M034766 Trn: 0141600045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Pinnacle Bank          8637 A/C: Studio 2 Publishing Inc                         14,486.98
           US Ref:/Bnf/Inv 83635-8,83551 Imad: 0214Mmqfmp2N035339 Trn:
           0143500045Vb
           YOUR REF: NONREF

02/14      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                            57,600.32
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000028711923 Eed:250214
           Ind ID:9233396001              Ind Name:EFT File Name: Rp0447R        ACH
           Origin#:9090209001 CO Eff: 25/ 02/14                             250214
           Rp0447R4 Trn: 0458711923Tc

02/18      Fedwire Debit Via: Key Gr Lakes             1039 A/C: National                                    366,959.28
           Entertainment US Imad: 0218Mmqfmp2L097668 Trn: 0523000049Vb
           YOUR REF: NONREF

02/18      Book Transfer Debit A/C: The Pokemon Company International Bellevue WA                            150,000.00
           98004- US Ref: Multiple Invoices Trn: 0522300049Vb
           YOUR REF: NONREF

02/18      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                  97,760.91
           75019-3019 US Ref: Multiple Invoices Trn: 0522400049Vb
           YOUR REF: NONREF

02/18      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                            43,939.97
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000025463382 Eed:250218
           Ind ID:9233396001              Ind Name:EFT File Name: Rp0454V        ACH
           Origin#:9090209001 CO Eff: 25/ 02/18                             250218
           Rp0454VT Trn: 0495463382Tc

02/18      Account Analysis Settlement Charge                                                                       2,128.22

02/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                        216,308.55
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7454100050Jo
           YOUR REF: NONREF

02/19      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                            11,935.57
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000029575053 Eed:250219
           Ind ID:9233396001              Ind Name:EFT File Name: Rp04967        ACH
           Origin#:9090209001 CO Eff: 25/ 02/19                             250219
           Rp04967N Trn: 0509575053Tc

02/20      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                           79,928.54
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 0013700051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                               2,181.89
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 0013800051Vb
           YOUR REF: NONREF

02/20      Fedwire Debit Via: First Horizon Bank/084000026 A/C: At Distribution LLC US                       260,392.66
           Ref: Invs0023476 So0023826 23850 2386/Time/16:53 Imad:
           0220Mmqfmp2L068267 Trn: 0014500051Vb
           YOUR REF: NONREF

02/20      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                          100,989.34
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000023842243 Eed:250220
           Ind ID:9233396001              Ind Name:EFT File Name: Rp0515Y        ACH
           Origin#:9090209001 CO Eff: 25/ 02/20                             250220
           Rp0515Yo Trn: 0513842243Tc

02/20      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                                   94.32
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000028867690 Eed:250220
           Ind ID:9233396001              Ind Name:EFT File Name: Rp0512T        ACH
           Origin#:9090209001 CO Eff: 25/ 02/20                             250220
           Rp0512Tb Trn: 0518867690Tc




                                                                                                      Page 4 of 6
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 25 of 110
                     Case 25-10308            Doc 436-7       Filed 05/09/25       Page 26 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     3396




Withdrawals and Debits       (continued)

Ledger     Description                                                                                               Amount
Date

02/26      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                          266,096.73
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000024254082 Eed:250226
           Ind ID:9233396001                Ind Name:EFT File Name: Rp0575S      ACH
           Origin#:9090209001 CO Eff: 25/ 02/26                             250226
           Rp0575S6 Trn: 0574254082Tc

02/27      Deposited Item Returned                000105155                            #                             4,012.75
           of Items00001

02/27      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                          107,924.38
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000023075664 Eed:250227
           Ind ID:9233396001                Ind Name:EFT File Name: Rp0586U      ACH
           Origin#:9090209001 CO Eff: 25/ 02/27                             250227
           Rp0586U9 Trn: 0583075664Tc

02/28      Fedwire Debit Via: Hunt            0024 A/C: Flex-Pac, Inc US Imad:                                  46,772.89
           0228Mmqfmp2M080108 Trn: 0575600059Vb
           YOUR REF: NONREF

02/28      Fedwire Debit Via: Bk Amer             9593 A/C: Hasbro, Inc US Imad:                              554,948.60
           0228Mmqfmp2L081537 Trn: 0575500059Vb
           YOUR REF: NONREF

02/28      Fedwire Debit Via: Wells Fargo           0248 A/C: Usaopoly Inc Carisbad                             28,940.24
           CA 92008 US Ref:/Time/16:43 Imad: 0228Mmqfmp2M080182 Trn:
           0575100059Vb
           YOUR REF: NONREF

02/28      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                                  831.90
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000025079244 Eed:250228
           Ind ID:9233396001                Ind Name:EFT File Name: Rp0594T      ACH
           Origin#:9090209001 CO Eff: 25/ 02/28                             250228
           Rp0594TN Trn: 0595079244Tc

Total                                                                                                   $15,183,222.32




Daily Balance


                                              Ledger                                                                  Ledger
Date                                          Balance      Date                                                      Balance

02/03                                      $61,418.02      02/18                                                $4,073.85
02/05                                      $49,610.26      02/19                                              $75,982.73
02/06                                      $33,790.34      02/20                                             $357,395.98
02/07                                 $2,835,170.17        02/21                                              $13,778.96
02/10                                   $110,143.45        02/24                                              $13,265.27
02/11                                 $1,061,113.62        02/25                                                $4,214.90
02/12                                      $41,559.81      02/26                                                $3,118.17
02/13                                      $56,559.81      02/27                                             $206,181.04
02/14                                      $14,856.23      02/28                                             $119,687.41




          Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                       Page 6 of 6
                            Case 25-10308            Doc 436-7            Filed 05/09/25       Page 27 of 110

                                                                                      February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      0871
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00050097 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       COLLECTIBLE GRADING AUTHORITY
       CONTROLLED DISBURSEMENTS
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                    Shares


Opening Ledger Balance                                                                                   $0.00


Deposits and Credits                                                     13                       $30,650.68


Withdrawals and Debits                                                    0                              $0.00


Checks Paid                                                              22                       $30,650.68


Ending Ledger Balance                                                                                    $0.00


Deposits and Credits

Ledger              Description                                                                                                  Amount

Date


02/03              Abr Special - A Increase                                                                                      $732.36

02/07              Abr Special - A Increase                                                                                        130.00

02/10              Abr Special - A Increase                                                                                      8,530.28

02/11              Abr Special - A Increase                                                                                      2,122.00

02/12              Abr Special - A Increase                                                                                      5,000.00

02/13              Abr Special - A Increase                                                                                        119.00

02/18              Abr Special - A Increase                                                                                        718.85

02/20              Abr Special - A Increase                                                                                      5,196.10

02/21              Abr Special - A Increase                                                                                        850.74

02/24              Abr Special - A Increase                                                                                         63.88

02/25              Abr Special - A Increase                                                                                      1,459.36

02/26              Abr Special - A Increase                                                                                      5,587.11

02/27              Abr Special - A Increase                                                                                        141.00

Total                                                                                                                        $30,650.68




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                   Page 1 of 2
                               Case 25-10308        Doc 436-7        Filed 05/09/25         Page 28 of 110

                                                                                   February 01, 2025 through February 28, 2025
                                                                                    Account Number:                     0871




Checks Paid

         Check     Date Paid        Amount         Check    Date Paid         Amount         Check     Date Paid              Amount

         10473     02/12         $5,000.00         10490    02/25             $46.71          10497     02/25                  $42.25
         10478*    02/07           $130.00         10491    02/10           $4,950.00         10498     02/25            $1,370.40
         10483*    02/03           $686.81         10492    02/18            $241.26          10500*    02/20            $4,950.00
         10484     02/03            $45.55         10493    02/18            $477.59          10501     02/26            $4,716.85
         10485     02/10         $3,534.73         10494    02/13            $119.00          10502     02/26                 $870.26
         10487*    02/11         $2,000.00         10495    02/20            $246.10          10503     02/24                  $63.88
         10488     02/11           $122.00         10496    02/21            $850.74          10505*    02/27                 $141.00
         10489     02/10            $45.55


Total          22 check(s)                                                                                            $30,650.68
* indicates gap in sequence


Daily Balance


                                                     Ledger                                                                   Ledger

Date                                                Balance         Date                                                      Balance

02/03                                                  $0.00        02/20                                                       $0.00
02/07                                                  $0.00        02/21                                                       $0.00
02/10                                                  $0.00        02/24                                                       $0.00
02/11                                                  $0.00        02/25                                                       $0.00
02/12                                                  $0.00        02/26                                                       $0.00
02/13                                                  $0.00        02/27                                                       $0.00
02/18                                                  $0.00




                  Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                                Page 2 of 2
                            Case 25-10308            Doc 436-7            Filed 05/09/25       Page 29 of 110

                                                                                      February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      0020
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00093497 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 C1 0000


       DIAMOND COMIC DISTRIBUTORS, INC
       COLLECTIBLE GRADING AUTHORITY
       OPERATING ACCOUNT
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                      Shares


Opening Ledger Balance                                                                            $96,305.11


Deposits and Credits                                                     61                      $207,619.05


Withdrawals and Debits                                                    8                      $290,924.13


Checks Paid                                                               0                              $0.00


Ending Ledger Balance                                                                             $13,000.03


Deposits and Credits

Ledger              Description                                                                                                    Amount
Date

02/03              Orig CO Name:Paypal                 Orig ID:Paypalsd11 Desc Date:250203 CO                                    $15,004.02
                   Entry Descr:Transfer Sec:PPD         Trace#:021000021335690 Eed:250203          Ind
                   ID:1040042915512                Ind Name:Diamond Comic Distribu
                   250203Ppz8Am Trn: 0341335690Tc

02/03              Orig CO Name:American Express             Orig ID:1134992250 Desc Date:250201                                  12,048.10
                   CO Entry Descr:Settlementsec:CCD          Trace#:091000012579183 Eed:250203
                   Ind ID:1676663917                 Ind Name:Collectible 1676663917
                   Payment Date 25034 Trn: 0342579183Tc

02/03              Orig CO Name:American Express             Orig ID:1134992250 Desc Date:250131                                   4,205.82
                   CO Entry Descr:Settlementsec:CCD          Trace#:091000019518015 Eed:250203
                   Ind ID:1676663917                 Ind Name:Collectible 1676663917
                   Payment Date 25032 Trn: 0319518015Tc

02/03              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250203                                     3,824.23
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000020797212 Eed:250203
                   Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
                   0340797212Tc




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                   Page 1 of 8
                    Case 25-10308            Doc 436-7         Filed 05/09/25       Page 30 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                           Account Number:                      0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/03      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250203                                   314.96
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020797210 Eed:250203
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0340797210Tc

02/04      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250204                                  4,935.26
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020508726 Eed:250204
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0350508726Tc

02/05      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250204                                 2,840.06
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015328015 Eed:250205
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25036 Trn: 0355328015Tc

02/05      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250205                                  2,829.82
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026897478 Eed:250205
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0366897478Tc

02/05      Orig CO Name:Ebay Comynpehx6L            Orig ID:1618206000 Desc                                            428.63
           Date:250205 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000025328017 Eed:250205        Ind ID:Dnyguo0Rd2W1664
           Ind Name:Diamond Comic Distribu        Nte*Zzz*P6744656988\ Trn:
           0355328017Tc

02/06      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250206 CO                                    8,536.94
           Entry Descr:Transfer Sec:PPD      Trace#:021000025894820 Eed:250206        Ind
           ID:1040107562044              Ind Name:Diamond Comic Distribu
           250206Ppzzfb Trn: 0375894820Tc

02/06      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250206                                  2,246.99
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027212199 Eed:250206
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0377212199Tc

02/07      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250207                                  3,537.48
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026309814 Eed:250207
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0386309814Tc

02/07      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250206                                  441.29
           CO Entry Descr:Settlementsec:CCD       Trace#:091000013823248 Eed:250207
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25038 Trn: 0373823248Tc

02/07      Orig CO Name:Amazon.Cmsmlai6V            Orig ID:3215240102 Desc                                            358.61
           Date:250207 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000026113562 Eed:250207        Ind ID:3P87Gfs5I7Dye6G
           Ind Name:Diamond Comic Distribu Trn: 0386113562Tc

02/10      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250210 CO                                    7,901.66
           Entry Descr:Transfer Sec:PPD      Trace#:021000020491824 Eed:250210        Ind
           ID:1040193795832              Ind Name:Diamond Comic Distribu
           250210Ppzl2C Trn: 0410491824Tc

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                                  7,292.91
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000023507450 Eed:250210
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0413507450Tc

02/10      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250208                                 3,734.10
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015467231 Eed:250210
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25041 Trn: 0415467231Tc

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                                  1,789.18
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000023507448 Eed:250210
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0413507448Tc



                                                                                                        Page 2 of 8
                      Case 25-10308          Doc 436-7         Filed 05/09/25       Page 31 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                           Account Number:                      0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/10      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250207                                  959.84
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015464539 Eed:250210
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25039 Trn: 0385464539Tc

02/10      Orig CO Name:Square Inc            Orig ID:5800429876 Desc Date:250210                                      433.64
           CO Entry Descr:Sq250210 Sec:CCD         Trace#:091000015467229
           Eed:250210    Ind ID:T3Yn5D689G5Tsg8             Ind Name:Diamond Comic
           Distribu                                                        T2148476
           Trn: 0415467229Tc

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                                   277.24
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000023507446 Eed:250210
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0413507446Tc

02/11      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250211                                   920.35
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026239941 Eed:250211
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0426239941Tc

02/12      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250212                                  4,429.07
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020441061 Eed:250212
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0430441061Tc

02/12      Orig CO Name:Ebay Compvkfm5Dy            Orig ID:1618206000 Desc                                            738.97
           Date:250212 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000021505590 Eed:250212        Ind ID:Jihwkprom9Yq76D
           Ind Name:Diamond Comic Distribu        Nte*Zzz*P6754410516\ Trn:
           0421505590Tc

02/12      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250211                                   70.08
           CO Entry Descr:Settlementsec:CCD       Trace#:091000011505588 Eed:250212
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25043 Trn: 0421505588Tc

02/13      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250213 CO                                    8,228.17
           Entry Descr:Transfer Sec:PPD      Trace#:021000023383045 Eed:250213        Ind
           ID:1040258189985              Ind Name:Diamond Comic Distribu
           250213Ppzfxj Trn: 0443383045Tc

02/13      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250212                                 3,944.05
           CO Entry Descr:Settlementsec:CCD       Trace#:091000016936488 Eed:250213
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25044 Trn: 0446936488Tc

02/13      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250213                                  2,425.33
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000025637678 Eed:250213
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0445637678Tc

02/14      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250214                                  1,965.64
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028309768 Eed:250214
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0458309768Tc

02/14      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250213                                   35.03
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015024405 Eed:250214
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25045 Trn: 0445024405Tc

02/18      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250217 CO                                    8,231.96
           Entry Descr:Transfer Sec:PPD      Trace#:021000022991102 Eed:250218        Ind
           ID:1040339837704              Ind Name:Diamond Comic Distribu
           250217Ppzyol Trn: 0492991102Tc




                                                                                                        Page 3 of 8
                    Case 25-10308            Doc 436-7       Filed 05/09/25         Page 32 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                           Account Number:                      0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250218                                  2,194.67
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020617580 Eed:250218
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0490617580Tc

02/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250218                                   929.57
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020617586 Eed:250218
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0490617586Tc

02/18      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250217                                  697.26
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012991106 Eed:250218
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25049 Trn: 0492991106Tc

02/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250218                                   595.22
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020617582 Eed:250218
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0490617582Tc

02/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250218                                   551.21
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020617584 Eed:250218
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0490617584Tc

02/18      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250214                                  267.27
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012991104 Eed:250218
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25046 Trn: 0492991104Tc

02/18      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250215                                  179.13
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012991108 Eed:250218
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25048 Trn: 0492991108Tc

02/19      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250218                                 5,555.22
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015399077 Eed:250219
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25050 Trn: 0495399077Tc

02/19      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250219                                  4,571.17
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029699496 Eed:250219
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0509699496Tc

02/20      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250220 CO                               14,159.82
           Entry Descr:Transfer Sec:PPD      Trace#:021000024610022 Eed:250220        Ind
           ID:1040399657719              Ind Name:Diamond Comic Distribu
           250220Ppzn6V Trn: 0514610022Tc

02/20      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250220                                  1,472.48
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024817510 Eed:250220
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0514817510Tc

02/20      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250219                                  828.06
           CO Entry Descr:Settlementsec:CCD       Trace#:091000016310968 Eed:250220
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25051 Trn: 0516310968Tc

02/21      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250221                                  7,189.00
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000023329734 Eed:250221
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0523329734Tc

02/21      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250220                                  930.85
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015046867 Eed:250221
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25052 Trn: 0525046867Tc




                                                                                                        Page 4 of 8
                    Case 25-10308            Doc 436-7         Filed 05/09/25       Page 33 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                           Account Number:                      0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/21      Orig CO Name:Amazon.Cxr57Bdl2           Orig ID:3215240102 Desc                                             284.63
           Date:250221 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000023716008 Eed:250221        Ind ID:6M28Sn157Xo9Z36
           Ind Name:Diamond Comic Distribu Trn: 0523716008Tc

02/24      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250224 CO                                    8,522.23
           Entry Descr:Transfer Sec:PPD      Trace#:021000026145061 Eed:250224        Ind
           ID:1040480777355              Ind Name:Diamond Comic Distribu
           250224Ppz8T5 Trn: 0556145061Tc

02/24      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250221                                 1,393.12
           CO Entry Descr:Settlementsec:CCD       Trace#:091000011492951 Eed:250224
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25053 Trn: 0551492951Tc

02/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250224                                   779.20
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029768938 Eed:250224
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0559768938Tc

02/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250224                                   732.02
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029768936 Eed:250224
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0559768936Tc

02/24      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250222                                  550.37
           CO Entry Descr:Settlementsec:CCD       Trace#:091000011492953 Eed:250224
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25055 Trn: 0551492953Tc

02/25      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250225                                  3,076.41
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022008237 Eed:250225
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0562008237Tc

02/26      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250226                                  4,519.51
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027563283 Eed:250226
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0577563283Tc

02/26      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250225                                  770.24
           CO Entry Descr:Settlementsec:CCD       Trace#:091000018595804 Eed:250226
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25057 Trn: 0568595804Tc

02/26      Orig CO Name:Ebay Comvzm4Simc            Orig ID:1618206000 Desc                                            491.65
           Date:250226 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000028595806 Eed:250226        Ind ID:Frxekmhqdcayn66
           Ind Name:Diamond Comic Distribu        Nte*Zzz*P6773764860\ Trn:
           0568595806Tc

02/27      Book Transfer Credit B/O: Diamond Comic Distributors, Inc. Hunt Valley MD                             12,000.00
           21030-3340 US Trn: 0677800058Vb
           YOUR REF: ATS OF 25/02/27

02/27      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250227 CO                                    6,304.63
           Entry Descr:Transfer Sec:PPD      Trace#:021000023448218 Eed:250227        Ind
           ID:1040542760797              Ind Name:Diamond Comic Distribu
           250227Ppz0Ax Trn: 0583448218Tc

02/27      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250227                                  4,052.80
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024965535 Eed:250227
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0584965535Tc

02/27      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250226                                  188.80
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015639724 Eed:250227
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25058 Trn: 0575639724Tc




                                                                                                        Page 5 of 8
                     Case 25-10308             Doc 436-7       Filed 05/09/25          Page 34 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                     0020




Deposits and Credits      (continued)

Ledger     Description                                                                                                 Amount
Date

02/28      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250228                                  7,371.77
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000026501199 Eed:250228
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0596501199Tc

02/28      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250227                                 1,531.31
           CO Entry Descr:Settlementsec:CCD         Trace#:091000018372313 Eed:250228
           Ind ID:1676663917                Ind Name:Collectible 1676663917
           Payment Date 25059 Trn: 0598372313Tc

Total                                                                                                         $207,619.05



Withdrawals and Debits

Ledger     Description                                                                                                 Amount
Date

02/03      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250203                                  $895.33
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023448478 Eed:250203
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0343448478Tc

02/04      Orig CO Name:Authnet Gateway            Orig ID:1870568569 Desc Date:        CO                               84.65
           Entry Descr:Billing   Sec:CCD     Trace#:104000015489617 Eed:250204         Ind
           ID:139982354                 Ind Name:Diamond Comic Distribu Trn:
           0345489617Tc

02/06      Book Transfer Debit A/C: Diamond Comic Distributors, Inc. Hunt Valley MD                             150,000.00
                  3340 US Trn: 7740900037Jo
           YOUR REF: NONREF

02/12      Book Transfer Debit A/C: Diamond Comic Distributors, Inc. Hunt Valley MD                               30,000.00
                  3340 US Trn: 8738900043Jo
           YOUR REF: NONREF

02/20      Orig CO Name:Diamond Comic Di           Orig ID:9620020001 Desc Date:Prfund                            39,846.17
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000023900230 Eed:250220
           Ind ID:9620020001                Ind Name:EFT File Name: Rp0515R        ACH
           Origin#:9090209001 CO Eff: 25/ 02/20                               250220
           Rp0515Rs Trn: 0513900230Tc

02/21      Orig CO Name:Gpc                  Orig ID:1580257110 Desc Date:        CO                                   5,251.81
           Entry Descr:Gpc Ebill Sec:Web      Trace#:111000012024341 Eed:250221         Ind
           ID:0733608092Dul               Ind Name:Diamond Comic Distri Trn:
           0512024341Tc

02/21      Book Transfer Debit A/C: Diamond Comic Distributors, Inc. Hunt Valley MD                               25,000.00
                 -3340 US Trn: 6850800052Jo
           YOUR REF: NONREF

02/27      Orig CO Name:Diamond Comic Di           Orig ID:9620020001 Desc Date:Prfund                            39,846.17
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000023237223 Eed:250227
           Ind ID:9620020001                Ind Name:EFT File Name: Rp0586W         ACH
           Origin#:9090209001 CO Eff: 25/ 02/27                               250227
           Rp0586Wo Trn: 0583237223Tc

Total                                                                                                          $290,924.13




                                                                                                         Page 6 of 8
                     Case 25-10308          Doc 436-7        Filed 05/09/25        Page 35 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0020




Daily Balance


                                             Ledger                                                                  Ledger
Date                                        Balance        Date                                                      Balance

02/03                                   $130,806.91        02/18                                              $35,668.89
02/04                                   $135,657.52        02/19                                              $45,795.28
02/05                                   $141,756.03        02/20                                              $22,409.47
02/06                                     $2,539.96        02/21                                                     $562.14
02/07                                     $6,877.34        02/24                                              $12,539.08
02/10                                    $29,265.91        02/25                                              $15,615.49
02/11                                    $30,186.26        02/26                                              $21,396.89
02/12                                     $5,424.38        02/27                                                $4,096.95
02/13                                    $20,021.93        02/28                                              $13,000.03
02/14                                    $22,022.60




          Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                       Page 7 of 8
Case 25-10308      Doc 436-7        Filed 05/09/25   Page 36 of 110




                This Page Intentionally Left Blank




                                                                  Page 8 of 8
                           Case 25-10308             Doc 436-7            Filed 05/09/25       Page 37 of 110

                                                                                      February 01, 2025 through February 28, 2025
       JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                     0555
       P O Box 182051
       Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00102614 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 62 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       10150 YORK RD
       HUNT VALLEY MD 21030




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                      Shares


Opening Ledger Balance                                                                           $498,754.30


Deposits and Credits                                                   393                     $9,589,089.53


Withdrawals and Debits                                                   43                   $10,086,700.73


Checks Paid                                                               0                              $0.00


Ending Ledger Balance                                                                               $1,143.10


Deposits and Credits

Ledger             Description                                                                                                     Amount
Date

02/03              Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Worlds' End                                                 $7,687.81
                   Comics/Be/Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
                   21030- US/Ac-0000 00006410 Org=/891584196452/Be/Ogb=V Dk Spaarbank
                   NV Gent Belgium Be Obi =/Uri/Acc 91060 Inv 09272324+120121 5
                   3+11452333+09040676+15573494+0827 09 34+09253060+0844 Ssn:
                   00099421 Trn: 0023125034Fc
                   YOUR REF: TFI250130P55378

02/03              Chips Credit Via: Bank of America, N.A./0959 B/O: Comic Express/Donald F                                        7,663.31
                   Fowler Dk-9000 Aalborg Ref: Nbbk=Diamond Comic Distributors, Inc. Hunt
                   Valley MD 21030- US/Ac-0000 00006410 Bnf=Diamond Comic Distribu Tors
                   Inc 10087-2023 New York,N.Y./A C-641000555021000021 Org=/Dk6130003
                   698161914 Dk-9000 Aalborg Ogb=/0 Ssn: 00101996 Trn: 0028173034Fc
                   YOUR REF: 2025013000143511

02/03              Book Transfer Credit B/O: Kbc Bank NV Brussels Belgium B-108-0 Be                                               4,292.64
                   Org:/Be13734009276239 1/Pinceel Bv Ogb: Kbc Bank NV Havenlaan 2 Ref:
                   90775/Ocmt/USD4292,64/ Trn: 2041227030Js
                   YOUR REF: SWF OF 25/01/30




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                   Page 1 of 36
                     Case 25-10308          Doc 436-7          Filed 05/09/25      Page 38 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/03      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Armin Stroemmer                                         1,469.90
           3/DE/Hamburg 20146 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/DE7020010020096653120 8
           3/DE/Hamburg 20146 Ogb=Deutsche B Ank Ag Frankfurt Germany 60325-
           DE Obi=/Uri/Invoice 250131-07201910 Ac Coun T 9022 Ssn: 00124493 Trn:
           0029818034Fc
           YOUR REF: CEDSTK34233VZNJJ

02/03      Real Time Transfer Recd From Aba/Contr Bnk           0021   From:                                      1,437.47
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1206704057-92526 Info: Text-
           Iid: 20250201021000021P1Brjpc07920210404 Recd: 23:03:11 Trn:
           2243872032Gb
           YOUR REF: 1206704057-92526

02/03      Book Transfer Credit B/O: Arsenal Comics & Games, LLC Oxnard CA                                            887.51
           93030-7980 US Ref: 6K Trn: 3215065034Es
           YOUR REF: BOH OF 25/02/03

02/03      Book Transfer Credit B/O: Turkiye Vakiflar Bankasi T.A.O. Ankara Turkiye Tr                                858.74
           Org:/Tr140001500158048018643980 1/Buyuk Mavi Yayincilik Ve Reklamci
           Ogb: Turkiye Vakiflar Bankasi T.A.O. Tunus Cad No 60 Kavaklidere
           Ref:/Ocmt/USD858,74/ Trn: 3303319034Fs
           YOUR REF: SWF OF 25/02/03

02/03      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                           432.79
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250117-11452333 Trn: 0656500034Jo
           YOUR REF: 655618

02/03      Lockbox No: 22023 For 69 Items At 16:00 5 Trn: 2502477034Lb                                        152,838.78

02/03      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250131 CO                             100,378.27
           Entry Descr:186002    Sec:CCD     Trace#:242071759333144 Eed:250203
           Ind ID:ACH-0131-4Ecdb             Ind Name:Diamond Comic Distribu Trn:
           0319333144Tc

02/03      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:013125                            44,733.47
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759333146
           Eed:250203    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0319333146Tc

02/03      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250203                            17,459.93
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022022715 Eed:250203
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0342022715Tc

02/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250131                            5,928.06
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019333142 Eed:250203
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25032 Trn: 0319333142Tc

02/03      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                       1,131.24
           Date:250201 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000023397538 Eed:250203         Ind ID:Fcs002673612712
           Ind Name:Diamond Comic Distribu Trn: 0343397538Tc

02/03      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                           702.75
           Date:250203 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000022022713 Eed:250203         Ind ID:Fcs002672312202
           Ind Name:Diamond Comic Distribu Trn: 0342022713Tc

02/03      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250203                                  307.94
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022022709 Eed:250203
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0342022709Tc

02/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250201                                 95.51
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012022711 Eed:250203
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25034 Trn: 0342022711Tc



                                                                                                       Page 2 of 36
                       Case 25-10308        Doc 436-7          Filed 05/09/25         Page 39 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                           Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/04      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                       7,228.73
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0055900034Vb
           YOUR REF: CAP OF 25/02/03

02/04      Book Transfer Credit B/O: Dnb Norway Norway No                                                          7,043.68
           Org:/Se5690200000090602958822 Serieborsen Ab Ogb: Lansforsakringar
           Bank Ab Tegeluddsvagen 11 - 13 Ref:/Roc/Not.Provided/Uri/Apply To
           303310/Chgs/USD15,00/Ocmt/USD7058,68/ Trn: 2051135035Js
           YOUR REF: SWF OF 25/02/04

02/04      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                 2,089.15
           -1Ah Gb Org:/Ch-2572154 Comics R US Pty Ltd T/A Comics R US Ogb:
           Convera Uk Limited Alphabeta Building Ref: Tradetrade Related Account
           90109/Ocmt/USD2089,15/ Trn: 0419638034Fs
           YOUR REF: SWF OF 25/02/03

02/04      Book Transfer Credit B/O: Hang Seng Bank Ltd Hong Kong Hong Kong Hk                                     1,335.75
           Org:/364097352001 Metro Comics Ogb: Hang Seng Bank Ltd Institutional
           Banking Dept Ref: Inv. No. 250117-11452333 (90408)/Ocmt/USD1335,75/
           Trn: 5727357035Fs
           YOUR REF: SWF OF 25/02/04

02/04      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Kirsty Leeann                                   1,131.25
           Litkowski Vic Australia 3808 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-               6410 Org=/167234384 Vic Austral IA
           3808 Ogb=/008873 Notprovided Obi =/Uri/92579 Secret Hq Bbi=/Ocmt/USD
           1156,25/Rec/Less Fees Ssn: 00078113 Trn: 0018378035Fc
           YOUR REF: EB800069 -01

02/04      Book Transfer Credit B/O: Bank of East Asia Limited Hong Kong Hong Kong                                     350.21
           Hk Org:/015-523-68015787 Heitang Limited Ref:
           93281/Chgs/USD0,/Chgs/USD23,00/Ocmt/USD373,21/ Trn: 1597663035Fs
           YOUR REF: SWF OF 25/02/04

02/04      Lockbox No: 22023 For 29 Items At 16:00 5 Trn: 2503606035Lb                                           32,623.18

02/04      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250203 CO                              255,019.75
           Entry Descr:186002    Sec:CCD     Trace#:242071754092947 Eed:250204
           Ind ID:ACH-0203-2B71C             Ind Name:Diamond Comic Distribu Trn:
           0344092947Tc

02/04      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020325                             55,490.80
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071754092956
           Eed:250204    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0344092956Tc

02/04      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250204                              8,784.97
           CO Entry Descr:Deposit      Sec:CCD     Trace#:021000021374139 Eed:250204
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0351374139Tc

02/04      Orig CO Name:Follett Content          Orig ID:6872968865 Desc Date:     CO                              6,413.53
           Entry Descr:00000916/1Sec:CCD         Trace#:111000024092949 Eed:250204
           Ind ID:1488316                Ind Name:Diamond Book Distribut
           Rmr*Ik*ACH\ Trn: 0344092949Tc

02/04      Orig CO Name:Coliseum of Comi           Orig ID:Bizedp   Desc Date:020325                               5,401.14
           CO Entry Descr:Deposit      Sec:CCD     Trace#:091000014092958 Eed:250204
           Ind ID:Dpaaacctji             Ind Name:Diamond Comic Distribu      Coliseum
           of Comics            2120                                  Wfb Directpay Trn:
           0344092958Tc

02/04      Orig CO Name:Amazon.CA5203612             Orig ID:1912089241 Desc Date:                                 3,651.07
           CO Entry Descr:EDI Pymntssec:CCD          Trace#:091000014092954
           Eed:250204    Ind ID:Fcs002673555122              Ind Name:Diamond Comic
           Distribu                                                        EDI Trn:
           0344092954Tc




                                                                                                        Page 3 of 36
                     Case 25-10308           Doc 436-7        Filed 05/09/25            Page 40 of 110

                                                                               February 01, 2025 through February 28, 2025
                                                                               Account Number:                      0555




Deposits and Credits      (continued)

Ledger     Description                                                                                                     Amount
Date

02/04      Orig CO Name:0417Ltl              Orig ID:3391452112 Desc Date:250203 CO                                    3,028.78
           Entry Descr:Eleccheck Sec:CCD      Trace#:071000284092952 Eed:250204
           Ind ID:51739                 Ind Name:Diamond Comic Distr I Trn:
           0344092952Tc

02/04      Orig CO Name:Carolina Comics         Orig ID:444887153    Desc Date:Feb 04                                  2,393.19
           CO Entry Descr:Diamond 32Sec:PPD         Trace#:103107394203307
           Eed:250204     Ind ID:                  Ind Name:Diamond Trn:
           0354203307Tc

02/04      Orig CO Name:Continental Exc         Orig ID:AXXXXXXXX Desc Date:250204                                        601.50
           CO Entry Descr:P2P       Sec:Web     Trace#:081000034092945 Eed:250204
           Ind ID:92154                 Ind Name:Diamond Comic Distribu Trn:
           0344092945Tc

02/04      Orig CO Name:Target Plus Part        Orig ID:1800948598 Desc Date:           CO                                 195.67
           Entry Descr:Target Plusec:CCD      Trace#:091000014092961 Eed:250204
           Ind ID:St-K8M7D1T6Z6T4             Ind Name:Diamond Comic Distribu Trn:
           0344092961Tc

02/05      Book Transfer Credit B/O: Royal Bank of Canada Payment Centertoronto On                                     9,082.07
           Canada M5V2Y-1 CA Org:/030514002978 9472-3970 Quebec Inc
           Ref:/Chgs/USD0,/Chgs/USD20,00/Ocmt/USD9102,07/ Trn: 4194053036Fs
           YOUR REF: SWF OF 25/02/05

02/05      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                         6,695.66
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250117-Outland-90121/Ocmt/USD6695,66/ Trn: 2075275036Js
           YOUR REF: SWF OF 25/02/05

02/05      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                                   4,878.53
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-
                6410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20241230 + 202501 06
           Bbi=/Chgs/USD0,00/Ocmt/USD4878,53/ Ssn: 00143125 Trn: 0036060036Fc
           YOUR REF: NOTPROVIDED

02/05      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                   1,999.51
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Grnhpf5Xvkjc1/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD2019 ,51/Acc/Benefres/US Trn:
           2020217036Js
           YOUR REF: SWF OF 25/02/05

02/05      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                      1,826.90
           04862-4 Sg Org:/1473019634 Absolute Comics Pte Ltd Ref: 28 Dec 2024 And
           3 Jan Invoices/Fullpay/ Trn: 3165753036Fs
           YOUR REF: SWF OF 25/02/05

02/05      Chips Credit Via: Citibank N.A./0008 B/O: 1/Hartmut Moche 3/DE/42349                                        1,709.94
           Wuppertal Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/DE6633050000000072067 2 3/DE/42349
           Wuppertal Ogb=Stadtspa Rkasse Wuppertal Wuppertal Germany 42103- DE
           Obi=/Uri/Invoices 25/01/0 3 + 25/01/09.A Ssn: 00163671 Trn: 0041098036Fc
           YOUR REF: NOTPROVIDED

02/05      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                           1,535.92
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5034N6Pdus2900/Uri/Account: 91278/Ocmt/USD1535,92/ Trn:
           2067565034Js
           YOUR REF: SWF OF 25/02/03




                                                                                                            Page 4 of 36
                      Case 25-10308         Doc 436-7         Filed 05/09/25         Page 41 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                            Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

02/05      Chips Credit Via: Standard Chartered Bank/0256 B/O: 1/Arka Bahce Yayin Ve                                    995.14
           Rekl.Ltd.Sti.3/Tr/Istanbul Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-               6410 Org=/Tr5300046002650010000
           64982 3/Tr/Istanbul Ogb=Akbank T.A. S. 80745 Istanbul, Turkey
           Obi=/Uri/Inv/050225/93440 Ssn: 00278349 Trn: 0067637036Fc
           YOUR REF: 2025020500188152

02/05      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From:                                             630.11
           Bnf-Gamma Rays Comics Via Wise Ref: 1212210910-09253 Info: Text-          Iid:
           20250205021000021P1Brjpc00480151613 Recd: 18:12:51 Trn:
           1064572036Gd
           YOUR REF: 1212210910-09253

02/05      Lockbox No: 22023 For 33 Items At 16:00 5 Trn: 2501233036Lb                                            37,926.15

02/05      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020425                            100,729.99
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755086013
           Eed:250205    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0355086013Tc

02/05      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250204 CO                                 70,824.65
           Entry Descr:186002    Sec:CCD     Trace#:242071755086011 Eed:250205
           Ind ID:ACH-0204-Bd2D2              Ind Name:Diamond Comic Distribu Trn:
           0355086011Tc

02/05      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250205                                8,378.80
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027721841 Eed:250205
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0367721841Tc

02/05      Orig CO Name:3Rd Universe Con           Orig ID:9200502235 Desc Date:250205                                  117.94
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000025086015
           Eed:250205    Ind ID:11159825431               Ind Name:Diamond Comic
           Distribu   502050 Trn: 0355086015Tc

02/06      Book Transfer Credit B/O: Banco Bpm Spa Verona Italy 37121 It                                          61,497.96
           Org:/It88L0503402410000000023463 1/Terminal Distribuzione Srl Ref:
           Payment Your Invoices/Chgs/USD26,00/Ocmt/USD61523,96/ Trn:
           2044021035Js
           YOUR REF: SWF OF 25/02/04

02/06      Book Transfer Credit B/O: Bank Hapoalim B M Tel-Aviv Israel IL                                         10,173.85
           Org:/IL670123910000000444441 1/Tzomet Sfarim 2002 Limited Partne
           Ref:/Chgs/USD0,/Chgs/USD30,00/Ocmt/USD10203,85/ Trn: 6140764036Fs
           YOUR REF: SWF OF 25/02/05

02/06      Book Transfer Credit B/O: JPMorgan Chase Bank NA - London London                                         8,040.46
           United Kingdom E14 5Jp Gb Org:/Lt833250079856555844 1/Duo Estudio DE
           Design, Lda Ogb: Revolut Bank Uab Konstitucijos Ave. 21B Ref: Diamond
           Janeiro/Ocmt/USD8040,46/Ins/Revogb2Lxxx Trn: 2034661037Js
           YOUR REF: SWF OF 25/02/06

02/06      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Worldwide Book                                   6,243.64
           Services Limited Cm9 6Ff Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-               6410 Org=/11682385 Cm9 6Ff Ogb=
           Lloyds Bank Plc Birmingham B1 2Ab, England Obi=/Uri/Account 95452
           Bbi=/Ocmt/USD6263,64/Rec/Less Fees Ssn: 00459737 Trn: 0110998037Fc
           YOUR REF: FT276047881501

02/06      Book Transfer Credit B/O: Vietnam Export Import Commercial Hochiminh City,                               2,900.25
           Vietnam Vn Org:/200014851128547 Ho Chi Minh City Book Distribution Ogb:
           Vietnam Export Import Commercial 7Le Thi Hong Gam St Ref: Pmt For
           Contract No 540/Hd-Phs Dated 19 Dec 2022/Chgs/USD0,/Chgs/USD25
           ,00/Ocmt/USD2925,25/ Trn: 8846807037Fs
           YOUR REF: SWF OF 25/02/06




                                                                                                         Page 5 of 36
                      Case 25-10308         Doc 436-7           Filed 05/09/25        Page 42 of 110

                                                                             February 01, 2025 through February 28, 2025
                                                                             Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                   Amount
Date

02/06      Chips Credit Via: Deutsche Bank Trust Company America/0103 B/O:                                           1,599.00
           1/Extended Play Sll 3/Es/Mejorada Del Campo Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-            6410
           Org=/Es6921008652847200314 551 3/Es/Mejorada Del Campo Ogb=Cai
           Xabank, S.A. Barcelona Spain 08028- Es Obi=/Uri/Fra 2411 Ssn: 00029192
           Trn: 0004379037Fc
           YOUR REF: NOTPROVIDED

02/06      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                    1,236.00
           04862-4 Sg Org:/3873008944 G And B Comic Online Supermart Ref:
           Payment For G And B Comic Online Supermart For A/C 92029/Fullpay/Acc/4 ,
           New York Plaza, New York, NY 1000 4 USA International Wire Tr Ansfer Trn:
           7977144037Fs
           YOUR REF: SWF OF 25/02/06

02/06      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                    1,229.93
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-               6410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250109,,0
           Ssn: 00100365 Trn: 0023976037Fc
           YOUR REF: 250204101A000081

02/06      Chips Credit Via: Bank of America, N.A./0959 B/O: Best Eastern Brunei                                         157.61
           Darussalam Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/0200110294268 Brunei Darussalam
           Ogb=/006550389510 Baidbn Bbxxx Obi=/Uri/Rfb/Merchandise Impo Rts
           Bbi=/Chgs/USD20,00/Ocmt/USD177, 61/ Ssn: 00027805 Trn: 0004061037Fc
           YOUR REF: MERCHANDISE IMPO

02/06      Lockbox No: 22023 For 21 Items At 16:00 5 Trn: 2500279037Lb                                             16,527.36

02/06      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250206                             244,119.33
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028045311 Eed:250206
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0378045311Tc

02/06      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250205 CO                                  58,353.37
           Entry Descr:186002    Sec:CCD     Trace#:242071756792322 Eed:250206
           Ind ID:ACH-0205-6C4B7              Ind Name:Diamond Comic Distribu Trn:
           0366792322Tc

02/06      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020525                               50,085.08
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071756792317
           Eed:250206    Ind ID:V40931 - 000001              Ind Name:Diamond Comic
           Dist.Sta Trn: 0366792317Tc

02/06      Orig CO Name:Discount Comic B           Orig ID:9200502235 Desc Date:250206                             26,836.43
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000026792311
           Eed:250206    Ind ID:11161014645               Ind Name:Diamond Comic
           Distribu   Document 277494 Trn: 0366792311Tc

02/06      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250206                             16,411.08
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000026792314 Eed:250206
           Ind ID:                  Ind Name:Diamond Comic Distribu       60001, 60395,
           60400, 65286 - 12-5 T O 12-10 Invoices Trn: 0366792314Tc

02/06      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                   15,988.43
           CO Entry Descr:Payments Sec:CCD          Trace#:051000016792324
           Eed:250206    Ind ID:30000                  Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0366792324Tc

02/06      Orig CO Name:9103-6152 Quebec            Orig ID:1202936165 Desc Date:                                    8,901.10
           CO Entry Descr:CCD Paymensec:CCD           Trace#:021000020711931
           Eed:250206    Ind ID:Sw01952211273                Ind Name:Diamond Comic
           Distribu   Sw01952211273
           PID22CA6E7322C6 Trn: 0370711931Tc




                                                                                                          Page 6 of 36
                      Case 25-10308         Doc 436-7        Filed 05/09/25        Page 43 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/06      Orig CO Name:Rarewaves-USA IN          Orig ID:1820233691 Desc                                         4,882.59
           Date:250206 CO Entry Descr:Payment      Sec:CCD
           Trace#:022000028045307 Eed:250206       Ind ID:Diamond                Ind
           Name:Diamond Comic Dist Ch
           Hdd758873601Gxv Trn: 0378045307Tc

02/06      Orig CO Name:Payoneer Inc          Orig ID:4169905    Desc Date:250205 CO                              2,246.15
           Entry Descr:796277619 Sec:CCD       Trace#:061120089077252 Eed:250206
           Ind ID:366184858741298            Ind Name:Diamond Comic
           Fishpond.Com Inc 93420
           4366184858741298 Trn: 0379077252Tc

02/06      Orig CO Name:M Comics LLC            Orig ID:1661042025 Desc Date:250206                               1,572.00
           CO Entry Descr:Invoice   Sec:CCD     Trace#:221571476792319 Eed:250206
           Ind ID:Diamond Comics            Ind Name:Jp Morgan Chase Bank
           Invoice Payment                                            8892001107 Trn:
           0366792319Tc

02/06      Orig CO Name:Square Inc            Orig ID:O800429876 Desc Date:250206                                     881.67
           CO Entry Descr:Zonecomicssec:CCD       Trace#:091000018045309
           Eed:250206    Ind ID:T3Z56S0Z0VA0Tya             Ind Name:Diamond Comic
           Distribu                                                       T2148043
           Trn: 0378045309Tc

02/06      Orig CO Name:Intuit 74312020        Orig ID:9215986202 Desc Date:020325                                    653.34
           CO Entry Descr:Bill_Pay Sec:CCD      Trace#:021000026792327 Eed:250206
           Ind ID:Heroes And Vill         Ind Name:JPMorgan Chase Bank, N Trn:
           0366792327Tc

02/07      Foreign Remittance Credit B/O: Fx USD Outgoingfedchipsdda Newark DE                                216,568.31
           19713- US Org:/3171008026179 Diamond Comic Distributors Inc Ogb: Fx
           USD Incomingfedchipsdda JPMorgan Chase Bank NA
           Ref:/Ocmt/USD216568,31/Product/Fx Trn: 7986277038Fx
           YOUR REF: SWF OF 25/02/07

02/07      Book Transfer Credit B/O: Ic JPMorgan Chase Bank N A Toronto Toronto                                 39,985.00
           Msj2J2 Canada 3511 - CA Org:/4011739566 Diamond Comic Distributors Inc
           Ogb: JP Morgan Chase Bank-Toronto Branch200 Bay Street South Tower
           18th FL Ref:/Chgs/USD15,00/Ocmt/USD40000,/ Trn: 2101521038Js
           YOUR REF: SWF OF 25/02/07

02/07      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                               4,821.62
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 8th -10th January 2025. Less
           Overpayment. A Ccounts 90124, 92124 And 90124A./Ch
           Gs/Aud0,/Chgs/USD10,00/Ocmt/USD4831 ,62/ Trn: 0115927038Fs
           YOUR REF: SWF OF 25/02/07

02/07      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Minotaur (Entertainment)                            4,096.18
           Pty Ltd Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-             6410 Org=/083125629889767 76849 0462
           Australia Ogb=National Austral IA Bank Ltd. Melbourne Vic 3000 Aus Tralia
           Obi=/Uri/Minotaur Enterta Ssn: 00017016 Trn: 0001027038Fc
           YOUR REF: 3039TT3025244752

02/07      Real Time Transfer Recd From Aba/Contr Bnk-021000021      From: Bnf-Black                              2,480.02
           Dog Comics Ohg Via Wise Ref: 1214055679-90038 Info: Text-     Iid:
           20250207021000021P1Brjpc02800015579 Recd: 05:09:54 Trn:
           0202992038GA
           YOUR REF: 1214055679-90038

02/07      Chips Credit Via: Sumitomo Mitsui Banking Corporation/0967 B/O: Ampus,Inc.                             2,469.39
           0089-07341266 4-5-7 Pan Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-             6410 Org=/0089-07341266 Pan Ogb
           =Sumitomo Mitsui Banking Corporatio N Chiyoda-Ku Tokyo Japan 51500-0 Jp
           Obi=/Uri/Account No.65734 Pur Ssn: 00079091 Trn: 0019001038Fc
           YOUR REF: 150250207MT01377




                                                                                                       Page 7 of 36
                      Case 25-10308          Doc 436-7        Filed 05/09/25        Page 44 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/07      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                       1,898.84
           94085-3542 US Org:/2121120044800812 Joseph Italiano And Peter M
           Hughes Trn: 3193800038Jo
           YOUR REF: CAP OF 25/02/07

02/07      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                         312.69
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Consumer
           Goods Dcd Acc92567 Big City Comics Invoice 25011711452333/Ocm
           T/USD312,69/ Trn: 0172319038Fs
           YOUR REF: SWF OF 25/02/07

02/07      Lockbox No: 22023 For 23 Items At 16:00 5 Trn: 2503552038Lb                                           36,571.30

02/07      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250206 CO                             132,710.02
           Entry Descr:186002    Sec:CCD      Trace#:242071757246529 Eed:250207
           Ind ID:ACH-0206-9Ab8E              Ind Name:Diamond Comic Distribu Trn:
           0387246529Tc

02/07      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250207                             97,049.07
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027246533 Eed:250207
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0387246533Tc

02/07      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:020625                             42,625.83
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071753589121
           Eed:250207    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0373589121Tc

02/07      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250206                           33,431.95
           CO Entry Descr:Settlementsec:CCD        Trace#:091000013589126 Eed:250207
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25038 Trn: 0373589126Tc

02/07      Orig CO Name:Gamestop Texas,            Orig ID:1255811000 Desc Date:250207                           14,458.86
           CO Entry Descr:Payments Sec:CCD          Trace#:021000023589123
           Eed:250207    Ind ID:2000190309               Ind Name:Diamond Comic
           Distribu   Nte*Zzz*Rmrei0020002114\ Trn: 0373589123Tc

02/07      Orig CO Name:The Comic Shop             Orig ID:396779-A   Desc Date:     CO                            2,900.11
           Entry Descr:Vendor   Sec:CTX      Trace#:325272027246531 Eed:250207          Ind
           ID:2023-001                 Ind Name:0000Diamond Comic Trn: 0387246531Tc

02/07      Orig CO Name:Archonia              Orig ID:1204895317 Desc Date:        CO                              2,112.39
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000023589128 Eed:250207          Ind
           ID:015Egiclvpbxn2I            Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Egiclv Pbxn2I Acct 91655 - Inv 250124-0827 0934 Trn:
           0373589128Tc

02/07      Orig CO Name:Crunchyroll, LLC          Orig ID:9309882002 Desc Date:250207                                  690.27
           CO Entry Descr:Payment       Sec:CCD     Trace#:021000023589119
           Eed:250207    Ind ID:304                   Ind Name:Diamond Comic Distribu
           Trn: 0373589119Tc

02/10      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                       3,882.95
           94085-3542 US Org:/2121120029312200 Trading Cards Australia Pty. Ltd. 1
           Ref: Invoice 02/03/25 02/07/25 587466 Trn: 0824300041Jo
           YOUR REF: CAP OF 25/02/10

02/10      Book Transfer Credit B/O: National Westminster Bank Plc London United                                   3,503.00
           Kingdom Ec2M -4Aa Gb Org:/Gb67Nwbk60012156835531 Colour Command
           + Combat Ltd Ref: Inv 10021 First of
           3/Chgs/Gbp0,/Chgs/USD18,00/Ocmt/USD3521,/ Trn: 2950995041Fs
           YOUR REF: SWF OF 25/02/10




                                                                                                        Page 8 of 36
                      Case 25-10308         Doc 436-7          Filed 05/09/25       Page 45 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                          Account Number:                      0555




Deposits and Credits      (continued)

Ledger     Description                                                                                                Amount
Date

02/10      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Armin Stroemmer                                         2,432.04
           3/DE/Hamburg 20146 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/DE7020010020096653120 8
           3/DE/Hamburg 20146 Ogb=Deutsche B Ank Ag Frankfurt Germany 60325-
           DE Obi=/Uri/Invoice 250207-08385833 Ac Coun T 9022 Ssn: 00066643 Trn:
           0010010041Fc
           YOUR REF: CEIQPP66790YUJVV

02/10      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                  1,975.00
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2061749037Js
           YOUR REF: SWF OF 25/02/06

02/10      Fedwire Credit Via: Choice Financial Group/091311229 B/O: Ruptura Estudios                             1,598.50
           LLC Middletown DE 19709 Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac           6410 Rfb=O/B
           Choic Efin Obi=Via Mercury.Com Imad: 0210Mmqfmp4S000782 Trn:
           0453531041Ff
           YOUR REF: O/B CHOICEFIN

02/10      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                1,369.16
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250130-08334257/Ocmt/USD1369,16/
           Trn: 1955949041Fs
           YOUR REF: SWF OF 25/02/10

02/10      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                1,339.18
           -1Ah Gb Org:/Ch-6052306 2454465 Ontario Inc Dba Big B Ogb: Convera Uk
           Limited Alphabeta Building Ref: 36316-250129 36316-250205
           36316-250212/Ocmt/USD1339,18/ Trn: 3533087041Fs
           YOUR REF: SWF OF 25/02/10

02/10      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                1,176.51
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250205-16543670/Ocmt/USD1176,51/
           Trn: 4438226041Fs
           YOUR REF: SWF OF 25/02/10

02/10      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                     61.39
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250129-21452559/Ocmt/USD61,39/ Trn:
           1955929041Fs
           YOUR REF: SWF OF 25/02/10

02/10      Lockbox No: 22023 For 112 Items At 16:00 5 Trn: 2503396041Lb                                       223,123.38

02/10      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250207 CO                               98,478.53
           Entry Descr:186002    Sec:CCD    Trace#:242071755288942 Eed:250210
           Ind ID:ACH-0207-DE74C             Ind Name:Diamond Comic Distribu Trn:
           0385288942Tc

02/10      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250207                           50,764.32
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015288940 Eed:250210
           Ind ID:1199200593             Ind Name:Diamond Comi1199200593
           Payment Date 25039 Trn: 0385288940Tc

02/10      Orig CO Name:UPS-Capital           Orig ID:2362407381 Desc Date:020725                               33,980.05
           CO Entry Descr:Cod Pymts Sec:CCD        Trace#:242071755288944
           Eed:250210    Ind ID:V40931 - 000003          Ind Name:Diamond Comics
           Trn: 0385288944Tc

02/10      Orig CO Name:Nbcuniversal Med          Orig ID:1031375454 Desc Date:250207                           29,319.50
           CO Entry Descr:Vendor Pmtsec:CTX        Trace#:028000084874274
           Eed:250210    Ind ID:2004862441A550               Ind Name:0007Diamond
           Comic Di                                                          A550 Trn:
           0414874274Tc




                                                                                                       Page 9 of 36
                      Case 25-10308            Doc 436-7       Filed 05/09/25        Page 46 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                            Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                                6,536.52
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024874272 Eed:250210
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0414874272Tc

02/10      Orig CO Name:Coliseum of Comi          Orig ID:Bizedp    Desc Date:020725                                6,516.57
           CO Entry Descr:Deposit      Sec:CCD    Trace#:091000015288948 Eed:250210
           Ind ID:Dpaaacixqx              Ind Name:Diamond Comic Distribu        Coliseum
           of Comics 502190                                        Wfb Directpay Trn:
           0385288948Tc

02/10      Orig CO Name:Vintage Stock            Orig ID:1431571679 Desc Date:250207                                6,169.22
           CO Entry Descr:Paymentjnlsec:CCD        Trace#:101006695288951 Eed:250210
           Ind ID:V000088                Ind Name:Diamond Comic Dist., Trn:
           0385288951Tc

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                                5,747.93
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024874285 Eed:250210
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0414874285Tc

02/10      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                         3,269.63
           Date:250208 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000028795899 Eed:250210         Ind ID:Fcs002684805832
           Ind Name:Diamond Comic Distribu Trn: 0418795899Tc

02/10      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 10                              2,455.56
           CO Entry Descr:Diamond 32Sec:PPD         Trace#:103107397797577
           Eed:250210    Ind ID:                    Ind Name:Diamond Trn:
           0417797577Tc

02/10      Orig CO Name:Payoneer Inc             Orig ID:4169905   Desc Date:250209 CO                                   398.85
           Entry Descr:797779965 Sec:CCD         Trace#:061120088795896 Eed:250210
           Ind ID:366184863417177              Ind Name:Diamond Comic
           Fishpond.Com Inc 93420
           4366184863417177 Trn: 0418795896Tc

02/10      Orig CO Name:Wise Inc               Orig ID:453233521   Desc Date:250210 CO                                   329.48
           Entry Descr:92526       Sec:CCD     Trace#:021000025084579 Eed:250210        Ind
           ID:92526                  Ind Name:Diamond Comic Distribu      From
           Greenlight Comics Pty Ltd Via Wise                              1216883352
           Trn: 0415084579Tc

02/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250210                                     298.48
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024874283 Eed:250210
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0414874283Tc

02/10      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250208                                    49.54
           CO Entry Descr:Settlementsec:CCD        Trace#:091000014874270 Eed:250210
           Ind ID:1199200593                 Ind Name:Diamond Comi1199200593
           Payment Date 25041 Trn: 0414874270Tc

02/10      Orig CO Name:Ross Store Inc.          Orig ID:2941390387 Desc Date:       CO                                   13.60
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000015288946 Eed:250210
           Ind ID:0000188931                 Ind Name:Diamond Comic Distribu
           EDI Trn: 0385288946Tc

02/11      Chips Credit Via: Citibank N.A./0008 B/O: 1/Fantastico Comic S DE Rl DE Cv                               8,072.24
           3/Mx/Benito Juarez Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-0000 00006410 Org=/00002180700801086467
           3/Mx/Benito Juarez Ogb=Banco Nacion AL DE Mexico S.A. Mexico Mexico
           Mx Bbi=/Acc/00000000000641000555 1/Dia        Ssn: 00425294 Trn:
           0103493042Fc
           YOUR REF: NOTPROVIDED




                                                                                                         Page 10 of 36
                     Case 25-10308            Doc 436-7        Filed 05/09/25           Page 47 of 110

                                                                               February 01, 2025 through February 28, 2025
                                                                                Account Number:                     0555




Deposits and Credits      (continued)

Ledger     Description                                                                                                  Amount
Date

02/11      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                           8,030.70
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0040800042Jo
           YOUR REF: CAP OF 25/02/11

02/11      Real Time Transfer Recd From Aba/Contr Bnk            0021   From: Bnf-Black                                2,480.02
           Dog Comics Ohg Via Wise Ref: 1218595228-90038 Info: Text-           Iid:
           20250211021000021P1Brjpc09200022724 Recd: 07:43:07 Trn:
           0603862042Gb
           YOUR REF: 1218595228-90038

02/11      Chips Credit Via: Citibank N.A./0008 B/O: 1/Fantastico Comic S DE Rl DE Cv                                  1,843.75
           3/Mx/Benito Juarez Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-0000 00006410 Org=/00002180700801086467
           3/Mx/Benito Juarez Ogb=Banco Nacion AL DE Mexico S.A. Mexico Mexico
           Mx Bbi=/Acc/00000000000641000555 1/Dia         Ssn: 00425724 Trn:
           0103606042Fc
           YOUR REF: NOTPROVIDED

02/11      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                   1,750.33
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Grqkfw5Xnwzp1/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD1770 ,33/Acc/Benefres/US Trn:
           2047583042Js
           YOUR REF: SWF OF 25/02/11

02/11      Book Transfer Credit B/O: Hang Seng Bank Ltd Hong Kong Hong Kong Hk                                         1,527.97
           Org:/364097352001 Metro Comics Ogb: Hang Seng Bank Ltd Institutional
           Banking Dept Ref: Inv. No. 250124-15573494 And
           25013107201910/Ocmt/USD1527,97/ Trn: 2032681042Js
           YOUR REF: SWF OF 25/02/11

02/11      Book Transfer Credit B/O: Nordea Bank Abp, Filial I Sverige Stockholm                                       1,150.61
           Sweden Se-105 71 Se Org:/Se4595000099602601072438 Seriezonen Ab
           Ref: Invoice 250109
           09272324/Chgs/USD0,/Chgs/USD9,00/Ocmt/USD1159,61/ Trn:
           7639492041Fs
           YOUR REF: SWF OF 25/02/10

02/11      Lockbox No: 22023 For 26 Items At 16:00 5 Trn: 2500305042Lb                                               81,099.80

02/11      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250210 CO                                238,726.44
           Entry Descr:186002      Sec:CCD    Trace#:242071757160788 Eed:250211
           Ind ID:ACH-0210-267Db              Ind Name:Diamond Comic Distribu Trn:
           0427160788Tc

02/11      Orig CO Name:Perrault & Assoc          Orig ID:9200502235 Desc Date:250211                                27,792.15
           CO Entry Descr:ACH Pmt        Sec:CCD     Trace#:021000024578238
           Eed:250211     Ind ID:11161433759              Ind Name:Diamond Comic
           Distribu Trn: 0414578238Tc

02/11      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250211                                       975.79
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000027160790 Eed:250211
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0427160790Tc

02/11      Orig CO Name:Fheg Retail USA            Orig ID:9362369161 Desc Date:          CO                                403.84
           Entry Descr:Ap Paymentsec:PPD          Trace#:111000024578232 Eed:250211
           Ind ID:0002-     9222           Ind Name:Diamond Comic Dist Inc Trn:
           0414578232Tc

02/11      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250210                                     114.92
           CO Entry Descr:Settlementsec:CCD         Trace#:091000014578236 Eed:250211
           Ind ID:1199200593                Ind Name:Diamond Comi1199200593
           Payment Date 25042 Trn: 0414578236Tc




                                                                                                            Page 11 of 36
                     Case 25-10308          Doc 436-7        Filed 05/09/25        Page 48 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                             Amount
Date

02/11      Orig CO Name:Target Plus Part      Orig ID:1800948598 Desc Date:        CO                                   36.96
           Entry Descr:Target Plusec:CCD    Trace#:091000014578234 Eed:250211
           Ind ID:St-Y9S6C3P9F5C6            Ind Name:Diamond Comic Distribu Trn:
           0414578234Tc

02/12      Book Transfer Credit B/O: Sydbank A S Dk-6200 Aabenraa Denmark Dk                                    10,142.19
           Org:/Dk5679800001150693 1/Faraos Cigarer Aps Ref: Faraos Cigarer Aps
           Account: 90149 Routing (Aba): 021000021/Ocmt/USD101 42,19/ Trn:
           3158944042Fs
           YOUR REF: SWF OF 25/02/11

02/12      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                             10,122.33
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 14th-17th January 2025. Accounts
           90124, 921 24 And 90124A./Chgs/Aud0,/Chgs/USD1
           0,00/Ocmt/USD10132,33/ Trn: 6513966043Fs
           YOUR REF: SWF OF 25/02/12

02/12      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                    4,417.57
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250124-Outland-90121/Ocmt/USD4417,57/ Trn: 2040845043Js
           YOUR REF: SWF OF 25/02/12

02/12      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                      1,872.36
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5041O6Yfmys300/Uri/Account: 91278/Ocmt/USD1872,36/ Trn:
           2075453041Js
           YOUR REF: SWF OF 25/02/10

02/12      Chips Credit Via: Citibank N.A./0008 B/O: 1/Kabooom Entertainment Gmbh                                 1,689.33
           3/Ch/Zuerich,8004 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/                6410 Org=/Ch1800700110001408145
           3/Ch/Zuerich,8004 Ogb=Zuercher Kan Tonalbank Zurich Switzerland Ch Obi
           =/Uri/Document-No: 265418, 367902, 1 286 Ssn: 00039128 Trn:
           0007197043Fc
           YOUR REF: NOTPROVIDED

02/12      Book Transfer Credit B/O: Union Bank of The Philippines Philippines                                    1,689.09
           Philippines Ph Org:/101590008955 Comic Odyssey No 65526A Ref: Payment
           To Supplier Trn: 6971646043Fs
           YOUR REF: SWF OF 25/02/12

02/12      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Mr Kwan Chi Shing Jerome                               1,686.97
           Ng Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/Ac-           6410 Org=/809886468833 Ng Ogb=H Sbc Hong Kong Hong
           Kong Hong Kong O Bi=/Uri/Clarks Comics 90047 Bbi=/Oc
           MT/USD1686,97/Acc/Purchase of Goods Ssn: 00031029 Trn: 0004850043Fc
           YOUR REF: HK112025PI256935

02/12      Book Transfer Credit B/O: Keb Hana Bank CO., Ltd. Seoul Korea Republic of                                   313.46
           100-7-93 Kr Org:/77391002537432 1/Aladdin Communications Inc. Ref:
           Account No. 93187 Trn: 5716607043Fs
           YOUR REF: SWF OF 25/02/12

02/12      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                     200.00
           -1Ah Gb Org:/720447282 Comics Games Entertainment Ogb: Greater Bank -
           Rutherford Wonnarua Country Shop 5T Ref: Goods Trade Acc No: 92622
           Comics Games Entertainment/Ocmt/USD200,00/ Trn: 0666488043Fs
           YOUR REF: SWF OF 25/02/12

02/12      Lockbox No: 22023 For 48 Items At 16:00 5 Trn: 2504103043Lb                                          48,462.69

02/12      Orig CO Name:UPS-Capital           Orig ID:2362407381 Desc Date:021125                               60,308.95
           CO Entry Descr:Cod Pymts Sec:CCD       Trace#:242071751296704
           Eed:250212    Ind ID:V40931 - 000002          Ind Name:Diamond Comics
           Trn: 0421296704Tc




                                                                                                       Page 12 of 36
                      Case 25-10308          Doc 436-7        Filed 05/09/25          Page 49 of 110

                                                                             February 01, 2025 through February 28, 2025
                                                                             Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/12      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250211 CO                                 48,764.24
           Entry Descr:186002    Sec:CCD     Trace#:242071751296697 Eed:250212
           Ind ID:ACH-0211-4D97F             Ind Name:Diamond Comic Distribu Trn:
           0421296697Tc

02/12      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021025                               24,619.17
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071751296711
           Eed:250212    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0421296711Tc

02/12      Orig CO Name:Coliseum of Comi          Orig ID:Bizedp    Desc Date:021125                                 5,499.30
           CO Entry Descr:Deposit      Sec:CCD    Trace#:091000011296701 Eed:250212
           Ind ID:Dpaaack88R               Ind Name:Diamond Comic Distribu
           Coliseum of Comics 502260                                          Wfb
           Directpay Trn: 0421296701Tc

02/12      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250212                                 5,297.21
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021226673 Eed:250212
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0431226673Tc

02/12      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250211                                    854.50
           CO Entry Descr:Settlementsec:CCD        Trace#:091000011296706 Eed:250212
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25043 Trn: 0421296706Tc

02/12      Orig CO Name:Wal-Mart Stores           Orig ID:4216028   Desc Date:250211                                      602.85
           CO Entry Descr:798703182 Sec:CCD          Trace#:061120081296708
           Eed:250212    Ind ID:366184865973247              Ind Name:Diamond Comic
           Distribu   Wal-Mart Stores, Inc Payment
           4366184865973247 Trn: 0421296708Tc

02/12      Orig CO Name:Toho Internation         Orig ID:1204895317 Desc Date:          CO                                147.40
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000021296713 Eed:250212           Ind
           ID:015Uradfvxc4Q2L             Ind Name:Diamond Comic Distribu        Toho
           International Inc. Bill.Com 01 5Uradfvxc4Q2L Inv 250113-18114848 Trn:
           0421296713Tc

02/12      Orig CO Name:Barr Credit          Orig ID:4860906481 Desc Date:250211 CO                                       133.34
           Entry Descr:Trustremitsec:CCD     Trace#:091000011296699 Eed:250212
           Ind ID:2025-02(1)              Ind Name:Diamond Comic Distribu
           Trust Main Remit Trn: 0421296699Tc

02/12      Orig CO Name:3Rd Universe Con           Orig ID:9200502235 Desc Date:250212                                     38.60
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000021296716
           Eed:250212    Ind ID:11160310803               Ind Name:Diamond Comic
           Distribu   502120 Trn: 0421296716Tc

02/13      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Electronics Boutique                                 98,112.04
           Canada Inc. CA Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-0000 00006410 Org=/000020247715 CA Ogb=C Anadian
           Imperial Bank of Commerce T Oronto On Canada M5E 1-G4 CA Obi=/U
           RI/Roc/5428236 Bbi=/Chgs/USD0,00/Oc MT/US Ssn: 00525181 Trn:
           0129790044Fc
           YOUR REF: 5428236

02/13      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Abacus Book And                                   4,869.20
           Card Corporation Mandaluyong City Philippines Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-            6410
           Org=/00165-02-000087-72 MA Ndaluyong City Philippines Ogb=Ster Ling
           Bank of Asia San Juan City, 15 50 Philipp Ssn: 00235916 Trn: 0058201044Fc
           YOUR REF: 0165RORIC0213005




                                                                                                          Page 13 of 36
                      Case 25-10308         Doc 436-7         Filed 05/09/25        Page 50 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/13      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: 1/Modern Graphics                                    3,500.51
           Buchhandel Berlin3/DE/10999 Berlin Ref: Nbnf=Diamond Comic Distributors,
           Inc. Hunt Valley MD 21030- US/Ac-              6410
           Org=/DE9710050000067002095 8 3/DE/10999 Berlin Ogb=Landesbank Berlin
           Ag 10178 Berlin, Germany Obi =/Uri/250109-09272324.... Ssn: 00057466 Trn:
           0012517044Fc
           YOUR REF: 250210093A000405

02/13      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                2,886.44
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD2896,44/ Trn:
           6909625044Fs
           YOUR REF: SWF OF 25/02/13

02/13      Real Time Transfer Recd From Aba/Contr Bnk-           0021   From:                                      1,843.41
           Bnf-Gamma Rays Comics Via Wise Ref: 1221645751-09001886 Info: Text-
           Iid: 20250213021000021P1Brjpc04400159239 Recd: 18:38:33 Trn:
           1573582044GA
           YOUR REF: 1221645751-09001886

02/13      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                     1,779.08
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Invoice 502050/Ocmt/USD1779,08/ Trn: 7124627043Fs
           YOUR REF: SWF OF 25/02/12

02/13      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                  1,730.21
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-0000 00006410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250117,,1
           Ssn: 00187666 Trn: 0046834044Fc
           YOUR REF: 250211101A000140

02/13      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                     419.64
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD429,64/ Trn:
           7286657044Fs
           YOUR REF: SWF OF 25/02/13

02/13      Lockbox No: 22023 For 28 Items At 16:00 5 Trn: 2501649044Lb                                           60,126.07

02/13      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250213                           315,335.76
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026442068 Eed:250213
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0446442068Tc

02/13      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250212 CO                                46,196.87
           Entry Descr:186002   Sec:CCD      Trace#:242071756442066 Eed:250213
           Ind ID:ACH-0212-77A6E             Ind Name:Diamond Comic Distribu Trn:
           0446442066Tc

02/13      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021225                             41,123.82
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071757039629
           Eed:250213    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0437039629Tc

02/13      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250213                           30,841.09
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000027039623 Eed:250213
           Ind ID:                  Ind Name:Diamond Comic Distribu        60001, 60395,
           60400, 65286, 12-12 T O 12-18 Invoices Trn: 0437039623Tc

02/13      Orig CO Name:Discount Comic B           Orig ID:9200502235 Desc Date:250213                           25,886.59
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000027039638
           Eed:250213    Ind ID:11161812477               Ind Name:Diamond Comic
           Distribu   Document 309544 Trn: 0437039638Tc




                                                                                                        Page 14 of 36
                     Case 25-10308           Doc 436-7        Filed 05/09/25            Page 51 of 110

                                                                               February 01, 2025 through February 28, 2025
                                                                               Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

02/13      Orig CO Name:Newbury Comics            Orig ID:1042744540 Desc Date:                                      10,734.50
           CO Entry Descr:Payments Sec:CCD         Trace#:051000017039626
           Eed:250213    Ind ID:30000                 Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0437039626Tc

02/13      Orig CO Name:Payoneer Inc           Orig ID:4169905     Desc Date:250212 CO                                 3,030.17
           Entry Descr:799303146 Sec:CCD       Trace#:061120081318739 Eed:250213
           Ind ID:366184867964677             Ind Name:Diamond Comic
           Fishpond.Com Inc 93420
           4366184867964677 Trn: 0441318739Tc

02/13      Orig CO Name:Warner Bros. Ent         Orig ID:9510379532 Desc Date:            CO                           2,777.55
           Entry Descr:1001236935Sec:CTX        Trace#:111000026442070 Eed:250213
           Ind ID:1001236935               Ind Name:0016Diamond Comic Di Trn:
           0446442070Tc

02/13      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:            CO                               1,482.79
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000027039631 Eed:250213             Ind
           ID:015Wgwccasc6En2              Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Wgwcca SC6En2 Acct 91655 - Inv 250130-0832 5710
           Trn: 0437039631Tc

02/13      Orig CO Name:Intuit 42820460         Orig ID:9215986202 Desc Date:021025                                    1,093.91
           CO Entry Descr:Bill_Pay Sec:CCD       Trace#:021000027039634 Eed:250213
           Ind ID:Heroes And Vill         Ind Name:JPMorgan Chase Bank, N Trn:
           0437039634Tc

02/13      Orig CO Name:Intuit 42940320         Orig ID:9215986202 Desc Date:021025                                         498.35
           CO Entry Descr:Bill_Pay Sec:CCD       Trace#:021000027039636 Eed:250213
           Ind ID:Heroes And Vill         Ind Name:JPMorgan Chase Bank, N Trn:
           0437039636Tc

02/14      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                   5,115.89
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Grrvl35Xk31B1/Uri/Smallville
           Comics/Chgs/USD25,00/Ocmt/USD5140 ,89/Acc/Benefres/US Trn:
           2062915045Js
           YOUR REF: SWF OF 25/02/14

02/14      Book Transfer Credit B/O: Alior Bank Sa Warsaw Poland 02-23-2 Pl                                            3,169.53
           Org:/Pl94249010570000990162140036 Pmd Solutions S C Pawel Maslowski+
           Ogb: Alior Bank Sa Ul. Lopuszanska 38D
           Ref:/Roc/250212Osw002289/Uri/Account No
           91369/Chgs/USD10,00/Ocmt/USD3179,5
           3/Acc/Orderres/Pl/Benefres/US/Bnf/U S641000555 Diamond Comic Distributo
           Rs Master + Trn: 2060863043Js
           YOUR REF: SWF OF 25/02/12

02/14      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantask A/S Dk-1453                                       2,972.74
           Kobenhavn K Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/Dk3730004180095012 Dk -1453
           Kobenhavn K Ogb=/006550253668 Dabadkkkxxx Obi=/Uri/Fantask A/S,
           Denmark, Acc 9008 6Invoice No.25012 7-09253060,2 Ssn: 00059992 Trn:
           0012400045Fc
           YOUR REF: 2025021200206654

02/14      Chips Credit Via: UBS Ag Stamford Branch/0799 B/O: Buchzentrum Ag (Bz)                                           508.62
           Ch 4614 Haegendorf Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-              6410 Org=/Ch170026126169219460R Ch 4614
           Haegendorf Ogb=UBS Switzer Land Ag Zurich Switzerland 8001 - C H
           Obi=/Uri/075959, 075591, 076000, 0756 Ssn: 00033902 Trn: 0004805045Fc
           YOUR REF: KZA01089597-564+




                                                                                                            Page 15 of 36
                     Case 25-10308          Doc 436-7         Filed 05/09/25       Page 52 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                             Amount
Date

02/14      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                         147.41
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Consumer
           Goods Dcd Acc92567 Big City Comics Invoice 25012408270934/Ocm
           T/USD147,41/ Trn: 8424734045Fs
           YOUR REF: SWF OF 25/02/14

02/14      Lockbox No: 22023 For 46 Items At 16:00 5 Trn: 2500225045Lb                                          83,709.60

02/14      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250213 CO                             137,949.68
           Entry Descr:186002    Sec:CCD     Trace#:242071754672940 Eed:250214
           Ind ID:ACH-0213-01E4C             Ind Name:Diamond Comic Distribu Trn:
           0444672940Tc

02/14      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250213                          44,061.18
           CO Entry Descr:Settlementsec:CCD        Trace#:091000014672942 Eed:250214
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25045 Trn: 0444672942Tc

02/14      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250214                            41,441.96
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029313520 Eed:250214
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0459313520Tc

02/14      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021325                            21,622.77
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754672944
           Eed:250214    Ind ID:V40931 - 000003            Ind Name:Diamond Comics
           Trn: 0444672944Tc

02/14      Orig CO Name:Crunchyroll, LLC          Orig ID:9309882002 Desc Date:250214                                  658.79
           CO Entry Descr:Payment      Sec:CCD      Trace#:021000024672938
           Eed:250214    Ind ID:304                   Ind Name:Diamond Comic Distribu
           Trn: 0444672938Tc

02/18      Fedwire Credit Via: U.S. Bank,N.A. 777 E,Wisc Ave Off/073000545 B/O:                                 25,393.20
           Casey Mattes Sweaterbear Games LLC North Liberty,IA,52317 US Ref:
           Chase Nyc/Ctr/Bnf=Diamond Comic Distributors, Inc. Hunt Valley MD 2103 0-
           US/Ac            6410 Rfb=Customer# 15977 Bbi=/Chgs/USD0,00/ Imad:
           0218I1Q73Agc005747 Trn: 1401531049Ff
           YOUR REF: CUSTOMER# 15977

02/18      Book Transfer Credit B/O: Banco Santander, Sa Boadilla Del Monte Spain                                 9,961.45
           28660 Es Org:/Es5500491883352310375041 Gigamesh Fantasia Y Ciencia
           Ficcion Ogb: Banco Santander, Sa Ciudad Grupo Santander Ref: Gigamesh
           Ene25 Acc. 90289-90347 Publ Merch./Chgs/USD0,/Chgs/USD46,00/O
           Cmt/USD10007,45/ Trn: 6081038049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Fedwire Credit Via: Mountain America Fcu/324079555 B/O: Gamelyn Games                                  9,477.07
           Ll Queen Creek AZ 85142 USA Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac           6410 Rfb=O/B Mtn
           A M CU Sl Obi=Prps:Shipping Otb:Gamel Yn Games Inv Oice #000164 Imad:
           0218Qmgft003000526 Trn: 0772021049Ff
           YOUR REF: O/B MTN AM CU SL

02/18      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                      6,851.98
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0047200049Jo
           YOUR REF: CAP OF 25/02/18

02/18      Book Transfer Credit B/O: Svenska Handelsbanken Ab Publ Stockholm                                      5,065.14
           Sweden S-106- 70 Se Org:/Se7760000000000290653932 Comics Heaven Ab
           Ogb: Svenska Handelsbanken Ab Publ Central Int L Div Ref: Payment Acc
           90811 Ref. Sam Stevens Inv Up To And Incl 250131-07201910 Comis
           Heaven Ab Stockholm, Sweden/C Hgs/USD0,/Chgs/USD11,00/Ocmt/USD507
           Trn: 8020337044Fs
           YOUR REF: SWF OF 25/02/13




                                                                                                       Page 16 of 36
                     Case 25-10308         Doc 436-7        Filed 05/09/25         Page 53 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                         Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                            Amount
Date

02/18      Chips Credit Via: Citibank N.A./0008 B/O: 1/Hartmut Moche 3/DE/42349                                  4,504.75
           Wuppertal Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-           6410 Org=/DE6633050000000072067 2 3/DE/42349
           Wuppertal Ogb=Stadtspa Rkasse Wuppertal Wuppertal Germany 42103- DE
           Obi=/Uri/Invoices 25/01/1 7 + 25/01/21.A Ssn: 00405252 Trn: 0101514049Fc
           YOUR REF: NOTPROVIDED

02/18      Chips Credit Via: Mufg Bank Ltd./0963 B/O: Tsutaya Books Malaysia Sdn.                                3,779.45
           Bhd. An Ismail 50250 Kl My Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/511-0000-759384 An Is Mail
           50250 Kl My Ogb=Mufg Bank (Mal Aysia) Berhad Kuala Lumpur Malaysia
           50450 My Obi=/Uri/Nov'24 Invoi Ssn: 00295527 Trn: 0070657049Fc
           YOUR REF: 644TTS50062300

02/18      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                               3,353.52
           -1Ah Gb Org:/Ch-2572154 Comics R US Pty Ltd T/A Comics R US Ogb:
           Convera Uk Limited Alphabeta Building Ref: Tradetrade Related Account
           90109/Ocmt/USD3353,52/ Trn: 6164723049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                             2,882.46
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000
           00006410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20250117 Bbi=/Chgs/USD0,0 0/Ocmt/USD2882,46/
           Ssn: 00395658 Trn: 0098780049Fc
           YOUR REF: NOTPROVIDED

02/18      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Abc Marketing Agency                                  2,870.04
           Limited Ong Kln,Hong Kong Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/026441402838 Ong Kln, Hong
           Kong Ogb=Hongkong And Shanghai Banking Corpo Hong Kong Hong Kong
           Hk Obi=/Uri/Account No. 93108, Sett Ssn: 00302437 Trn: 0072473049Fc
           YOUR REF: NOTPROVIDED

02/18      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                              2,767.36
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 24th - 29th January 2025.
           Accounts 90124, 9 2124 And 90124A./Chgs/Aud0,/Chgs/US
           D10,00/Ocmt/USD2777,36/ Trn: 7203643049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                     2,455.45
           94085-3542 US Org:/2121120044800812 Joseph Italiano And Peter M
           Hughes Trn: 2968000049Jo
           YOUR REF: CAP OF 25/02/18

02/18      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Armin Stroemmer                                        1,928.84
           3/DE/Hamburg 20146 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/DE7020010020096653120 8
           3/DE/Hamburg 20146 Ogb=Deutsche B Ank Ag Frankfurt Germany 60325-
           DE Obi=/Uri/Invoice 250215-07560956 Ac Coun T 9022 Ssn: 00545365 Trn:
           0132201049Fc
           YOUR REF: CEQCAO70073R7OSK

02/18      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                1,632.66
           04862-4 Sg Org:/1473019634 Absolute Comics Pte Ltd Ref: 9 And 17 Jan
           Invoices/Fullpay/ Trn: 5672578049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Book Transfer Credit B/O: Pt Bank Mandiri (Persero) Tbk Jakarta Indonesia                             1,366.85
           12190- ID Org:/1030006583088 Pt Kinokunia Bukindo Ogb: Pt Bank Mandiri
           (Persero) Tbk Plz Mandiri Ref:/Inv/Inv 771139 772337
           810711/Inv/2012/771139(512.18)772337 (40.48)810
           711(171.85)810713(322.06)810774(107
           .92)810947(26.98)+/Chgs/USD0,/Chgs/USD17,00/Ocmt/U Trn:
           7134258049Fs
           YOUR REF: SWF OF 25/02/18


                                                                                                      Page 17 of 36
                     Case 25-10308          Doc 436-7         Filed 05/09/25        Page 54 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/18      Real Time Transfer Recd From Aba/Contr Bnk-          0021   From:                                       1,251.96
           Bnf-Gamma Rays Comics Via Wise Ref: 1227216838-08385833 Info: Text-
           Iid: 20250218021000021P1Brjpc01200166962 Recd: 19:50:33 Trn:
           1148372049Gb
           YOUR REF: 1227216838-08385833

02/18      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                   1,105.81
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 24-1 436,62 3-2 328,41 7-2
           360,78/Chgs/USD20,00/Ocmt/USD1125,81/ Trn: 2047147044Js
           YOUR REF: SWF OF 25/02/13

02/18      Book Transfer Credit B/O: Bank of Ningbo CO Ltd Ningbo City China 31510-0                                    996.25
           Cn Org:/77042025000007388 China International Book Trading Ogb: Bank of
           Ningbo Beijing China Cn Ref: Goods
           Pymt/Chgs/USD18,00/Ocmt/USD1014,25/ Trn: 6469828049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Kirsty Leeann                                        977.08
           Litkowski Vic Australia 3808 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/167234384 Vic Austral IA
           3808 Ogb=/008873 Notprovided Obi =/Uri/92579 Secrethq Bbi=/Ocmt/USD1
           002,08/Rec/Less Fees Ssn: 00001302 Trn: 0000458049Fc
           YOUR REF: EB802615 -01

02/18      Book Transfer Credit B/O: Taipei Fubon Commercial Bank CO Ltdtaipei 106                                      922.67
           Taiwan Tw Org:/00721180021468 Perlashop International CO Ltd Ref:
           A/C:No.93435 Invoice No:806146,170090/Chgs/USD22,00/ Trn:
           0619995049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Real Time Transfer Recd From Aba/Contr Bnk-021000021        From:                                            729.90
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1225032741-92526 Info: Text-
           Iid: 20250217021000021P1Brjpc09360010539 Recd: 03:56:29 Trn:
           0205762048Gb
           YOUR REF: 1225032741-92526

02/18      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                             462.22
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250127-09253060 Trn: 2603400048Jo
           YOUR REF: 657115

02/18      Book Transfer Credit B/O: Icici Bnk Ltd Hong Kong USD Kowloon Hong Kong                                      167.00
           Hk Org:/696705500357 Smartivity Labs Private Limited Ogb: Icici Bank
           Limited Empire House Ref: Twrds Other Services Trn: 2511455049Fs
           YOUR REF: SWF OF 25/02/18

02/18      Lockbox No: 22023 For 112 Items At 16:00 5 Trn: 2501853049Lb                                        180,062.69

02/18      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250214 CO                                74,886.99
           Entry Descr:186002    Sec:CCD     Trace#:242071752759028 Eed:250218
           Ind ID:ACH-0214-6141B             Ind Name:Diamond Comic Distribu Trn:
           0452759028Tc

02/18      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021425                             36,204.77
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071752759030
           Eed:250218    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0452759030Tc

02/18      Orig CO Name:Vintage Stock            Orig ID:1431571679 Desc Date:250214                             13,821.27
           CO Entry Descr:Paymentjnlsec:CCD         Trace#:101006692759026 Eed:250218
           Ind ID:V000088                Ind Name:Diamond Comic Dist., Trn:
           0452759026Tc

02/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250218                               9,800.93
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022178020 Eed:250218
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0492178020Tc




                                                                                                        Page 18 of 36
                      Case 25-10308         Doc 436-7         Filed 05/09/25          Page 55 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                           Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/18      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250214                              2,853.96
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012178018 Eed:250218
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25046 Trn: 0492178018Tc

02/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250218                               1,381.16
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022178024 Eed:250218
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0492178024Tc

02/18      Orig CO Name:Square Inc           Orig ID:O800429876 Desc Date:250218                                   1,245.52
           CO Entry Descr:Zonecomicssec:CCD         Trace#:091000012178016
           Eed:250218    Ind ID:T3Fzczhqr90Zgsb            Ind Name:Diamond Comic
           Distribu                                                        T2149424
           Trn: 0492178016Tc

02/18      Orig CO Name:Carolina Comics          Orig ID:444887153   Desc Date:SD1300                                   767.15
           CO Entry Descr:Diamond 32Sec:PPD         Trace#:103107396232442
           Eed:250218    Ind ID:                   Ind Name:Diamond Trn:
           0496232442Tc

02/18      Orig CO Name:Amazon.CA5233353            Orig ID:1912089241 Desc Date:                                       648.02
           CO Entry Descr:EDI Pymntssec:CCD         Trace#:091000012759032
           Eed:250218    Ind ID:Fcs002692139822            Ind Name:Diamond Comic
           Distribu                                                        EDI Trn:
           0452759032Tc

02/18      Orig CO Name:Target Plus Part         Orig ID:1800948598 Desc Date:        CO                                 79.67
           Entry Descr:Target Plusec:CCD     Trace#:091000012178022 Eed:250218
           Ind ID:St-O6B3K7U5G2I4            Ind Name:Diamond Comic Distribu Trn:
           0492178022Tc

02/19      Chips Credit Via: Citibank N.A./0008 B/O: Minotaur (Entertainment) Pty Ltd                              5,060.44
           Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-0000 00006410 Org=/083125629889767768490 462 Australia
           Ogb=National Australi A Bank Limited Melbourne Australia Au
           Obi=/Uri/Minotaur Entertainment 90115 B Ssn: 00373474 Trn: 0093586050Fc
           YOUR REF: NOTPROVIDED

02/19      Chips Credit Via: Sumitomo Mitsui Banking Corporation/0967 B/O: Ampus,Inc.                              3,863.36
           0089-07341266 4-5-7 Pan Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/0089-07341266 Pan Ogb
           =Sumitomo Mitsui Banking Corporatio N Chiyoda-Ku Tokyo Japan 51500-0 Jp
           Obi=/Uri/Account No.65734 Pur Ssn: 00078498 Trn: 0019044050Fc
           YOUR REF: 150250219MT01356

02/19      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                     2,735.97
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250131-Outland-90121/Ocmt/USD2735,97/ Trn: 2075428050Js
           YOUR REF: SWF OF 25/02/19

02/19      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                 2,421.67
           -1Ah Gb Org:/32074-Av Sports Cards Australia Pty Ltd Ogb: Convera Uk
           Limited Alphabeta Building Ref:/Ocmt/USD2421,67/Acc/Acc Benes Acct At
           Your 4 New York Plaza New York NY Office Trn: 5059857050Fs
           YOUR REF: SWF OF 25/02/19

02/19      Book Transfer Credit B/O: Mbank Sa Warsaw Poland 00-85-0 Pl                                             2,342.29
           Org:/Pl14114020040000341202625606 Multiversum Rafal Palacz Ogb:
           Mbank S.A. (Formerly Bre Bank S.A.)Skrytka Pocztowa 2108 Ref: 90994 Attn
           Garry Levan/Ocmt/USD2342,29/ Trn: 6460603049Fs
           YOUR REF: SWF OF 25/02/18

02/19      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                       1,996.41
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5048N6P53Adx00/Uri/Account: 91278/Ocmt/USD1996,41/ Trn:
           2031856049Js
           YOUR REF: SWF OF 25/02/18


                                                                                                        Page 19 of 36
                     Case 25-10308            Doc 436-7       Filed 05/09/25         Page 56 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/19      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                   1,873.97
           Main Germany 60311- DE Org:/DE89760400610570022400 1/Ultra Comix
           Gmbh Ogb: Commerzbank Ag Ness 7-9 Ref: Mg0990 01/15/25 01/21/25
           01/27/25 01/31/25 02/07/25/Chgs/USD25,00/ Trn: 2015802048Js
           YOUR REF: SWF OF 25/02/17

02/19      Real Time Payment Credit Recd From Aba/Contr Bnk-321171184        From:                                 1,005.96
           Bnf-Arnaud Lapeyre Ref: 65172226497 Info: Text-Rmtinf-Saint Germain LLC
           97384 Iid: 20250219021000089P1Bxop110464726201 Recd: 05:46:48 Trn:
           1815992049GA
           YOUR REF: 65172226497

02/19      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                        975.00
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2001795048Js
           YOUR REF: SWF OF 25/02/17

02/19      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                            921.44
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5045M62Qcl5600/Uri/Account: 91278/Ocmt/USD921,44/ Trn:
           2067667045Js
           YOUR REF: SWF OF 25/02/14

02/19      Book Transfer Credit B/O: Raiffeisenlandesbank Vienna 1020 Austria At                                        893.82
           Org:/At063200000012845103 Martha Hutterer Ogb: Raiffeisenlandesbank
           Niederoesterreich Ref: 01/09/25 + 01/27/25/Ocmt/USD893,82/ Trn:
           2005069048Js
           YOUR REF: SWF OF 25/02/17

02/19      Lockbox No: 22023 For 25 Items At 16:00 5 Trn: 2502467050Lb                                           15,059.68

02/19      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250218 CO                            253,657.05
           Entry Descr:186002      Sec:CCD    Trace#:242071750698129 Eed:250219
           Ind ID:ACH-0218-Dbe6C              Ind Name:Diamond Comic Distribu Trn:
           0500698129Tc

02/19      Orig CO Name:Bigbadtoystore I         Orig ID:9860975329 Desc Date:       CO                        189,316.37
           Entry Descr:ACH Paymensec:CCD          Trace#:091400175131554 Eed:250219
           Ind ID:6521283                Ind Name:Diamond Comics Distrib      621743
           662635 Trn: 0495131554Tc

02/19      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021825                             96,729.84
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755131557
           Eed:250219    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0495131557Tc

02/19      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021725                             41,264.64
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755131559
           Eed:250219    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0495131559Tc

02/19      Orig CO Name:Dux Somnium, LLC            Orig ID:Bizedp   Desc Date:021825                            21,519.10
           CO Entry Descr:Deposit      Sec:CCD    Trace#:091000015131551 Eed:250219
           Ind ID:Dpaaacrztj             Ind Name:Diamond Comic Distribu      Diamond
           Dux Somnium 000152                                         Wfb Directpay Trn:
           0495131551Tc

02/19      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250219                               4,451.03
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020698131 Eed:250219
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0500698131Tc

02/19      Orig CO Name:Currency Cloud            Orig ID:0810070098 Desc Date:250219                              4,311.89
           CO Entry Descr:92406 1 R Sec:CCD         Trace#:026073155120437
           Eed:250219    Ind ID:                    Ind Name:Diamond Comic Distribu
           250219-B5S5C0894 Trn: 0505120437Tc




                                                                                                        Page 20 of 36
                      Case 25-10308         Doc 436-7          Filed 05/09/25              Page 57 of 110

                                                                                February 01, 2025 through February 28, 2025
                                                                                Account Number:                      0555




Deposits and Credits      (continued)

Ledger     Description                                                                                                   Amount
Date

02/19      Orig CO Name:Alliance Enterta        Orig ID:5550917836 Desc Date:            CO                             2,790.83
           Entry Descr:Corp Pmt Sec:CCD        Trace#:051000015131546 Eed:250219
           Ind ID:14043081Jbd              Ind Name:Diamond Comic Distribu Trn:
           0495131546Tc

02/19      Orig CO Name:Payoneer Inc            Orig ID:4169905    Desc Date:250218 CO                                  1,576.14
           Entry Descr:801710815 Sec:CCD        Trace#:061120085120439 Eed:250219
           Ind ID:366184875171199              Ind Name:Diamond Comic
           Fishpond.Com Inc 93420
           4366184875171199 Trn: 0505120439Tc

02/19      Orig CO Name:M Comics LLC              Orig ID:1661042025 Desc Date:250219                                   1,106.05
           CO Entry Descr:Invoice   Sec:CCD       Trace#:221571475131548 Eed:250219
           Ind ID:Diamond Comics            Ind Name:Jp Morgan Chase Bank
           Invoice Payment                                                8892001107 Trn:
           0495131548Tc

02/19      Orig CO Name:Continental Exc         Orig ID:AXXXXXXXX Desc Date:250219                                          579.33
           CO Entry Descr:P2P       Sec:Web      Trace#:081000035131544 Eed:250219
           Ind ID:92154                 Ind Name:Diamond Comic Distribu Trn:
           0495131544Tc

02/19      Orig CO Name:Amazon.CA5242612            Orig ID:1912089241 Desc Date:                                             68.97
           CO Entry Descr:EDI Pymntssec:CCD         Trace#:091000015131561
           Eed:250219     Ind ID:Fcs002698402732             Ind Name:Diamond Comic
           Distribu                                                             EDI Trn:
           0495131561Tc

02/19      Orig CO Name:3Rd Universe Con          Orig ID:9200502235 Desc Date:250219                                         36.24
           CO Entry Descr:ACH Pmt       Sec:CCD    Trace#:021000025131563
           Eed:250219     Ind ID:11161372086             Ind Name:Diamond Comic
           Distribu   502190 Trn: 0495131563Tc

02/20      Chips Credit Via: Deutsche Bank Trust Company America/0103 B/O: Diamond                                    77,468.34
           Comic Distributors Inc. Hunt Valley,MD,21030 US Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-               6410
           Org=/07521995025 Hunt Vall Ey,MD,21030 US Ogb=Bank of Montreal
           Montreal H2Y1L6 Canada CA Bbi=/Chg S/USD0,00 Ssn: 00572293 Trn:
           0143026051Fc
           YOUR REF: WW25022066735758

02/20      Chips Credit Via: Citibank N.A./0008 B/O: 1/Fantastico Comic S DE Rl DE Cv                                   8,810.32
           3/Mx/Benito Juarez Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-              6410 Org=/00002180700801086467
           3/Mx/Benito Juarez Ogb=Banco Nacion AL DE Mexico S.A. Mexico Mexico
           Mx Bbi=/Acc/                     0555 1/Dia   Ssn: 00506251 Trn:
           0126194051Fc
           YOUR REF: NOTPROVIDED

02/20      Real Time Transfer Recd From Aba/Contr Bnk-            0021   From:                                          8,405.60
           Bnf-Principia Discordia Di Piermaria MA Ref: 1228778671-90682 Info: Text-
           Iid: 20250220021000021P1Brjpc01200012946 Recd: 04:57:54 Trn:
           2277612050GA
           YOUR REF: 1228778671-90682

02/20      Chips Credit Via: Bank of America, N.A./0959 B/O: Visual Media Services Ltd                                  6,247.97
           Te Aro Wellington 6011, Nz Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-              6410 Org=/06-0582-0019966-000 T E Aro
           Wellington 6011, Nz Ogb=/0062 90494555 Anzbnz22Xxx Obi=/Uri/Trade
           Payment/Purchase of Good Ssn: 00028467 Trn: 0003942051Fc
           YOUR REF: 2025022000043744

02/20      Book Transfer Credit B/O: Finansbank A S Istanbul Turkiye 34394- Tr                                          3,225.00
           Org:/Tr800011100000000069090519 Gungezgini Yayincilik Ve Ticaret Ogb:
           Qnb Bank Anonim Sirketi Kristal Kule Binasi Ref: Inv. Date And No
           20/02/2025,250220 Trn: 3544488051Fs
           YOUR REF: SWF OF 25/02/20




                                                                                                             Page 21 of 36
                      Case 25-10308         Doc 436-7           Filed 05/09/25        Page 58 of 110

                                                                             February 01, 2025 through February 28, 2025
                                                                             Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

02/20      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/T 3 Terminal                                    2,971.46
           Entertainment Gmbh -3/DE/70197 Stuttgart Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-            6410
           Org=/DE4951050015014015488 1 3/DE/70197 Stuttgart Ogb=Nassauis Che
           Sparkasse 65185 Wiesbaden Germa NY Obi=/Uri/Mg33 Ssn: 00108307 Trn:
           0026433051Fc
           YOUR REF: NOTPROVIDED

02/20      Book Transfer Credit B/O: The National Bank of Ras AL-Khaimahras AL                                       1,982.69
           Khaimah U.A.E. 5300 - Ae Org:/Ae970400000332144804001 Pan World Gen
           Tr LLC Ref:/Goods Bought/February March Dues/Ocmt/USD1982,69/Acc/Ffc
           New York/New York Trn: 3931618051Fs
           YOUR REF: SWF OF 25/02/20

02/20      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                         802.19
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-               6410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250124,,1
           Ssn: 00107889 Trn: 0026289051Fc
           YOUR REF: 250218101A000272

02/20      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                            715.35
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Invoice 502190/Ocmt/USD715,35/ Trn: 2327378050Fs
           YOUR REF: SWF OF 25/02/19

02/20      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                            209.98
           Australia 2000 - Au Org:/06700010871181 Schwartz Family Holdings Pty Ltd
           Ref: 91493/Ocmt/USD209,98/ Trn: 5065478051Fs
           YOUR REF: SWF OF 25/02/20

02/20      Lockbox No: 22023 For 40 Items At 16:00 5 Trn: 2502951051Lb                                             51,504.88

02/20      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250220                             285,236.84
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000025656743 Eed:250220
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0515656743Tc

02/20      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250219 CO                                  42,421.45
           Entry Descr:186002    Sec:CCD     Trace#:242071754743090 Eed:250220
           Ind ID:ACH-0219-E1876             Ind Name:Diamond Comic Distribu Trn:
           0504743090Tc

02/20      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:021925                               27,060.92
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754743100
           Eed:250220    Ind ID:V40931 - 000001              Ind Name:Diamond Comic
           Dist.Sta Trn: 0504743100Tc

02/20      Orig CO Name:Cryptozoic Enter         Orig ID:2822557284 Desc Date:250220                               17,686.80
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311227353209
           Eed:250220    Ind ID:Mrcr-Dt70U5Aguh              Ind Name:Diamond Comic
           Distribu   000095
           Mercuryach Trn: 0517353209Tc

02/20      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                   15,153.55
           CO Entry Descr:Payments Sec:CCD          Trace#:051000014743087
           Eed:250220    Ind ID:30000                  Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0504743087Tc

02/20      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250220                             13,358.54
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000024743084 Eed:250220
           Ind ID:                  Ind Name:Diamond Comic Distribu       60001, 60395,
           60400, 65286 - 12-19 To 12-24 Invoices Trn: 0504743084Tc




                                                                                                          Page 22 of 36
                     Case 25-10308           Doc 436-7        Filed 05/09/25            Page 59 of 110

                                                                               February 01, 2025 through February 28, 2025
                                                                               Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

02/20      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:            CO                               2,051.01
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000024743097 Eed:250220             Ind
           ID:015Msnoaiscga5Q             Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Msnoai Scga5Q Acct 91655 - Inv 250206-0833 2393
           Trn: 0504743097Tc

02/20      Orig CO Name:Shift Connect Lt       Orig ID:1702637248 Desc Date:250219                                     1,272.34
           CO Entry Descr:Payment      Sec:CCD     Trace#:242071754743092
           Eed:250220    Ind ID:                   Ind Name:Diamond Comic Distribu
           Trn: 0504743092Tc

02/20      Orig CO Name:Heroes And Villa         Orig ID:9215986202 Desc Date:021425                                        986.49
           CO Entry Descr:Bill_Pay Sec:CCD       Trace#:021000024743102 Eed:250220
           Ind ID:Heroes And Vill         Ind Name:JPMorgan Chase Bank, N Trn:
           0504743102Tc

02/20      Orig CO Name:Amrahlynn's Coll         Orig ID:Bizedp    Desc Date:021925 CO                                      100.00
           Entry Descr:Deposit     Sec:CCD   Trace#:091000014743094 Eed:250220             Ind
           ID:Dpaaacs34Z               Ind Name:Diamond Comic Distribu           Amrahlynns
           Collectibles #85518                                    Wfb Directpay Trn:
           0504743094Tc

02/21      Foreign Remittance Credit B/O: Fx USD Outgoingfedchipsdda Newark DE                                       70,447.34
           19713- US Org:/3171008026179 Diamond Comic Distributors Inc Ogb: Fx
           USD Incomingfedchipsdda JPMorgan Chase Bank NA
           Ref:/Ocmt/USD70447,34/Product/Fx Trn: 7803689052Fx
           YOUR REF: SWF OF 25/02/21

02/21      Book Transfer Credit B/O: Alior Bank Sa Warsaw Poland 02-23-2 Pl                                            5,694.63
           Org:/Pl94249010570000990162140036 Pmd Solutions S C Pawel Maslowski+
           Ogb: Alior Bank Sa Ul. Lopuszanska 38D
           Ref:/Roc/250219Osw004310/Uri/Account No
           91369/Chgs/USD10,00/Ocmt/USD5704,6
           3/Acc/Orderres/Pl/Benefres/US/Bnf/U S641000555 Diamond Comic Distributo
           Rs Master + Trn: 2095211050Js
           YOUR REF: SWF OF 25/02/19

02/21      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                      4,713.30
           04862-4 Sg Org:/3723109351 Comics World Ref: Payment For Invoice
           250127-09253060And 250207-13254189/Fullpay/ Trn: 5499168052Fs
           YOUR REF: SWF OF 25/02/21

02/21      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                   3,796.59
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Grv3D65Xcwgj1/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD3816 ,59/Acc/Benefres/US Trn:
           2032364052Js
           YOUR REF: SWF OF 25/02/21

02/21      Real Time Transfer Recd From Aba/Contr Bnk-            0021   From:                                         1,663.69
           Bnf-Gamma Rays Comics Via Wise Ref: 1230809902-07560956 Info: Text-
           Iid: 20250221021000021P1Brjpc00640188315 Recd: 18:23:59 Trn:
           1907692052Ge
           YOUR REF: 1230809902-07560956

02/21      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                      1,487.74
           04862-4 Sg Org:/3873008944 G And B Comic Online Supermart Ref:
           Payment For G And B Comic Online Supermarket For A/C 92029/Fullpay/ Trn:
           6930389052Fs
           YOUR REF: SWF OF 25/02/21

02/21      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                              462.10
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Consumer
           Goods Dcd Acc92567 Big City Comics Invoice 25020708385833/Ocm
           T/USD462,1/ Trn: 6250598052Fs
           YOUR REF: SWF OF 25/02/21




                                                                                                            Page 23 of 36
                      Case 25-10308          Doc 436-7        Filed 05/09/25       Page 60 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                             Amount
Date

02/21      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                         336.85
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Supplier Invoice
           Dcd Acc92567 Big City Comics Invoice 25021507560956/O Cmt/USD336,85/
           Trn: 6354208052Fs
           YOUR REF: SWF OF 25/02/21

02/21      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                         247.11
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Consumer
           Goods Dcd Acc92567 Big City Comics Invoice 25013107201910/Ocm
           T/USD247,11/ Trn: 6250468052Fs
           YOUR REF: SWF OF 25/02/21

02/21      Lockbox No: 22023 For 43 Items At 16:00 5 Trn: 2502096052Lb                                          87,866.13

02/21      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250220 CO                            116,137.57
           Entry Descr:186002     Sec:CCD    Trace#:242071750851883 Eed:250221
           Ind ID:ACH-0220-7D0Af             Ind Name:Diamond Comic Distribu Trn:
           0510851883Tc

02/21      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250220                          68,071.03
           CO Entry Descr:Settlementsec:CCD        Trace#:091000014485308 Eed:250221
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25052 Trn: 0524485308Tc

02/21      Orig CO Name:Gamestop Texas,            Orig ID:1255811000 Desc Date:250221                          63,453.00
           CO Entry Descr:Payments Sec:CCD          Trace#:021000020851889
           Eed:250221    Ind ID:2000193105               Ind Name:Diamond Comic
           Distribu   Nte*Zzz*Rmrei0020002114\ Trn: 0510851889Tc

02/21      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250221                            63,325.07
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024485310 Eed:250221
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0524485310Tc

02/21      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022025                            28,179.11
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071750851887
           Eed:250221    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0510851887Tc

02/21      Orig CO Name:Yen Press, LLC            Orig ID:9200502235 Desc Date:250221                             5,100.00
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000020851900
           Eed:250221    Ind ID:11162581867               Ind Name:Diamond Comic
           Distribu   21288 21274 21327 21312 Dec 2024 An D Jan 2025 Trn:
           0510851900Tc

02/21      Orig CO Name:Discount Comic B           Orig ID:9200502235 Desc Date:250221                            4,839.61
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000020851897
           Eed:250221    Ind ID:11162660007               Ind Name:Diamond Comic
           Distribu   Document 381491 Trn: 0510851897Tc

02/21      Orig CO Name:M Comics LLC              Orig ID:1661042025 Desc Date:250221                             2,169.37
           CO Entry Descr:Invoice   Sec:CCD       Trace#:221571470851878 Eed:250221
           Ind ID:Diamond Comics             Ind Name:Jp Morgan Chase Bank
           Invoice Payment                                             8892001107 Trn:
           0510851878Tc

02/21      Orig CO Name:Toho Internation         Orig ID:1204895317 Desc Date:      CO                            1,571.96
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000020851894 Eed:250221       Ind
           ID:015Ucjrgczcjcnt           Ind Name:Diamond Comic Distribu    Toho
           International Inc. Bill.Com 01 5Ucjrgczcjcnt Inv 250123-11500815 Trn:
           0510851894Tc

02/21      Orig CO Name:Intercomic 36 Ag          Orig ID:3133440076 Desc Date:     CO                            1,256.32
           Entry Descr:Payment    Sec:CCD     Trace#:091000014485296 Eed:250221
           Ind ID:Zntr3101470/1            Ind Name:Diamond Comic Distribu
           Mg1337\ Trn: 0524485296Tc




                                                                                                       Page 24 of 36
                      Case 25-10308          Doc 436-7       Filed 05/09/25          Page 61 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Deposits and Credits       (continued)

Ledger     Description                                                                                             Amount
Date

02/21      Orig CO Name:Ign Entertainmen        Orig ID:2943316902 Desc Date:        CO                                514.36
           Entry Descr:57_2079160Sec:CCD        Trace#:111000020851892 Eed:250221
           Ind ID:137354                 Ind Name:Diamond Comic Distribu Trn:
           0510851892Tc

02/21      Orig CO Name:Amazon.CA5247805           Orig ID:1912089241 Desc Date:                                       225.60
           CO Entry Descr:EDI Pymntssec:CCD       Trace#:091000010851881
           Eed:250221    Ind ID:Fcs002715475542            Ind Name:Diamond Comic
           Distribu                                                       EDI Trn:
           0510851881Tc

02/21      Orig CO Name:Google               Orig ID:C770493581 Desc Date:       CO                                    197.91
           Entry Descr:Adsense:99Sec:CCD       Trace#:091000012474349 Eed:250221
           Ind ID:US00450M29                Ind Name:Diamond Comic Distribu
           014133483 Credit Trn: 0522474349Tc

02/21      Orig CO Name:Amazon.CA5247203           Orig ID:1912089241 Desc Date:                                        29.00
           CO Entry Descr:EDI Pymntssec:CCD       Trace#:091000010851885
           Eed:250221    Ind ID:Fcs002705636712            Ind Name:Diamond Comic
           Distribu                                                       EDI Trn:
           0510851885Tc

02/24      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantasiapelit Tudeer Oy Fi                         10,254.23
           9845005Db590F3B0C865 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/Fi5957880020077480 Fi
           9845005Db590F3B0C865 Ogb=Op Corpor Ate Bank Plc Helsinki Finland Fi
           Ob I=/Uri/Customer 90146 Fantasiap Ssn: 00426254 Trn: 0110143055Fc
           YOUR REF: 2025022400274493

02/24      Fedwire Credit Via: U.S. Bank N.A./125000105 B/O: Fishpond.Com, Inc.                                   3,345.99
           Operating Seattle,WA,98121 US Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac-000000006410 Rfb=Fishpond
           Bbi=/Chgs/USD0,00/ Imad: 0224J1Q5040C000939 Trn: 0413531055Ff
           YOUR REF: FISHPOND

02/24      Book Transfer Credit B/O: Cairo Amman Bank Plc Amman Jordan 11195- Jo                                  2,016.67
           Org:/Jo19Caab1100000000090002419032 Universal Books And Creative
           Ogb: Cairo Amman Bank Plc Wadi Saqra Street P O Box 950661 Ref: 0101
           Invoice Payment And Purchase Acc 93419 Trn: 3420158051Fs
           YOUR REF: SWF OF 25/02/20

02/24      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From:                                            726.95
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1232699780-92526 Info: Text-
           Iid: 20250224021000021P1Brjpc07920033763 Recd: 03:58:58 Trn:
           0145452055Ge
           YOUR REF: 1232699780-92526

02/24      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Armin Stroemmer                                              654.27
           3/DE/Hamburg 20146 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/DE7020010020096653120 8
           3/DE/Hamburg 20146 Ogb=Deutsche B Ank Ag Frankfurt Germany 60325-
           DE Obi=/Uri/Invoice 250222-10152333 Ac Coun T 9022 Ssn: 00284643 Trn:
           0080134055Fc
           YOUR REF: CENP5J10140ZDFHK

02/24      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                            542.55
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250203-09001886 Trn: 0702400055Jo
           YOUR REF: 657867

02/24      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                            250.40
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250207-08385833 Trn: 0702300055Jo
           YOUR REF: 657866




                                                                                                       Page 25 of 36
                      Case 25-10308           Doc 436-7       Filed 05/09/25           Page 62 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                            Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

02/24      Book Transfer Credit B/O: Ceskoslovenska Obchodni Banka A S 150 57                                              9.00
           Prague 5 Czech Republic Cz Org:/Cz6203000000000275892677
           1/Megabooks Cz, Spol. S R.O. Ogb: Ceskoslovenska Obchodni Banka A S
           Radlicka 333/150 Ref:/Roc/95467, 276994/Uri/276994/Ocmt/USD9,/ Trn:
           2075072052Js
           YOUR REF: SWF OF 25/02/21

02/24      Lockbox No: 22023 For 65 Items At 16:00 5 Trn: 2503641055Lb                                            56,233.68

02/24      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250221 CO                             183,388.38
           Entry Descr:186002      Sec:CCD     Trace#:242071753015997 Eed:250224
           Ind ID:ACH-0221-Cbb51               Ind Name:Diamond Comic Distribu Trn:
           0523015997Tc

02/24      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022125                              49,024.57
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071753016001
           Eed:250224    Ind ID:V40931 - 000003            Ind Name:Diamond Comics
           Trn: 0523016001Tc

02/24      Orig CO Name:Vintage Stock            Orig ID:1431571679 Desc Date:250221                              18,356.23
           CO Entry Descr:Paymentjnlsec:CCD         Trace#:101006693015999 Eed:250224
           Ind ID:V000088                 Ind Name:Diamond Comic Dist., Trn:
           0523015999Tc

02/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250224                                4,573.61
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020845842 Eed:250224
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0550845842Tc

02/24      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250221                              2,650.33
           CO Entry Descr:Settlementsec:CCD        Trace#:091000010845836 Eed:250224
           Ind ID:1199200593                 Ind Name:Diamond Comi1199200593
           Payment Date 25053 Trn: 0550845836Tc

02/24      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Feb 24                              1,979.59
           CO Entry Descr:Diamond 32Sec:PPD          Trace#:103107394508462
           Eed:250224    Ind ID:                    Ind Name:Diamond Trn:
           0554508462Tc

02/24      Orig CO Name:The Comic Shop             Orig ID:396779-A   Desc Date:       CO                           1,839.74
           Entry Descr:Vendor      Sec:CTX    Trace#:325272020845830 Eed:250224         Ind
           ID:2023-001                 Ind Name:0000Diamond Comic Trn: 0550845830Tc

02/24      Orig CO Name:Square Inc             Orig ID:O800429876 Desc Date:250222                                  1,240.52
           CO Entry Descr:Zonecomicssec:CCD         Trace#:091000010845838
           Eed:250224    Ind ID:T3Dy9Xgps4T5Zvf             Ind Name:Diamond Comic
           Distribu                                                         T2149994
           Trn: 0550845838Tc

02/24      Orig CO Name:Amazon.CA5250308             Orig ID:1912089241 Desc Date:                                  1,096.03
           CO Entry Descr:EDI Pymntssec:CCD         Trace#:091000010845832
           Eed:250224    Ind ID:Fcs002719268172             Ind Name:Diamond Comic
           Distribu                                                         EDI Trn:
           0550845832Tc

02/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250224                                     311.93
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020845834 Eed:250224
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0550845834Tc

02/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250224                                     143.94
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020845840 Eed:250224
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0550845840Tc




                                                                                                         Page 26 of 36
                     Case 25-10308           Doc 436-7        Filed 05/09/25            Page 63 of 110

                                                                               February 01, 2025 through February 28, 2025
                                                                               Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

02/25      Fedwire Credit Via: Bank of America, N.A./026009593 B/O: 1/Enno Fred                                        9,630.41
           Haede 3/DE/49090 Osnabruck Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac-000000006410
           Rfb=Azna50520 5601300 Obi=/Uri/Invoice 27+30Dec,9 +17+24+27+28 Jan
           Bbi=/Chgs/USD25,00/ Imad: 0225B6B7Hu4R002076 Trn: 0038701056Ff
           YOUR REF: AZNA505205601300

02/25      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                           6,636.07
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0500600056Jo
           YOUR REF: CAP OF 25/02/25

02/25      Chips Credit Via: Mufg Bank Ltd./0963 B/O: 1/Kinokuniya Book Stores of                                      4,807.45
           Singapo3/Sg/Henderson Industrial Pk 159549 Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000 00006410
           Org=/3655Sgdcua046516 3/Sg/Henderson Industrial Pk 159549 Ogb =Mufg
           Bank, Ltd. Singapore Singapor E 018936 Sg Obi Ssn: 00138508 Trn:
           0033858056Fc
           YOUR REF: 3655RMS1036839

02/25      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Sendpoints Distribution                                     4,699.96
           CO., Limite, Kowloon,Hong Kong ID:2639590 Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000 00006410
           Org=/817381890838 , Kowloo N,Hong Kong ID:2639590 Ogb=Hongkong And
           Shanghai Banking Corpo Hong Ko Ng Hong Kong Hk Ssn: 00061021 Trn:
           0013205056Fc
           YOUR REF: NOTPROVIDED

02/25      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                           3,611.68
           94085-3542 US Org:/2121120029312200 Trading Cards Australia Pty. Ltd. 1
           Ref: Invoice 14/2/2025 15/2/2025 21/2/2025 22/2/2025 Trn: 8891400055Jo
           YOUR REF: CAP OF 25/02/24

02/25      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                                   3,212.28
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000
           00006410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20250122 + 202501 27
           Bbi=/Chgs/USD0,00/Ocmt/USD3212,28/ Ssn: 00176927 Trn: 0044014056Fc
           YOUR REF: NOTPROVIDED

02/25      Chips Credit Via: Mufg Bank Ltd./0963 B/O: Tsutaya Books Malaysia Sdn.                                      2,657.81
           Bhd. An Ismail 50250 Kl My Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/511-0000-759384 An Is Mail
           50250 Kl My Ogb=Mufg Bank (Mal Aysia) Berhad Kuala Lumpur Malaysia
           50450 My Obi=/Uri/Dec 24 Invoi Ssn: 00113098 Trn: 0027231056Fc
           YOUR REF: 644TTS50220500

02/25      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Pandayan Superstores                                     2,646.98
           Inc Philippines Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-0000 00006410 Org=/038190000122 Philippi Nes Ogb=Asia
           United Bank Pasig City , Philippines Obi=/Uri/Inv/Supplier S Payment Invoice
           No98138854 Qty:10 000I Ssn: 00140945 Trn: 0034351056Fc
           YOUR REF: 8925022503819109

02/25      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                   2,139.69
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Grwcrd5X214M1/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD2159 ,69/Acc/Benefres/US Trn:
           2070424056Js
           YOUR REF: SWF OF 25/02/25

02/25      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                     1,627.67
           -1Ah Gb Org:/14006-Hk Periplus Holdings Ltd Ogb: Convera Uk Limited
           Alphabeta Building Ref:/Ocmt/USD1627,67/ Trn: 3460827056Fs
           YOUR REF: SWF OF 25/02/25




                                                                                                            Page 27 of 36
                      Case 25-10308          Doc 436-7        Filed 05/09/25          Page 64 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

02/25      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Heroes For Sale                                 1,532.06
           Ltd New Zealand Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/129455580 New Zealand Ogb=Ozforex
           Limited Sydney Austral IA Au Obi=/Uri/Heroes For Sale A C 90286
           Bbi=/Ocmt/USD1532,06/ Ssn: 00370111 Trn: 0092186056Fc
           YOUR REF: C6FA7C29-9829-40

02/25      Book Transfer Credit B/O: Hang Seng Bank Ltd Hong Kong Hong Kong Hk                                     1,354.38
           Org:/364097352001 Metro Comics Ogb: Hang Seng Bank Ltd Institutional
           Banking Dept Ref: Inv. No. 250207-08385833 And 25020309001886
           (90408)/Ocmt/USD1354,38/ Trn: 2040642056Js
           YOUR REF: SWF OF 25/02/25

02/25      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                        975.00
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2064694052Js
           YOUR REF: SWF OF 25/02/21

02/25      Book Transfer Credit B/O: Agricultural Bank of China Limited Beijing China                                   631.30
           10003-7 Cn Org:/44042714040000164 1/Sino-Commercial Trading Ltd Ogb:
           Agricultural Bank of China, The Guangzhou China Cn Ref: Payment For
           Goods Books Aba 021000021/Chgs/USD0,/Ocmt/USD631,3/Acc/Yr
           Aba:021000021 Trn: 0677789056Fs
           YOUR REF: SWF OF 25/02/25

02/25      Lockbox No: 22023 For 36 Items At 16:00 5 Trn: 2500241056Lb                                           32,484.79

02/25      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250224 CO                             249,070.59
           Entry Descr:186002    Sec:CCD      Trace#:242071752794618 Eed:250225
           Ind ID:ACH-0224-32Efb             Ind Name:Diamond Comic Distribu Trn:
           0562794618Tc

02/25      Orig CO Name:Bigbadtoystore I         Orig ID:9860975329 Desc Date:        CO                         52,337.36
           Entry Descr:ACH Paymensec:CCD          Trace#:091400179752364 Eed:250225
           Ind ID:6532096                 Ind Name:Diamond Comics Distrib     860479
           Trn: 0559752364Tc

02/25      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022425                             27,605.33
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759752367
           Eed:250225    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0559752367Tc

02/25      Orig CO Name:Discount Comic B           Orig ID:9200502235 Desc Date:250225                           17,846.87
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000029752371
           Eed:250225    Ind ID:11163024357               Ind Name:Diamond Comic
           Distribu   Document 633928 Trn: 0559752371Tc

02/25      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250225                             16,308.56
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022794642 Eed:250225
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0562794642Tc

02/25      Orig CO Name:Hour Loop Inc            Orig ID:9186939000 Desc Date:        CO                           3,995.04
           Entry Descr:38155    Sec:CCD      Trace#:074920906519017 Eed:250225          Ind
           ID:                  Ind Name:Diamond Comics               Hour Loop Inc
           Paying Bill 38155 Via Ramp Trn: 0566519017Tc

02/25      Orig CO Name:The Comic Shop             Orig ID:396779-A   Desc Date:      CO                           2,767.34
           Entry Descr:Vendor    Sec:CTX     Trace#:325272022794632 Eed:250225          Ind
           ID:2023-001                 Ind Name:0000Diamond Comic Trn: 0562794632Tc

02/25      Orig CO Name:Nbcuniversal Med           Orig ID:1031375454 Desc Date:250224                             1,227.72
           CO Entry Descr:Vendor Pmtsec:CTX         Trace#:028000082794634
           Eed:250225    Ind ID:2004875753A550              Ind Name:0006Diamond
           Comic Di                                                           A550 Trn:
           0562794634Tc




                                                                                                        Page 28 of 36
                     Case 25-10308           Doc 436-7        Filed 05/09/25           Page 65 of 110

                                                                              February 01, 2025 through February 28, 2025
                                                                               Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

02/25      Orig CO Name:Livres Drawn & Q         Orig ID:942875288Q Desc Date:                                        1,136.36
           CO Entry Descr:Livres Drasec:PPD      Trace#:121140392794620 Eed:250225
           Ind ID:                  Ind Name:Diamond Comic Distribu           Plooto
           Inc*121140391127022*B6C90890 Trn: 0562794620Tc

02/25      Orig CO Name:Target Plus Part       Orig ID:1800948598 Desc Date:           CO                                    8.49
           Entry Descr:Target Plusec:CCD     Trace#:091000019752369 Eed:250225
           Ind ID:St-S5A8X1W0N0V9              Ind Name:Diamond Comic Distribu Trn:
           0559752369Tc

02/26      Chips Credit Via: Citibank N.A./0008 B/O: Minotaur (Entertainment) Pty Ltd                                 4,682.82
           Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-0000 00006410 Org=/083125629889767768490 462 Australia
           Ogb=National Australi A Bank Limited Melbourne Australia Au
           Obi=/Uri/Minotaur Entertainment 90115 B Ssn: 00392530 Trn: 0101611057Fc
           YOUR REF: NOTPROVIDED

02/26      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                        3,572.64
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250207-Outland-90121/Ocmt/USD3572,64/ Trn: 2051646057Js
           YOUR REF: SWF OF 25/02/26

02/26      Book Transfer Credit B/O: Unicredit S.P.A. Milan0 Italy 20154 It                                           2,522.67
           Org:/It30U0200805364000104630999 1/Tabula Games Srl Ogb: Unicredit
           S.P.A. Piazza Gae Aulenti 3, Ref:/Roc/111015996521/Uri/Saldo Fatture
           N.157, 158, 159 Del 11/02/2025 En. 163, 165 Del 14/02/2025/Chgs/USD30,
           00/Ocmt/USD2552,67/ Trn: 2064364055Js
           YOUR REF: SWF OF 25/02/24

02/26      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                          1,920.25
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5055O6X4On0L00/Uri/Account:       1278/Ocmt/USD1920,25/ Trn:
           2086222055Js
           YOUR REF: SWF OF 25/02/24

02/26      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                   1,540.27
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD1550,27/ Trn:
           4653066057Fs
           YOUR REF: SWF OF 25/02/26

02/26      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/T 3 Terminal                                     1,318.41
           Entertainment Gmbh -3/DE/70197 Stuttgart Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-            6410
           Org=/DE4951050015014015488 1 3/DE/70197 Stuttgart Ogb=Nassauis Che
           Sparkasse 65185 Wiesbaden Germa NY Obi=/Uri/Mg33 Ssn: 00104287 Trn:
           0024427057Fc
           YOUR REF: NOTPROVIDED

02/26      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                   1,306.54
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD1316,54/ Trn:
           2058478057Fs
           YOUR REF: SWF OF 25/02/26

02/26      Chips Credit Via: UBS Ag Stamford Branch/0799 B/O: Buchzentrum Ag (Bz)                                     1,085.75
           Ch 4614 Haegendorf Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-0000 00006410 Org=/Ch170026126169219460R Ch 4614
           Haegendorf Ogb=UBS Switzer Land Ag Zurich Switzerland 8001 - C H
           Obi=/Uri/180107, 320684, 320683, 3208 Ssn: 00037327 Trn: 0006441057Fc
           YOUR REF: KZA01091657-564+

02/26      Book Transfer Credit B/O: Nordea Bank Abp, Filial I Sverige Stockholm                                           742.37
           Sweden Se-105 71 Se Org:/Se4595000099602601072438 Seriezonen Ab
           Ref: Invoice 251227
           09253060/Chgs/USD0,/Chgs/USD9,00/Ocmt/USD751,37/ Trn: 9749443056Fs
           YOUR REF: SWF OF 25/02/25


                                                                                                           Page 29 of 36
                      Case 25-10308           Doc 436-7       Filed 05/09/25       Page 66 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                            Account Number:                    0555




Deposits and Credits     (continued)

Ledger     Description                                                                                             Amount
Date

02/26      Lockbox No: 22023 For 41 Items At 16:00 5 Trn: 2502052057Lb                                          51,079.70

02/26      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022525                            72,635.67
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071758378799
           Eed:250226    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0568378799Tc

02/26      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250225 CO                             59,949.45
           Entry Descr:186002      Sec:CCD    Trace#:242071758378794 Eed:250226
           Ind ID:ACH-0225-50Ea3              Ind Name:Diamond Comic Distribu Trn:
           0568378794Tc

02/26      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250225                          14,253.87
           CO Entry Descr:Settlementsec:CCD        Trace#:091000018378790 Eed:250226
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25057 Trn: 0568378790Tc

02/26      Orig CO Name:Square Inc             Orig ID:O800429876 Desc Date:250226                                1,918.29
           CO Entry Descr:Zonecomicssec:CCD         Trace#:091000018351293
           Eed:250226    Ind ID:T34K6Rn15S15494              Ind Name:Diamond Comic
           Distribu                                                       T2150418
           Trn: 0578351293Tc

02/26      Orig CO Name:Toho Internation         Orig ID:1204895317 Desc Date:      CO                            1,717.20
           Entry Descr:Bill.Com Sec:CCD       Trace#:021000028378801 Eed:250226        Ind
           ID:015Wlimwiqcpu9V             Ind Name:Diamond Comic Distribu     Toho
           International Inc. Bill.Com 01 5Wlimwiqcpu9V Inv 250129-21452559 Trn:
           0568378801Tc

02/26      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250226                              1,572.28
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028351295 Eed:250226
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0578351295Tc

02/26      Orig CO Name:Wal-Mart Stores           Orig ID:4216028   Desc Date:250225                              1,367.23
           CO Entry Descr:804503174 Sec:CCD          Trace#:061120088378796
           Eed:250226    Ind ID:366184883544540             Ind Name:Diamond Comic
           Distribu   Wal-Mart Stores, Inc Payment
           4366184883544540 Trn: 0568378796Tc

02/26      Orig CO Name:Barr Credit           Orig ID:4860906481 Desc Date:250225 CO                                   201.00
           Entry Descr:Trustremitsec:CCD      Trace#:091000018378792 Eed:250226
           Ind ID:2025-03(1)              Ind Name:Diamond Comic Distribu
           Trust Main Remit Trn: 0568378792Tc

02/26      Orig CO Name:3Rd Universe Con           Orig ID:9200502235 Desc Date:250226                                  50.77
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000028378804
           Eed:250226    Ind ID:11162272386               Ind Name:Diamond Comic
           Distribu   502260 Trn: 0568378804Tc

02/27      Chips Credit Via: Barclays Bank Plc/0257 B/O: Diamond Comic Distributors                             25,385.77
           Ndon/Gb Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/                 6410 Org=/20573088973122 Ndon/G B Ogb=Barclays Bank
           Plc London Bbi=/Ocmt/USD25385,77/ Ssn: 00298041 Trn: 0074987058Fc
           YOUR REF: PET548214058

02/27      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Pep Comics Bv Nl Ref:                             19,592.78
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000
           00006410 Org=/Nl35Ingb0000517952 Nl Ogb=ING Bank N V Amsterdam
           Netherl Ands Bv100-0 Nl Obi=/Uri/Pep Comics Bv Invoices From 01 272025
           To 0220 2025 USD 19612.78 Bbi=/Chg Ssn: 00442013 Trn: 0108958058Fc
           YOUR REF: XX25022752326124




                                                                                                       Page 30 of 36
                     Case 25-10308          Doc 436-7       Filed 05/09/25        Page 67 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                          Account Number:                     0555




Deposits and Credits      (continued)

Ledger     Description                                                                                            Amount
Date

02/27      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                            12,436.89
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 31St January - 3Rd February
           2025. Accounts 90124, 92124 And
           90124A./Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD12446,89/ Trn:
           4910515058Fs
           YOUR REF: SWF OF 25/02/27

02/27      Chips Credit Via: Bank of America, N.A./0959 B/O: Comic Express/Donald F                            10,197.83
           Fowler Dk-9000 Aalborg Ref: Nbbk=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-          006410 Bnf=Diamond Comic Distribu Tors
           Inc 10087-2023 New York,N.Y./A C-641000555021000021 Org=/Dk6130003
           698161914 Dk-9000 Aalborg Ogb=/0 Ssn: 00056161 Trn: 0011380058Fc
           YOUR REF: 2025022500252838

02/27      Chips Credit Via: Citibank N.A./0008 B/O: 1/Fantastico Comic S DE Rl DE Cv                            9,295.36
           3/Mx/Benito Juarez Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-             6410 Org=/00002180700801086467
           3/Mx/Benito Juarez Ogb=Banco Nacion AL DE Mexico S.A. Mexico Mexico
           Mx Bbi=/Acc/            00641000555 1/Dia   Ssn: 00525916 Trn:
           0125564058Fc
           YOUR REF: NOTPROVIDED

02/27      Book Transfer Credit B/O: Turkiye Vakiflar Bankasi T.A.O. Ankara Turkiye Tr                           6,827.35
           Org:/Tr140001500158048018643980 1/Buyuk Mavi Yayincilik Ve Reklamci
           Ogb: Turkiye Vakiflar Bankasi T.A.O. Tunus Cad No 60 Kavaklidere
           Ref:/Ocmt/USD6827,35/ Trn: 3928873058Fs
           YOUR REF: SWF OF 25/02/27

02/27      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                1,830.62
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/               6410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250131,,0
           Ssn: 00115544 Trn: 0027260058Fc
           YOUR REF: 250225101A000198

02/27      Book Transfer Credit B/O: Skandinaviska Enskilda Banken Ab Stockholm                                  1,493.10
           Sweden Se106- 40 Se Org:/59368230102 Sf-Bokhandeln Ab (Publ) Ref:
           95583/Chgs/USD0,00/Chgs/USD25,00/Ocmt/USD1518,10/ Trn:
           2691804057Fs
           YOUR REF: SWF OF 25/02/26

02/27      Book Transfer Credit B/O: Dbs Bank Ltd Singapore Singapore 01898-2 Sg                                      186.00
           Org:/1701858219 Hendy Santoso Ogb: Pt Bank Dbs Indonesia Gd Dbs Bank
           Tower Ciputra World Ref:/Roc/0603Ot0028183/Uri/2018 Gongzai Store
           92361/Ocmt/USD186,/ Trn: 2114269057Js
           YOUR REF: SWF OF 25/02/26

02/27      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                     20.15
           -1Ah Gb Org:/Ch-642933 Als Library Services Pty Ltd Ogb: Convera Uk
           Limited Alphabeta Building Ref: Tradetrade Related 93010 Als Library
           Services/Ocmt/USD20,15/ Trn: 1113932058Fs
           YOUR REF: SWF OF 25/02/27

02/27      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Allecto As                                          11.70
           Ee/Tallinn Harju Maakond Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/Ee181010002006429000
           Ee/Tallinn Harju Maakond Ogb=As Seb Pank Tallinn Estonia 15010 Ee
           Obi=/Uri/Invoice 417546, 472999 Bbi=/Oc MT/ Ssn: 00115814 Trn:
           0027326058Fc
           YOUR REF: NOTPROVIDED

02/27      Lockbox No: 22023 For 23 Items At 16:00 5 Trn: 2502715058Lb                                         37,785.52




                                                                                                      Page 31 of 36
                      Case 25-10308          Doc 436-7         Filed 05/09/25        Page 68 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                            Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

02/27      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250227                            361,978.69
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000025769127 Eed:250227
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0585769127Tc

02/27      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250226 CO                                98,898.19
           Entry Descr:186002    Sec:CCD     Trace#:242071755453770 Eed:250227
           Ind ID:ACH-0226-0D738             Ind Name:Diamond Comic Distribu Trn:
           0575453770Tc

02/27      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022625                              41,265.93
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755453772
           Eed:250227    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0575453772Tc

02/27      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250227                            11,574.10
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000025453759 Eed:250227
           Ind ID:                    Ind Name:Diamond Comic Distribu     60001, 60395,
           60400, 65286, 12-26 T O 12-30 Invoices Trn: 0575453759Tc

02/27      Orig CO Name:Kadokawa World E            Orig ID:9200502235 Desc                                       11,138.81
           Date:250227 CO Entry Descr:ACH Pmt        Sec:CCD
           Trace#:021000025453764 Eed:250227         Ind ID:11163031994              Ind
           Name:Diamond Comic Distribu       Payment For Invoices Due 2/28/2025 Trn:
           0575453764Tc

02/27      Orig CO Name:Perrault & Assoc          Orig ID:9200502235 Desc Date:250227                               4,662.75
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000025453762
           Eed:250227    Ind ID:11163352793               Ind Name:Diamond Comic
           Distribu Trn: 0575453762Tc

02/27      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                    4,300.14
           CO Entry Descr:Payments Sec:CCD          Trace#:051000015453767
           Eed:250227    Ind ID:30000                  Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0575453767Tc

02/27      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:         CO                               2,253.75
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000025453774 Eed:250227          Ind
           ID:015Artdzdocrnmp            Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Artdzd Ocrnmp Acct 91655 - Inv 250213-0901 0419
           Trn: 0575453774Tc

02/27      Abr Special - A Increase                                                                                      930.01

02/27      Orig CO Name:Nbcuniversal Med           Orig ID:1031375454 Desc Date:250226                                   713.87
           CO Entry Descr:Vendor Pmtsec:CTX         Trace#:028000085769129
           Eed:250227    Ind ID:2004877105A550              Ind Name:0006Diamond
           Comic Di                                                            A550 Trn:
           0585769129Tc

02/28      Book Transfer Credit B/O: Bank Hapoalim B M Tel-Aviv Israel IL                                         28,276.01
           Org:/IL670123910000000444441 1/Tzomet Sfarim 2002 Limited Partne
           Ref:/Chgs/USD0,/Chgs/USD30,00/Ocmt/USD28306,01/ Trn: 4391884058Fs
           YOUR REF: SWF OF 25/02/27

02/28      Chips Credit Via: Bnp Paribas Sa New York Branch/0768 B/O: 1/Momie St                                    5,071.59
           Germain 3/Fr/75005 Paris Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-               6410 Org=/Fr7630004034060001000
           294347 3/Fr/75005 Paris Ogb=Bnp Par Ibas Paris France 75009 Fr
           Obi=/Uri/February Statement/Bbi=/Ocmt/USD5 Ssn: 00013529 Trn:
           0001992059Fc
           YOUR REF: 90508 STATEMENT




                                                                                                         Page 32 of 36
                      Case 25-10308         Doc 436-7        Filed 05/09/25         Page 69 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     0555




Deposits and Credits      (continued)

Ledger     Description                                                                                              Amount
Date

02/28      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantask A/S Dk-1453                                   3,295.48
           Kobenhavn K Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/Dk3730004180095012 Dk -1453
           Kobenhavn K Ogb=/006550253668 Dabadkkkxxx Obi=/Uri/Fantask A/S,
           Denmark, Acc 9008 6Invoice No.25021 3-09010419,2 Ssn: 00073982 Trn:
           0016492059Fc
           YOUR REF: 2025022600284885

02/28      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From:                                        2,753.71
           Bnf-Creative Games Studio LLC Via Wise Ref: 1239250424-Inv 00015 Info:
           Text-   Iid: 20250228021000021P1Brjpc08000121543 Recd: 11:12:43 Trn:
           0725032059Gd
           YOUR REF: 1239250424-INV 00015

02/28      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From: Bnf-Black                              1,834.15
           Dog Comics Ohg Via Wise Ref: 1238421636-90038 Info: Text-       Iid:
           20250227021000021P1Brjpc07920258769 Recd: 04:07:06 Trn:
           1672072058Ge
           YOUR REF: 1238421636-90038

02/28      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/X-Comics Gmbh                                 1,783.03
           3/DE/66740 Saarlouis Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/DE9759350110021794680 5
           3/DE/66740 Saarlouis Ogb=Kreisspa Rkasse Saarlouis Saarlouis Germany
           66740 Obi=/Uri/Invoice 241112-11244    Ssn: 00131382 Trn: 0032848059Fc
           YOUR REF: NOTPROVIDED

02/28      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                     1,757.80
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Inv 625412/Ocmt/USD1757,8/ Trn: 5519829058Fs
           YOUR REF: SWF OF 25/02/27

02/28      Book Transfer Credit B/O: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                                 1,380.79
           Org:/01070012558541/0474014778 1/Engine.Inc.Ltd. Ref:/Chgs/USD10,00/
           Trn: 7002375059Fs
           YOUR REF: SWF OF 25/02/28

02/28      Book Transfer Credit B/O: Intesa Sanpaolo Spa Milano Italy It                                           1,362.79
           Org:/It74T0306909686100000001033 C23 S R L Ogb: Intesa Sanpaolo Spa
           Piazza Della Scala 6 Ref: Account 90063 Payment Invoice 12.16.2024
           12.20.2024/Chgs/USD0,/Chgs/US D27,00/Ocmt/USD1389,79/ Trn:
           2018015056Fs
           YOUR REF: SWF OF 25/02/25

02/28      Real Time Transfer Recd From Aba/Contr Bnk          0021   From:                                        1,143.10
           Bnf-Gamma Rays Comics Via Wise Ref: 1239699518-10152333 Info: Text-
           Iid: 20250228021000021P1Brjpc08000208778 Recd: 17:41:51 Trn:
           1515072059GA
           YOUR REF: 1239699518-10152333

02/28      Book Transfer Credit B/O: Bank of China Hong Kong Ltd West Kowloon Hong                                      445.92
           Kong Hk Org:/01287592591152 Eslite Culture Hong Kong Limited Ref:
           Sender's Add : Room 1018, 10/F, Leighton Centre, 77 Leighton Road, Cau
           Seway Bay, Hong Kong/Chgs/USD21,00/ Trn: 6884285059Fs
           YOUR REF: SWF OF 25/02/28

02/28      Lockbox No: 22023 For 65 Items At 16:00 5 Trn: 2500991059Lb                                           90,912.88

02/28      Orig CO Name:Amazon.Com Servi          Orig ID:9000012712 Desc                                      988,754.98
           Date:250228 CO Entry Descr:Payments     Sec:CCD
           Trace#:021000021479938 Eed:250228       Ind ID:Fcs002728736172
           Ind Name:Diamond Comic Distribu Trn: 0581479938Tc

02/28      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250227 CO                              181,742.93
           Entry Descr:186002    Sec:CCD     Trace#:242071751479949 Eed:250228
           Ind ID:ACH-0227-2A3Fd            Ind Name:Diamond Comic Distribu Trn:
           0581479949Tc




                                                                                                        Page 33 of 36
                      Case 25-10308            Doc 436-7         Filed 05/09/25        Page 70 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                     0555




Deposits and Credits       (continued)

Ledger     Description                                                                                               Amount
Date

02/28      Orig CO Name:UPS-Capital                Orig ID:2362407381 Desc Date:022725                            58,404.82
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071754658953
           Eed:250228     Ind ID:V40931 - 000002             Ind Name:Diamond Comics
           Trn: 0594658953Tc

02/28      Orig CO Name:American Express             Orig ID:1134992250 Desc Date:250227                          51,054.97
           CO Entry Descr:Settlementsec:CCD          Trace#:091000017568869 Eed:250228
           Ind ID:1199200593                 Ind Name:Diamond Comi1199200593
           Payment Date 25059 Trn: 0597568869Tc

02/28      Orig CO Name:O1 Space Inc               Orig ID:1371868340 Desc Date:       CO                         51,034.66
           Entry Descr:Goods-Dcd Sec:CCD           Trace#:322070381479933 Eed:250228
           Ind ID:Dcd-ACH                   Ind Name:Diamond Comic Distribu Trn:
           0581479933Tc

02/28      Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250228                            10,649.27
           CO Entry Descr:Deposit        Sec:CCD    Trace#:021000027568871 Eed:250228
           Ind ID:6406596                  Ind Name:Diamond Comic Distribu Trn:
           0597568871Tc

02/28      Orig CO Name:Amazon.CA5264325               Orig ID:1912089241 Desc Date:                                6,750.83
           CO Entry Descr:EDI Pymntssec:CCD           Trace#:091000011479945
           Eed:250228     Ind ID:Fcs002728760882              Ind Name:Diamond Comic
           Distribu                                                         EDI Trn:
           0581479945Tc

02/28      Orig CO Name:Toho Internation           Orig ID:1204895317 Desc Date:       CO                           6,556.00
           Entry Descr:Bill.Com Sec:CCD        Trace#:021000021479953 Eed:250228          Ind
           ID:015Rgtuddscus1H               Ind Name:Diamond Comic Distribu      Toho
           International Inc. Bill.Com 01 5Rgtuddscus1H Inv 22013752 Trn:
           0581479953Tc

02/28      Orig CO Name:Hot Topic              Orig ID:3770198182 Desc Date:        CO                              2,365.20
           Entry Descr:Ap Paymentsec:PPD           Trace#:091000011479940 Eed:250228
           Ind ID:1   -   10088            Ind Name:Diamond Comics Distrib Trn:
           0581479940Tc

02/28      Orig CO Name:M Comics LLC                Orig ID:1661042025 Desc Date:250228                             1,213.25
           CO Entry Descr:Invoice    Sec:CCD        Trace#:221571471479935 Eed:250228
           Ind ID:Diamond Comics               Ind Name:Jp Morgan Chase Bank
           Invoice Payment                                              8892001107 Trn:
           0581479935Tc

02/28      Orig CO Name:Amazon.Com Servi              Orig ID:9000012712 Desc                                            397.18
           Date:250226 CO Entry Descr:Payments         Sec:CCD
           Trace#:021000024658955 Eed:250228           Ind ID:Fcs002730595982
           Ind Name:Diamond Comic Distribu Trn: 0594658955Tc

02/28      Orig CO Name:Ag Adjustments              Orig ID:2132707646 Desc Date:250228                                  133.34
           CO Entry Descr:02/27/2025Sec:CCD           Trace#:021406661479951
           Eed:250228     Ind ID:Diamond Comic               Ind Name:Diamond Comic
           Distribu Trn: 0581479951Tc

02/28      Orig CO Name:Ign Entertainmen            Orig ID:2943316902 Desc Date:       CO                                59.24
           Entry Descr:22_2083225Sec:CCD           Trace#:111000021479947 Eed:250228
           Ind ID:138115                   Ind Name:Diamond Comic Distribu Trn:
           0581479947Tc

02/28      Orig CO Name:Global Payments             Orig ID:2132749397 Desc Date:         CO                              59.09
           Entry Descr:EDI Pymntssec:CCD           Trace#:091000011479942 Eed:250228
           Ind ID:205Apda339495                Ind Name:Diamond Comic Distribu
           Rmr*IV*Jan 2025 Residuals**59.09*59 .09\                                 EDI
           Trn: 0581479942Tc

Total                                                                                                      $9,589,089.53




                                                                                                         Page 34 of 36
                    Case 25-10308         Doc 436-7          Filed 05/09/25     Page 71 of 110

                                                                       February 01, 2025 through February 28, 2025
                                                                        Account Number:                     0555




Withdrawals and Debits

Ledger     Description                                                                                          Amount
Date

02/03      Orig CO Name:Paymentech             Orig ID:1020401225 Desc Date:250203                         $53,925.65
           CO Entry Descr:Deposit    Sec:CCD    Trace#:021000024245378 Eed:250203
           Ind ID:6406596              Ind Name:Diamond Comic Distribu Trn:
           0344245378Tc

02/03      Loan Principal Payment                                                                          553,265.55

02/04      Deposited Item Returned               000109519                          #                               829.02
           of Items00001

02/04      Loan Principal Payment                                                                          348,306.12

02/04      Loan Transaction                                                                                  94,796.33

02/04      Loan Transaction                                                                                    1,875.00

02/05      Loan Principal Payment                                                                          392,782.35

02/06      Loan Principal Payment                                                                          247,331.31

02/07      Loan Principal Payment                                                                          540,536.63

02/10      Loan Principal Payment                                                                          635,181.85

02/11      Loan Principal Payment                                                                          484,788.89

02/12      Loan Principal Payment                                                                          374,005.52

02/13      Loan Principal Payment                                                                            41,848.60

02/14      Loan Principal Payment                                                                          654,268.00

02/14      Loan Principal Payment                                                                          336,341.80

02/14      Loan Principal Payment                                                                          185,012.95

02/18      Loan Principal Payment                                                                          411,403.28

02/18      Loan Principal Payment                                                                              5,016.37

02/19      Loan Principal Payment                                                                          448,806.31

02/20      Loan Principal Payment                                                                          459,780.57

02/20      Loan Principal Payment                                                                              3,065.89

02/21      Loan Principal Payment                                                                          506,231.63

02/21      Loan Principal Payment                                                                          107,891.15

02/24      Loan Principal Payment                                                                          310,651.73

02/24      Loan Principal Payment                                                                            25,553.76

02/24      Loan Principal Payment                                                                            20,558.33

02/25      Loan Principal Payment                                                                          414,471.36

02/25      Loan Principal Payment                                                                            21,242.13

02/25      Loan Principal Payment                                                                              9,518.29

02/25      Loan Principal Payment                                                                              7,428.55

02/25      Loan Principal Payment                                                                              3,995.04

02/25      Loan Principal Payment                                                                              1,724.37

02/26      Loan Principal Payment                                                                          220,663.54

02/26      Loan Principal Payment                                                                              2,288.35

02/26      Loan Principal Payment                                                                              1,415.30

02/27      Loan Principal Payment                                                                          624,063.78

02/27      Loan Principal Payment                                                                            36,475.37

02/27      Loan Principal Payment                                                                                   515.02

02/28      Loan Principal Payment                                                                        1,348,335.03

02/28      Loan Principal Payment                                                                            85,737.89

02/28      Loan Principal Payment                                                                            58,802.00

02/28      Loan Principal Payment                                                                              5,174.99

02/28      Loan Principal Payment                                                                                   795.13

Total                                                                                                $10,086,700.73




                                                                                                    Page 35 of 36
                     Case 25-10308          Doc 436-7        Filed 05/09/25        Page 72 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     0555




Daily Balance


                                             Ledger                                                                    Ledger
Date                                        Balance        Date                                                    Balance

02/03                                   $239,869.22        02/18                                           -$204,685.29
02/04                                   $186,845.10        02/19                                                $3,065.89
02/05                                    $41,394.06        02/20                                            $107,891.15
02/06                                   $334,599.38        02/21                                              $25,553.76
02/07                                   $429,244.60        02/24                                                $7,428.55
02/10                                   $278,851.64        02/25                                                        $0.00
02/11                                   $168,068.27        02/26                                                 -$930.01
02/12                                    $20,924.30        02/27                                                   $795.13
02/13                                   $633,343.70        02/28                                                $1,143.10
02/14                                  -$200,920.88




          Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                       Page 36 of 36
                            Case 25-10308            Doc 436-7            Filed 05/09/25       Page 73 of 110

                                                                                      February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                     5979
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00099488 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 C1 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       OPERATING ACCOUNT
       --
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                      Shares


Opening Ledger Balance                                                                           $115,953.56


Deposits and Credits                                                     49                   $17,101,828.72


Withdrawals and Debits                                                 184                    $16,913,947.36


Checks Paid                                                               0                              $0.00


Ending Ledger Balance                                                                            $303,834.92


Deposits and Credits

Ledger              Description                                                                                                    Amount
Date

02/03              Remote Online Deposit            5979                                                                     $14,635.75

02/03              Abr Special - A Increase                                                                                  350,000.00

02/04              Remote Online Deposit            5979                                                                          28,578.31

02/04              Abr Special - A Increase                                                                                  375,000.00

02/04              Orig CO Name:Hnb - Echo               Orig ID:1341858386 Desc Date:250204                                         62.02
                   CO Entry Descr:ACH Xfr       Sec:CCD      Trace#:044000020913487 Eed:250204
                   Ind ID:338250701/00000               Ind Name:6535692
                   338250701/0000067807 Trn: 0350913487Tc

02/05              Remote Online Deposit            5979                                                                            504.02

02/05              Abr Special - A Increase                                                                                  700,000.00

02/06              Book Transfer Credit B/O: Diamond Comic Distributors, Inc Hunt Valley MD                                  150,000.00
                   21030-3340 US Trn: 7740900037Jo
                   YOUR REF: ATS OF 25/02/06

02/06              Abr Special - A Increase                                                                                  950,000.00

02/07              Remote Online Deposit            5979                                                                           3,387.90

02/07              Abr Special - A Increase                                                                                1,000,000.00

02/07              Abr Special - A Increase                                                                                       75,000.00




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                   Page 1 of 16
                     Case 25-10308          Doc 436-7        Filed 05/09/25           Page 74 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                          Account Number:                     5979




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

02/07      Orig CO Name:Luminare Health          Orig ID:L351846036 Desc Date:250206                             4,865.31
           CO Entry Descr:Payment      Sec:CCD     Trace#:111000023324007
           Eed:250207    Ind ID:S-003855               Ind Name:Diamond Comic
           C520-00048\
                               1692 Trn: 0373324007Tc

02/10      Remote Online Deposit          5979                                                                 23,249.80

02/10      Abr Special - A Increase                                                                          800,000.00

02/11      Remote Online Deposit          5979                                                                   8,939.48

02/11      Abr Special - A Increase                                                                          175,000.00

02/11      Orig CO Name:Hnb - Echo              Orig ID:1341858386 Desc Date:250211                                  113.76
           CO Entry Descr:ACH Xfr      Sec:CCD    Trace#:044000026607217 Eed:250211
           Ind ID:338957429/00000           Ind Name:6559290
           338957429/0000067898 Trn: 0426607217Tc

02/11      Orig CO Name:Hnb - Echo              Orig ID:1341858386 Desc Date:250211                                   29.00
           CO Entry Descr:ACH Xfr      Sec:CCD    Trace#:044000026607219 Eed:250211
           Ind ID:338957429/00000           Ind Name:6559290
           338957429/0000067994 Trn: 0426607219Tc

02/12      Book Transfer Credit B/O: Diamond Comic Distributors, Inc Hunt Valley MD                            30,000.00
           21030-3340 US Trn: 8738900043Jo
           YOUR REF: ATS OF 25/02/12

02/12      Abr Special - A Increase                                                                          125,000.00

02/12      JPMorgan Access Transfer From Account                  3396                                         51,694.60
           YOUR REF: 1006054043SB

02/12      Abr Special - A Increase                                                                            50,000.00

02/13      Remote Online Deposit          5979                                                                 10,320.89

02/13      Abr Special - A Increase                                                                          650,000.00

02/13      Orig CO Name:Diamond Comic D            Orig ID:9775979001 Desc Date:                                     653.60
           CO Entry Descr:Rtn Offsetsec:CCD       Trace#:021000025988286 Eed:250213
           Ind ID:9775979001               Ind Name:Diamond Comic D             EFT
           Return Items Offset For File Da Te     02/13/25 Origin# 9090209001   Blk#044
           Trn: 0445988286Tc

02/14      Remote Online Deposit          5979                                                                   3,193.27

02/14      Abr Special - A Increase                                                                          900,000.00

02/14      Abr Special - A Increase                                                                          870,000.00

02/14      Orig CO Name:Luminare Health          Orig ID:2035099658 Desc Date:250213                                   0.01
           CO Entry Descr:Hb Disb      Sec:CCD    Trace#:071000154398815 Eed:250214
           Ind ID:S-003856               Ind Name:Diamond Comic             021125\
                               1716 Trn: 0444398815Tc

02/18      Remote Online Deposit          5979                                                                 18,119.87

02/18      Abr Special - A Increase                                                                       2,260,000.00

02/19      Remote Online Deposit          5979                                                                 12,999.30

02/19      Abr Special - A Increase                                                                          690,000.00

02/20      Abr Special - A Increase                                                                       2,150,000.00

02/21      Book Transfer Credit B/O: Diamond Comic Distributors, Inc Hunt Valley MD                            25,000.00
           21030-3340 US Trn: 6850800052Jo
           YOUR REF: ATS OF 25/02/21

02/21      Remote Online Deposit          5979                                                                   5,760.60

02/24      Remote Online Deposit          5979                                                                 12,951.33

02/24      Abr Special - A Increase                                                                          900,000.00

02/24      JPMorgan Access Transfer From Account                  3396                                         10,000.00
           YOUR REF: 1004331055SB

02/25      Abr Special - A Increase                                                                          530,000.00




                                                                                                      Page 2 of 16
                      Case 25-10308            Doc 436-7        Filed 05/09/25       Page 75 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                     5979




Deposits and Credits       (continued)

Ledger     Description                                                                                                  Amount
Date

02/25      Orig CO Name:Bancorpsv                Orig ID:1050006509 Desc Date:250225                                    130.28
           CO Entry Descr:Bancorpsv Sec:CCD           Trace#:031101119527489
           Eed:250225      Ind ID:99995                  Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 95-Settle Credit                       W0
           Trn: 0559527489Tc

02/26      Remote Online Deposit            5979                                                                    7,651.75

02/26      Abr Special - A Increase                                                                             700,000.00

02/27      Abr Special - A Increase                                                                             460,000.00

02/27      Abr Special - A Increase                                                                             375,000.00

02/27      Orig CO Name:Luminare Health             Orig ID:Q351846036 Desc Date:250227                                 425.41
           CO Entry Descr:Payment         Sec:CCD     Trace#:111000029929728
           Eed:250227      Ind ID:S-003857                Ind Name:Diamond Comic
           Distribu   Ranbaxy Class Action*Restasis Class      Action\
                                1756 Trn: 0589929728Tc

02/28      Remote Online Deposit            5979                                                                    3,562.46

02/28      Abr Special - A Increase                                                                          1,590,000.00

Total                                                                                                     $17,101,828.72



Withdrawals and Debits

Ledger     Description                                                                                                  Amount
Date

02/03      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: Luminare Health US Ref:                                $62,947.66
           Feb2025 Imad: 0203Mmqfmp2K001125 Trn: 8854900031Jo
           YOUR REF: NONREF

02/03      Fedwire Debit Via: Pncbank Pitt/043000096 A/C: Aireit 2024 P2 LLC US                                 196,021.97
           Ref:/Bnf/Feb 2025 Rent Imad: 0203Mmqfmp2N039257 Trn: 8850400031Jo
           YOUR REF: NONREF

02/03      Fedwire Debit Via: Cy Natl Bk LA/122016066 A/C: Light IN The Attic Record                              83,149.00
           Dstrbtn Seattle WA 98117 US Ref: Inv 900536491 F900537202/Time/15:14
           Imad: 0203Mmqfmp2M038513 Trn: 8855200031Jo
           YOUR REF: NONREF

02/03      JPMorgan Access Transfer To Account                    8307                                            50,000.00
           YOUR REF: 1005102034SB

02/03      Orig CO Name:Paysimple Billin           Orig ID:5330903620 Desc Date:250201                                  105.95
           CO Entry Descr:ACH         Sec:CCD       Trace#:091000010457960 Eed:250203
           Ind ID:800-466-0992               Ind Name:Diamond Comic Distri Trn:
           0340457960Tc

02/03      Book Transfer Debit A/C: JPMorgan Chase Bank NA Elgin IL 60124-7836 US                                 50,000.00
           Ref:/Bnf/Acct                     7849 Trn: 9917100034Jo
           YOUR REF: NONREF

02/04      Orig CO Name:Bancorpsv               Orig ID:1050006509 Desc Date:250204                                 2,202.97
           CO Entry Descr:Bancorpsv Sec:CCD           Trace#:031101115230732
           Eed:250204      Ind ID:99994                  Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0345230732Tc

02/04      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Ara, Inc Minneapolis MN                             141,530.00
           55485-5917 US Ref:/Time/15:25 Imad: 0204Mmqfmp2K026479 Trn:
           7117200035Jo
           YOUR REF: NONREF

02/04      Fedwire Debit Via: Bk Amer                9593 A/C: 1000Toys Inc US                                  183,168.00
           Ref:/Bnf/2024053403-222023093403-14 Imad: 0204Mmqfmp2N030621 Trn:
           7977000035Jo
           YOUR REF: NONREF

02/05      JPMorgan Access Transfer To Account0                   8307                                            50,000.00
           YOUR REF: 1003035036SB




                                                                                                         Page 3 of 16
                    Case 25-10308           Doc 436-7         Filed 05/09/25      Page 76 of 110

                                                                        February 01, 2025 through February 28, 2025
                                                                           Account Number:                   5979




Withdrawals and Debits      (continued)

Ledger     Description                                                                                              Amount
Date

02/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                       371,673.40
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 7867300036Jo
           YOUR REF: NONREF

02/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         46,457.90
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 7867100036Jo
           YOUR REF: NONREF

02/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         42,606.06
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 7867400036Jo
           YOUR REF: NONREF

02/05      Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Ara, Inc Minneapolis MN                           22,651.26
           55485-5917 US Ref:/Time/16:23 Imad: 0205Mmqfmp2K031184 Trn:
           7867600036Jo
           YOUR REF: NONREF

02/05      Fedwire Debit Via: Old Evansville IN/086300012 A/C: Epost Global LLC US                              4,500.00
           Imad: 0205Mmqfmp2L032115 Trn: 7869400036Jo
           YOUR REF: NONREF

02/05      Fedwire Debit Via: Citizens Bank, NA/011500120 A/C: Titan Publishing Group                         77,343.96
           Ltd US Ref: 013125 Imad: 0205Mmqfmp2L033352 Trn: 8049400036Jo
           YOUR REF: NONREF

02/05      Orig CO Name:Diamond Comic D          Orig ID:9775979001 Desc Date:Prfund                        121,187.51
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000026596697 Eed:250205
           Ind ID:9775979001              Ind Name:EFT File Name: Rp0364W       ACH
           Origin#:9090209001 CO Eff: 25/ 02/05                            250205
           Rp0364Wd Trn: 0366596697Tc

02/06      Deposited Item Returned                000105549                          #                          3,186.96
           of Items00001

02/06      Orig CO Name:Hnb-Luminare           Orig ID:1341858404 Desc Date:250206                            95,883.88
           CO Entry Descr:ACH Xfr    Sec:CCD    Trace#:044000029024167 Eed:250206
           Ind ID:Ecm5122                 Ind Name:6547027 Trn: 0379024167Tc

02/06      Orig CO Name:Hnb-Luminare           Orig ID:1341858404 Desc Date:250206                                  227.00
           CO Entry Descr:ACH Xfr    Sec:CCD    Trace#:044000029024168 Eed:250206
           Ind ID:Ecm5122-R               Ind Name:6547027 Trn: 0379024168Tc

02/06      Orig CO Name:ADP Wage Garn            Orig ID:9333006057 Desc                                        2,380.36
           Date:250206 CO Entry Descr:Wage Garn Sec:CCD
           Trace#:021000029138417 Eed:250206       Ind ID:709100286079Svf            Ind
           Name:Diamond Comic Distribu
           323298036 Trn: 0379138417Tc

02/06      Book Transfer Debit A/C: San Diego Comic Convention San Diego CA                                   49,775.00
           92112-8458 US Ref: Inv 020525 Trn: 7769100037Jo
           YOUR REF: NONREF

02/06      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         22,981.43
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 7768500037Jo
           YOUR REF: NONREF

02/06      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                           106,566.25
           Ref: Inv300000000130/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 7761600037Jo
           YOUR REF: NONREF

02/06      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref:                             17,454.28
           Rbi-ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 7764700037Jo
           YOUR REF: NONREF

02/06      Fedwire Debit Via: Mellon Bank Pitts/043000261 A/C: Penguin Random House                         445,743.14
           LLC US Ref: Inv 0225 - 0226 Osd Orders Imad: 0206Mmqfmp2L028575 Trn:
           7768800037Jo
           YOUR REF: NONREF

02/06      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                        140,281.15
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 7764600037Jo
           YOUR REF: NONREF




                                                                                                     Page 4 of 16
                     Case 25-10308            Doc 436-7        Filed 05/09/25        Page 77 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                                  Amount
Date

02/06      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                           88,527.75
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000026341006 Eed:250206
           Ind ID:9775979001                Ind Name:EFT File Name: Rp03774        ACH
           Origin#:9090209001 CO Eff: 25/ 02/06                               250206
           Rp03774X Trn: 0376341006Tc

02/07      Book Transfer Debit A/C: Sumitomo Mitsui Banking Corporationchiyoda-Ku                               127,588.94
           Tokyo Japan 51500-0 Jp Ref: Inv St2412000063 St2412000063A Inv
           St2501000008 Trn: 7415200038Jo
           YOUR REF: NONREF

02/07      Book Transfer Debit A/C: Resona Bank, Ltd. Tokyo         0022 Japan Jp Ref:                            45,605.76
           Inv Mtc240533 Mtc240624 Trn: 7415100038Jo
           YOUR REF: NONREF

02/07      Book Transfer Debit A/C: Is Fine Collectibles Corp. Los Angeles CA 90058-                              37,525.77
           US Ref: Multiple Invoices Trn: 7414900038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Pncbank              0053 A/C: Saul Ewing IOLTA Escrow                            215,000.00
           US Ref:/Bnf/Client/Matter: 391844.00001Diamond Escrow-Professional Fees
           Deb T OR Imad: 0207Mmqfmp2N031215 Trn: 7415600038Jo
           YOUR REF: NONREF

02/07      Book Transfer Debit A/C: Red Bird Receivables, LLC Memphis TN 38118- US                                28,916.72
           Ref: Inv 279858-26 Trn: 7415500038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Citizens Bank, N          0120 A/C: Titan Publishing Group                          20,935.93
           Ltd US Ref: Inv020425 Imad: 0207Mmqfmp2K030435 Trn: 7415800038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Secu of MD/255076753 A/C: Kevin G Scally US Ref: Inv                                19,225.00
           007 Imad: 0207Mmqfmp2K030439 Trn: 7416300038Jo
           YOUR REF: NONREF

02/07      Book Transfer Debit A/C: Kansai Mirai Bank, Limited Osaka Japan 540-8-610                                1,151.88
           Jp Ref: Inv Ggy2501251 Trn: 7415000038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Bk Amer               9593 A/C: 1000Toys Inc US Ref: Inv                          332,846.00
           2024033403-08 2024073403-27 2024053403-12B Imad:
           0207Mmqfmp2N031217 Trn: 7414800038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Wells Fargo             0248 A/C: Mad Engine Global, LLC                            22,967.00
           US Ref: Inv 12123830/Time/16:01 Imad: 0207Mmqfmp2M030411 Trn:
           7415300038Jo
           YOUR REF: NONREF

02/07      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                               308,024.93
           Ref: Inv300000008851/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 7415400038Jo
           YOUR REF: NONREF

02/07      Fedwire Debit Via: Bk Amer               9593 A/C: Global Experience Specialist                        81,634.87
           Inc US Ref:/Bnf/Inv 177541 Imad: 0207Mmqfmp2L031897 Trn: 7563300038Jo
           YOUR REF: NONREF

02/10      Orig CO Name:J.P. Morgan              Orig ID:5841455663 Desc Date:      CO                            42,683.96
           Entry Descr:J.P.Morgansec:CTX       Trace#:042000016320248 Eed:250210
           Ind ID:650033090606               Ind Name:0005Non-Executive
           Payments-Psc Trn: 0416320248Tc

02/10      Orig CO Name:J.P. Morgan              Orig ID:5841455663 Desc Date:      CO                              5,067.14
           Entry Descr:J.P.Morgansec:CTX       Trace#:042000016320242 Eed:250210
           Ind ID:650033090605               Ind Name:0005Executive
           Payments-Psc Trn: 0416320242Tc

02/10      Orig CO Name:J.P. Morgan              Orig ID:5841455663 Desc Date:      CO                              2,174.10
           Entry Descr:J.P.Morgansec:CTX       Trace#:042000016320236 Eed:250210
           Ind ID:650033090604               Ind Name:0005Renegade Games L
           Payments-Psc Trn: 0416320236Tc


                                                                                                         Page 5 of 16
                     Case 25-10308             Doc 436-7       Filed 05/09/25         Page 78 of 110

                                                                            February 01, 2025 through February 28, 2025
                                                                             Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                                  Amount
Date

02/10      Orig CO Name:Verizon Wireless         Orig ID:6223344794 Desc Date:250210                                2,219.27
           CO Entry Descr:Payments Sec:CCD         Trace#:021000028859779
           Eed:250210    Ind ID:071857478900001             Ind
           Name:0000000071857478900001 Trn: 0418859779Tc

02/10      Fedwire Debit Via: Bk Amer              9593 A/C: Beast Kingdom North                                180,683.48
           America CO Ltd US Ref: Inv Dcd250204Fob Imad: 0210Mmqfmp2K030079
           Trn: 7555500041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: Wells Fargo            0248 A/C: United Parcel Service US                           38,490.55
           Ref:/Time/14:33 Imad: 0210Mmqfmp2K030081 Trn: 7555300041Jo
           YOUR REF: NONREF

02/10      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                               245,853.77
           Ref: Inv 300000008973/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 7555700041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: Wells Fargo            0248 A/C: Ara, Inc Minneapolis MN                          164,200.00
           55485-5917 US Ref: Inv 021025/Time/14:33 Imad: 0210Mmqfmp2L030831
           Trn: 7555800041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: Mellon Bank              0261 A/C: Penguin Random House                               5,665.27
           LLC US Ref:/Bnf/Acct488250000Order 15706050 Imad:
           0210Mmqfmp2L030826 Trn: 7558400041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: F121000358/121000358 A/C: Pai Technology Inc US Ref:                                61,065.31
           Inv 2024103743-22 57981400 2024103743-13/Time/14:33 Imad:
           0210Mmqfmp2L030841 Trn: 7555600041Jo
           YOUR REF: NONREF

02/10      Fedwire Debit Via: Key Gr Lakes                1039 A/C: Rcm& D Inc US Ref:                            30,364.00
           Inv 132039 Imad: 0210Mmqfmp2K030182 Trn: 7554300041Jo
           YOUR REF: NONREF

02/10      Orig CO Name:Diamond Comic D            Orig ID:9775979001 Desc Date:Prfund                              5,642.12
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000027888822 Eed:250210
           Ind ID:9775979001                Ind Name:EFT File Name: Rp0412S        ACH
           Origin#:9090209001 CO Eff: 25/ 02/10                              250210
           Rp0412Su Trn: 0417888822Tc

02/11      Orig CO Name:Bancorpsv              Orig ID:1050006509 Desc Date:250211                                  4,292.54
           CO Entry Descr:Bancorpsv Sec:CCD        Trace#:031101115653464
           Eed:250211    Ind ID:99994                 Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0415653464Tc

02/11      Fedwire Debit Via: TD Bank,             1360 A/C: Udon Entertainment Inc US                            43,072.97
           Imad: 0211Mmqfmp2N028782 Trn: 7425300042Jo
           YOUR REF: NONREF

02/11      Fedwire Debit Via: Bk Amer              9593 A/C: Scholastic Klutz Cincinnati                          35,378.00
           OH 45263-9851 US Ref: Inv 22255860 Imad: 0211Mmqfmp2M028124 Trn:
           7424900042Jo
           YOUR REF: NONREF

02/11      Book Transfer Debit A/C: Accenture Llp Collection Chicago IL 60661-4516 US                               5,350.00
           Ref:/Bnf/Inv 1101056955 Trn: 7424800042Jo
           YOUR REF: NONREF

02/11      Fedwire Debit Via: Old Evansville           0012 A/C: Epost Global LLC US                                4,500.00
           Imad: 0211Mmqfmp2L028604 Trn: 7424300042Jo
           YOUR REF: NONREF

02/11      Fedwire Debit Via: Tib               0170 A/C: Tib, National Association                                 3,837.22
           Farmers Branch TX US Ben: Avatar Press, Inc Rantoul IL. 61866 US Imad:
           0211Mmqfmp2M028125 Trn: 7425200042Jo
           YOUR REF: NONREF




                                                                                                         Page 6 of 16
                     Case 25-10308             Doc 436-7       Filed 05/09/25      Page 79 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                                Amount
Date

02/11      Orig CO Name:Diamond Comic D           Orig ID:9775979001 Desc Date:Prfund                         131,018.49
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000024670605 Eed:250211
           Ind ID:9775979001                Ind Name:EFT File Name: Rp0423N      ACH
           Origin#:9090209001 CO Eff: 25/ 02/11                             250211
           Rp0423Nz Trn: 0424670605Tc

02/12      Deposited Item Returned                 000114279                            #                         3,186.96
           of Items00001

02/12      Fedwire Debit Via: Citizens Bank,           0120 A/C: Titan Publishing Group                         90,882.00
           Ltd US Ref: Inv 020725 Imad: 0212Mmqfmp2M033536 Trn: 8786800043Jo
           YOUR REF: NONREF

02/12      Fedwire Debit Via: Old Evansville I        0012 A/C: Epost Global LLC US                               9,500.00
           Imad: 0212Mmqfmp2M033534 Trn: 8787200043Jo
           YOUR REF: NONREF

02/12      Orig CO Name:Diamond Comic D           Orig ID:9775979001 Desc Date:Prfund                         171,288.21
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000027353971 Eed:250212
           Ind ID:9775979001                Ind Name:EFT File Name: Rp0436E      ACH
           Origin#:9090209001 CO Eff: 25/ 02/12                             250212
           Rp0436Eo Trn: 0437353971Tc

02/13      Orig CO Name:Hnb-Luminare             Orig ID:1341858404 Desc Date:250213                            96,231.86
           CO Entry Descr:ACH Xfr     Sec:CCD     Trace#:044000027430945 Eed:250213
           Ind ID:Ecm5122                  Ind Name:6571908 Trn: 0447430945Tc

02/13      Orig CO Name:Hnb-Luminare             Orig ID:1341858404 Desc Date:250213                              1,060.59
           CO Entry Descr:ACH Xfr     Sec:CCD     Trace#:044000027430946 Eed:250213
           Ind ID:Ecm5122-R                 Ind Name:6571908 Trn: 0447430946Tc

02/13      Fedwire Debit Via: Mellon Bank            00261 A/C: Penguin Random House                          350,596.34
           LLC US Ref:/Bnf/Order 15745641Acct 488250000 Imad:
           0213Mmqfmp2M034724 Trn: 0663100044Vb
           YOUR REF: NONREF

02/13      Orig CO Name:Diamond Comic D           Orig ID:9775979001 Desc Date:Prfund                           90,894.50
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000026476842 Eed:250213
           Ind ID:9775979001                Ind Name:EFT File Name: Rp0447U      ACH
           Origin#:9090209001 CO Eff: 25/ 02/13                             250213
           Rp0447Ud Trn: 0446476842Tc

02/14      Orig CO Name:ADP Payroll Fees         Orig ID:9659605001 Desc Date:250214                                  102.70
           CO Entry Descr:ADP Fees Sec:CCD         Trace#:021000028981934
           Eed:250214    Ind ID:927836403247             Ind Name:683092188Diamond
           Comic                                                         550374703
           Trn: 0458981934Tc

02/14      Orig CO Name:ADP Payroll Fees         Orig ID:9659605001 Desc Date:250214                                   53.32
           CO Entry Descr:ADP Fees Sec:CCD         Trace#:021000028981933
           Eed:250214    Ind ID:927836403246             Ind Name:683092852Diamond
           Comic                                                         550374703
           Trn: 0458981933Tc

02/14      JPMorgan Access Transfer To Account0                 8307                                          100,000.00
           YOUR REF: 1005395045SB

02/14      Fedwire Debit Via: Her Bk Comrce            2287 A/C: Super7 Retail Inc US                           92,390.00
           Ref: Multiple Invoices Imad: 0214Mmqfmp2N035452 Trn: 0141000045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Bk Amer             9593 A/C: Beast Kingdom North                               107,830.74
           America CO Ltd US Ref:/Bnf/Inv Dcd250207,250204 Imad:
           0214Mmqfmp2K034732 Trn: 0144300045Vb
           YOUR REF: NONREF

02/14      Book Transfer Debit A/C: Royal Bank of Canada Payment Centertoronto On                               12,633.60
           Canada M5V2Y-1 CA Ref: Inv 105394 D416 Trn: 0140300045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Bmo Bank             0288 A/C: Viz Media LLC US Ref: Inv                          63,676.80
           102284/Time/16:20 Imad: 0214Mmqfmp2N035322 Trn: 0140100045Vb
           YOUR REF: NONREF


                                                                                                       Page 7 of 16
                     Case 25-10308            Doc 436-7     Filed 05/09/25         Page 80 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                            Account Number:                    5979




Withdrawals and Debits          (continued)

Ledger     Description                                                                                                Amount
Date

02/14      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                               35,102.52
           Canada M5E 1-G4 CA Trn: 0140500045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Bk Amer            9593 A/C: Transfair North America Intl                         20,000.00
           Freighus Imad: 0214Mmqfmp2N035330 Trn: 0141200045Vb
           YOUR REF: NONREF

02/14      Book Transfer Debit A/C: Hang Seng Bank Ltd Hong Kong Hong Kong Hk                                   11,548.40
           Ref:/Bnf/Inv D2412100 Trn: 0143400045Vb
           YOUR REF: NONREF

02/14      Book Transfer Debit A/C: Oversea Chinese Banking Corp Ltd Singapore                                    3,925.00
           Singapore 52968-0 Sg Ref: Inv Gt25020004 Trn: 0140200045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Pncbank            0053 A/C: Saul Ewing IOLTA Escrow                            200,000.00
           US Ref:/Bnf/Client/Matter: 391844.00001Diamond Escrow-Professional Fees
           Deb T OR Imad: 0214Mmqfmp2M034530 Trn: 0140600045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Bmo Bank           0782 A/C: Little Buddy LLC Garden                              72,953.00
           Grove CA 92841 US Ref: Multiple Invoices Imad: 0214Mmqfmp2N035331
           Trn: 0141100045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Bk of           0018 A/C: Raymond James & Associates                              50,000.00
           Inc US Ref: Deal Code 59T964/Bnf/Deal Code 59T964Inv 185606929089
           Imad: 0214Mmqfmp2M034531 Trn: 0141300045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via:                   0358 A/C: Pai Technology Inc US Ref:                            38,140.80
           Multiple Invoices/Time/16:20 Imad: 0214Mmqfmp2L035470 Trn:
           0140800045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Bk Amer            9593 A/C: Dice Habit LLC US Ref: Inv                           29,457.16
           8032 8073 Imad: 0214Mmqfmp2M034532 Trn: 0140900045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: TD Bank,           1360 A/C: Udon Entertainment Inc US                            25,961.99
           Ref: Inv 020225 Imad: 0214Mmqfmp2M034528 Trn: 0140400045Vb
           YOUR REF: NONREF

02/14      Fedwire Debit Via: Key Gr Lakes             1039 A/C: National                                       15,489.75
           Entertainment Hillside NJ 07205 US Ref:/Bnf/Invc0108432 Post Petition Imad:
           0214Mmqfmp2L035474 Trn: 0141500045Vb
           YOUR REF: NONREF

02/14      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan        81-76 Jp                         962,404.70
           Ref: Multiple Invoices/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp Trn:
           0616400045Vb
           YOUR REF: NONREF

02/18      Fedwire Debit Via: Key Gr Lakes             1039 A/C: National                                     221,769.65
           Entertainment Hillside NJ 07205 US Ref: Inv 20250120 Imad:
           0218Mmqfmp2N097338 Trn: 0502700049Vb
           YOUR REF: NONREF

02/18      Fedwire Debit Via: Pncbank           7607 A/C: Dynamic Forces Inc US Ref:                          209,389.83
           Inv 020225 Imad: 0218Mmqfmp2N097336 Trn: 0502600049Vb
           YOUR REF: NONREF

02/18      Fedwire Debit Via: Wells Fargo N        0248 A/C: Ara, Inc Minneapolis MN                          172,000.00
           55485-5917 US Ref:/Time/17:44 Imad: 0218Mmqfmp2N097335 Trn:
           0502900049Vb
           YOUR REF: NONREF

02/18      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                   94,002.12
           75019-3019 US Ref: Multiple Invoices Trn: 0502800049Vb
           YOUR REF: NONREF




                                                                                                       Page 8 of 16
                     Case 25-10308             Doc 436-7      Filed 05/09/25        Page 81 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                             Account Number:                   5979




Withdrawals and Debits        (continued)

Ledger     Description                                                                                                Amount
Date

02/18      Fedwire Debit Via: Fifth Third Bk NA/042000314 A/C: ADP Client Trust US                                5,000.00
           Ref: 24251 Diamond Comic Distributors/Bnf/24251 Diamond Comic
           Distr/Time/17 :44 Imad: 0218Mmqfmp2L097847 Trn: 0503100049Vb
           YOUR REF: NONREF

02/18      Fedwire Debit Via: Old Evansville IN/086300012 A/C: Epost Global LLC US                                4,500.00
           Imad: 0218Mmqfmp2L097849 Trn: 0503500049Vb
           YOUR REF: NONREF

02/19      Orig CO Name:Bancorpsv               Orig ID:1050006509 Desc Date:250219                               7,000.68
           CO Entry Descr:Bancorpsv Sec:CCD        Trace#:031101116356340
           Eed:250219    Ind ID:99994                 Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0496356340Tc

02/19      JPMorgan Access Transfer To Account                  8307                                            55,000.00
           YOUR REF: 1004746050SB

02/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         382,934.03
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 7453900050Jo
           YOUR REF: NONREF

02/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                           42,606.06
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 7458400050Jo
           YOUR REF: NONREF

02/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                           49,775.52
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 7454000050Jo
           YOUR REF: NONREF

02/19      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                             140,339.99
           Canada M5E 1-G4 CA Ref:/Bnf/26-193342-526-193358-61 Trn:
           7938200050Jo
           YOUR REF: NONREF

02/19      Loan Transaction                                                                                 1,510,000.00

02/20      Orig CO Name:Hnb-Luminare             Orig ID:1341858404 Desc Date:250220                            36,935.99
           CO Entry Descr:ACH Xfr     Sec:CCD     Trace#:044000026843152 Eed:250220
           Ind ID:Ecm5122                   Ind Name:6594615 Trn: 0516843152Tc

02/20      Orig CO Name:Hnb-Luminare             Orig ID:1341858404 Desc Date:250220                                  515.04
           CO Entry Descr:ACH Xfr     Sec:CCD     Trace#:044000026843153 Eed:250220
           Ind ID:Ecm5122-R                 Ind Name:6594615 Trn: 0516843153Tc

02/20      Orig CO Name:ADP Wage Garn              Orig ID:9333006057 Desc                                        2,417.07
           Date:250220 CO Entry Descr:Wage Garn Sec:CCD
           Trace#:021000027409477 Eed:250220         Ind ID:939334052664Svf           Ind
           Name:Diamond Comic Distribu
           323298036 Trn: 0517409477Tc

02/20      Fedwire Debit Via: Mellon Bank             0261 A/C: Penguin Random House                          429,791.12
           LLC US Ref: Ref Order 15745641 Prh021425 Imad: 0220Mmqfmp2L068264
           Trn: 0016900051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                          142,265.60
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 0015600051Vb
           YOUR REF: NONREF

02/20      Fedwire Debit Via: Citizens Bank,           0120 A/C: Titan Publishing Group                         41,934.73
           Ltd US Ref: Inv 17660 Imad: 0220Mmqfmp2N067813 Trn: 0013400051Vb
           YOUR REF: NONREF

02/20      Fedwire Debit Via: TD Bank,             1360 A/C: Udon Entertainment Inc US                          38,916.90
           Ref: Inv 020925 Imad: 0220Mmqfmp2L068268 Trn: 0015500051Vb
           YOUR REF: NONREF

02/20      Fedwire Debit Via: Wells Fargo            0248 A/C: The Hartford Philadelphia                        36,154.04
           PA. 19106 US Ref: Customer # 018192900001 Diamond Comic Distributors,
           Inc. Inv 093441611 128 And 093446279647/Time/16:53 Imad:
           0220Mmqfmp2N067808 Trn: 0016200051Vb
           YOUR REF: NONREF




                                                                                                       Page 9 of 16
                       Case 25-10308         Doc 436-7      Filed 05/09/25         Page 82 of 110

                                                                        February 01, 2025 through February 28, 2025
                                                                         Account Number:                     5979




Withdrawals and Debits      (continued)

Ledger     Description                                                                                           Amount
Date

02/20      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         22,912.71
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 0015800051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         19,097.09
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 0015700051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: Royal Bank of Canada Payment Centertoronto On                             16,869.60
           Canada M5V2Y-1 CA Ref: Inv 39 41 37 Trn: 0013200051Vb
           YOUR REF: NONREF

02/20      Fedwire Debit Via: Bk Amer            9593 A/C: Circana LLC US                                     15,489.75
           Ref:/Bnf/Invc0108432 Post Petition Imad: 0220Mmqfmp2N067812 Trn:
           0013500051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: American Fixture & Display Corp. Glendale NY                                5,868.36
           11385-6204 US Ref: Inv 52421 Trn: 0013300051Vb
           YOUR REF: NONREF

02/20      Fedwire Debit Via: Fnb of PA/043318092 A/C: Hermes Press & Geer US                                   5,356.31
           Imad: 0220Mmqfmp2N067807 Trn: 0015400051Vb
           YOUR REF: NONREF

02/20      Chips Debit Via: The Bank of New York Mellon/0001 A/C: Federation Des                              15,001.56
           Caisses Desjardins Dlevis Canada H5B 1B3 CA Ben: Drawn & Quarterly
           Books Inc Montreal, Qc, H2S 2S4 CA Ref: Various Sales Ssn: 00585899 Trn:
           0015300051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                           294,231.29
           Ref: Inv 300000000213/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 0547400051Vb
           YOUR REF: NONREF

02/20      Orig CO Name:Diamond Comic D          Orig ID:9775979001 Desc Date:Prfund                        328,690.57
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000023841951 Eed:250220
           Ind ID:9775979001               Ind Name:EFT File Name: Rp05162      ACH
           Origin#:9090209001 CO Eff: 25/ 02/20                             250220
           Rp05162R Trn: 0513841951Tc

02/21      Orig CO Name:Paysimple Billin       Orig ID:5330903620 Desc Date:250220                              4,006.31
           CO Entry Descr:ACH        Sec:CCD    Trace#:091000011791139 Eed:250221
           Ind ID:800-466-0992             Ind Name:Diamond Comic Distri Trn:
           0511791139Tc

02/21      Orig CO Name:ADP Payroll Fees        Orig ID:9659605001 Desc Date:250221                                   35.00
           CO Entry Descr:ADP Fees Sec:CCD        Trace#:021000022546354
           Eed:250221    Ind ID:375075612741            Ind Name:683478932Diamond
           Comic                                                       550374703
           Trn: 0522546354Tc

02/21      JPMorgan Access Transfer To Accoun                 3396                                          485,000.00
           YOUR REF: 1004134052SB

02/21      JPMorgan Access Transfer To Account                8307                                            10,000.00
           YOUR REF: 1004133052SB

02/21      Book Transfer Debit A/C: JPMorgan Chase Bank NA Elgin IL 60124-7836 US                             50,000.00
           Ref: Acct             0004 7849/Bnf/Acct 5563 7579 0004 7849 Trn:
           6851400052Jo
           YOUR REF: NONREF

02/21      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                             13,201.24
           Canada M5E 1-G4 CA Ref:/Bnf/Assn 135 Dynamic Trn: 7508200052Jo
           YOUR REF: NONREF

02/21      Chips Debit Via: Bnp Paribas Sa New York Branch/0768 A/C: Bnp Paribas                                     259.87
           London Branch London United Kingdom Gb Ben: Panini Uk Ltd USD Gb Ref:
           Inv 011925A Ssn: 00579388 Trn: 7507900052Jo
           YOUR REF: NONREF




                                                                                                     Page 10 of 16
                     Case 25-10308           Doc 436-7        Filed 05/09/25       Page 83 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                             Amount
Date

02/21      Book Transfer Debit A/C: Hdfc Bank Ltd Kanjur Marg East Mumbai India IN                                     112.00
           Ref: Inv 011925 Trn: 7508000052Jo
           YOUR REF: NONREF

02/21      Fedwire Debit Via: Pncbank              0053 A/C: Saul Ewing IOLTA Escrow                          225,000.00
           US Ref: Client: 391844.00001 Diamond Escrowprofessional Fees Debtor
           Imad: 0221Mmqfmp2N065218 Trn: 7508100052Jo
           YOUR REF: NONREF

02/21      Chips Debit Via: The Bank of New York Mellon/0001 A/C: Federation Des                                  1,405.27
           Caisses Desjardins Dlevis Canada H5B 1B3 CA Ben: Drawn & Quarterly
           Books Inc Montreal, Qc, H2S 2S4 CA Ref: Inv 011925 Ssn: 00579404 Trn:
           7508400052Jo
           YOUR REF: NONREF

02/21      Orig CO Name:Diamond Comic D            Orig ID:9775979001 Desc Date:Prfund                          96,132.23
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000027012259 Eed:250221
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0524S       ACH
           Origin#:9090209001 CO Eff: 25/ 02/21                             250221
           Rp0524SC Trn: 0527012259Tc

02/24      Orig CO Name:J.P. Morgan             Orig ID:5841455663 Desc Date:     CO                            41,037.15
           Entry Descr:J.P.Morgansec:CTX        Trace#:042000012344629 Eed:250224
           Ind ID:693496735926              Ind Name:0005Non-Executive
           Payments-Psc Trn: 0552344629Tc

02/24      Orig CO Name:J.P. Morgan             Orig ID:5841455663 Desc Date:     CO                              5,067.14
           Entry Descr:J.P.Morgansec:CTX        Trace#:042000012344636 Eed:250224
           Ind ID:693496736861              Ind Name:0005Executive
           Payments-Psc Trn: 0552344636Tc

02/24      Orig CO Name:J.P. Morgan             Orig ID:5841455663 Desc Date:     CO                              2,294.10
           Entry Descr:J.P.Morgansec:CTX        Trace#:042000012344617 Eed:250224
           Ind ID:693496735924              Ind Name:0005Renegade Games L
           Payments-Psc Trn: 0552344617Tc

02/24      Orig CO Name:J.P. Morgan             Orig ID:5841455663 Desc Date:     CO                                    89.25
           Entry Descr:J.P.Morgansec:CTX        Trace#:042000012344623 Eed:250224
           Ind ID:693496735925              Ind Name:0005Non-Executive
           Payments-Psc Trn: 0552344623Tc

02/24      Fedwire Debit Via: Wells Fargo NA/        0248 A/C: Ara, Inc Minneapolis MN                        152,000.00
           55485-5917 US Ref:/Time/16:21 Imad: 0224Mmqfmp2L032632 Trn:
           7942300055Jo
           YOUR REF: NONREF

02/24      Fedwire Debit Via: Brookline Bank/       1489 A/C: Boss Fight Studio LLC US                          79,598.54
           Ref: Multiple Invoices/Time/16:21 Imad: 0224Mmqfmp2L032631 Trn:
           7941400055Jo
           YOUR REF: NONREF

02/24      Fedwire Debit Via: Old Evansville IN/      0012 A/C: Epost Global LLC US                               4,500.00
           Imad: 0224Mmqfmp2N032736 Trn: 7941500055Jo
           YOUR REF: NONREF

02/24      Fedwire Debit Via: Pncbank NJ/031207607 A/C: Dynamic Forces Inc US                                 101,365.44
           Imad: 0224Mmqfmp2M032033 Trn: 7942500055Jo
           YOUR REF: NONREF

02/24      Book Transfer Debit A/C: Resona Bank, Ltd. Tokyo        0022 Japan Jp Ref:                         272,848.56
           Inv Mtc250025 Trn: 8046400055Jo
           YOUR REF: NONREF

02/24      Fedwire Debit Via: Bmo Bank NA           0288 A/C: Viz Media LLC US Ref: Inv                       138,204.72
           2112025/Time/16:36 Imad: 0224Mmqfmp2K033047 Trn: 8046200055Jo
           YOUR REF: NONREF

02/24      Book Transfer Debit A/C: Sumitomo Mitsui Banking Corporationchiyoda-Ku                             114,193.46
           Tokyo Japan 51500-0 Jp Ref: Inv St2501000043 St2501000043A Trn:
           8046100055Jo
           YOUR REF: NONREF




                                                                                                       Page 11 of 16
                    Case 25-10308            Doc 436-7      Filed 05/09/25         Page 84 of 110

                                                                         February 01, 2025 through February 28, 2025
                                                                         Account Number:                      5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                            Amount
Date

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                              9,105.16
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802926 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           2025022025                                           ACH Transaction Trn:
           0550802926Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                              6,174.49
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802924 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           2025027022                                           ACH Transaction Trn:
           0550802924Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                              4,034.36
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802902 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202501502R                                           ACH Transaction Trn:
           0550802902Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                              3,805.58
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802922 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202503502Z                                           ACH Transaction Trn:
           0550802922Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                              2,775.72
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802897 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202502903P                                           ACH Transaction Trn:
           0550802897Tc

02/25      Orig CO Name:Bancorpsv             Orig ID:1050006509 Desc Date:250225                                2,098.57
           CO Entry Descr:Bancorpsv Sec:CCD       Trace#:031101110802931
           Eed:250225    Ind ID:99994                Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0550802931Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                                   717.76
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802899 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202502801Z                                           ACH Transaction Trn:
           0550802899Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                                   669.02
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802911 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           27250300CR                                           ACH Transaction Trn:
           0550802911Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                                   662.13
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802904 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202501702D                                           ACH Transaction Trn:
           0550802904Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                                   661.71
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802909 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202503002V                                           ACH Transaction Trn:
           0550802909Tc

02/25      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250224 CO                                   571.23
           Entry Descr:Payment   Sec:CCD      Trace#:041036040802928 Eed:250225
           Ind ID:0000                  Ind Name:Diamond Comic Distrib    042265
           202502402I                                          ACH Transaction Trn:
           0550802928Tc




                                                                                                      Page 12 of 16
                     Case 25-10308            Doc 436-7      Filed 05/09/25         Page 85 of 110

                                                                          February 01, 2025 through February 28, 2025
                                                                           Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                             Amount
Date

02/25      Orig CO Name:US Cbp                Orig ID:7005009701 Desc Date:250224 CO                                   481.30
           Entry Descr:Payment    Sec:CCD      Trace#:041036040802919 Eed:250225
           Ind ID:0000                   Ind Name:Diamond Comic Distrib    042265
           2025041024                                            ACH Transaction Trn:
           0550802919Tc

02/25      Orig CO Name:US Cbp                Orig ID:7005009701 Desc Date:250224 CO                                   362.11
           Entry Descr:Payment    Sec:CCD      Trace#:041036040802917 Eed:250225
           Ind ID:0000                   Ind Name:Diamond Comic Distrib    042265
           2025023022                                            ACH Transaction Trn:
           0550802917Tc

02/25      Orig CO Name:US Cbp                Orig ID:7005009701 Desc Date:250224 CO                                   209.13
           Entry Descr:Payment    Sec:CCD      Trace#:041036040802914 Eed:250225
           Ind ID:0000                   Ind Name:Diamond Comic Distrib    042265
           2025038022                                            ACH Transaction Trn:
           0550802914Tc

02/25      Orig CO Name:US Cbp                Orig ID:7005009701 Desc Date:250224 CO                                   127.74
           Entry Descr:Payment    Sec:CCD      Trace#:041036040802907 Eed:250225
           Ind ID:0000                   Ind Name:Diamond Comic Distrib    042265
           202502101Z                                            ACH Transaction Trn:
           0550802907Tc

02/25      Fedwire Debit Via: Mellon Bank             0261 A/C: Penguin Random House                            28,601.23
           LLC US Ref:/Bnf/Order#15951830Acct#           0002 Imad:
           0225Mmqfmp2N029610 Trn: 7791700056Jo
           YOUR REF: NONREF

02/25      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                 123,882.53
           75019-3019 US Trn: 7791500056Jo
           YOUR REF: NONREF

02/26      Orig CO Name:ADP Payroll Fees         Orig ID:9659605001 Desc Date:250226                                   233.70
           CO Entry Descr:ADP Fees Sec:CCD          Trace#:021000024368417
           Eed:250226    Ind ID:925435971833             Ind Name:683717731Diamond
           Comic                                                          550374703
           Trn: 0574368417Tc

02/26      Orig CO Name:ADP Payroll Fees         Orig ID:9659605001 Desc Date:250226                                    97.30
           CO Entry Descr:ADP Fees Sec:CCD          Trace#:021000024368418
           Eed:250226    Ind ID:925435971834             Ind Name:683717870Diamond
           Comic                                                          550374703
           Trn: 0574368418Tc

02/26      Foreign Exchange Debit A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark                                26,736.36
           DE 197132107 US Org: 00000000381775979 Diamond Comic Distributors,
           Inc. Ben:/215223 Megahouse Corporation Ref: Inv
           202501145209/Ocmt/Jpy3882120,00/Exch/145.2/Cntr/57455886/ Trn:
           8283500057Re
           YOUR REF: 9377452

02/26      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                               45,082.50
           Canada M5E 1-G4 CA Ref:/Bnf/Dyn Assn# 136 Trn: 9112000057Jo
           YOUR REF: NONREF

02/26      Book Transfer Debit A/C: Bank of China Hong Kong Ltd West Kowloon Hong                               31,137.72
           Kong Hk Ref: Inv Pi2410055 Pi2411091 Pi 2411092 Sadn2250203 Trn:
           9111600057Jo
           YOUR REF: NONREF

02/26      Fedwire Debit Via: Citibank            0089 A/C: Hachette Book Group US                              84,197.90
           Ref: Multiple Invoices/Time/16:46 Imad: 0226Mmqfmp2L033787 Trn:
           9111500057Jo
           YOUR REF: NONREF

02/26      Fedwire Debit Via: Citizens Bank, NA/0      0120 A/C: Titan Publishing Group                         41,442.29
           Ltd US Ref: Inv 022125 Imad: 0226Mmqfmp2M033174 Trn: 9111900057Jo
           YOUR REF: NONREF




                                                                                                       Page 13 of 16
                     Case 25-10308            Doc 436-7       Filed 05/09/25        Page 86 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                              Amount
Date

02/26      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                115,863.70
           Banking Corpohong Kong Hong Kong Hk Ben: Threezero (Hong Kong) Ltd Hk
           Ref: Multiple Invoices Ssn: 00567469 Trn: 9111400057Jo
           YOUR REF: NONREF

02/26      Fedwire Debit Via: Bk Comrce              5821 A/C: Ucc Distributing Inc US                         131,217.76
           Ref: Multiple Invoices Imad: 0226Mmqfmp2N033844 Trn: 9111700057Jo
           YOUR REF: NONREF

02/26      Book Transfer Debit A/C: Dark Horse Comics, Inc. Milwaukie OR 97222- US                                      981.62
           Ref: Inv 012625 Trn: 9111800057Jo
           YOUR REF: NONREF

02/26      Fedwire Debit Via: Mellon Bank Pitts        0261 A/C: Penguin Random House                          127,874.36
           LLC US Ref:/Bnf/Fcbd Order Imad: 0226Mmqfmp2N033845 Trn:
           9113900057Jo
           YOUR REF: NONREF

02/26      Fedwire Debit Via: Bmo Bank              0782 A/C: Little Buddy LLC Garden                          126,111.00
           Grove CA 92841 US Ref: Multiple Invoices Imad: 0226Mmqfmp2N033856
           Trn: 9111300057Jo
           YOUR REF: NONREF

02/26      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                        253,004.17
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000024253905 Eed:250226
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0575U        ACH
           Origin#:9090209001 CO Eff: 25/ 02/26                              250226
           Rp0575Uc Trn: 0574253905Tc

02/27      Orig CO Name:Hnb-Luminare              Orig ID:1341858404 Desc Date:250227                          155,759.36
           CO Entry Descr:ACH Xfr    Sec:CCD       Trace#:044000026785833 Eed:250227
           Ind ID:Ecm5122                  Ind Name:6629520 Trn: 0586785833Tc

02/27      Orig CO Name:Hnb-Luminare              Orig ID:1341858404 Desc Date:250227                                   812.60
           CO Entry Descr:ACH Xfr    Sec:CCD       Trace#:044000026785834 Eed:250227
           Ind ID:Ecm5122-R                Ind Name:6629520 Trn: 0586785834Tc

02/27      Book Transfer Debit A/C: Diamond Comic Distributors, Inc Hunt Valley MD                               12,000.00
                   3340 US Trn: 0677800058Vb
           YOUR REF: NONREF

02/27      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                                76,225.16
           Ref: Inv 300000000220/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 0676200058Vb
           YOUR REF: NONREF

02/27      Fedwire Debit Via: Mellon Bank Pitts/        261 A/C: Penguin Random House                          376,422.93
           LLC US Ref: Order15980679 Imad: 0227Mmqfmp2L036718 Trn:
           0677900058Vb
           YOUR REF: NONREF

02/27      JPMorgan Access Transfer To Account                  8307                                             10,000.00
           YOUR REF: 1006177058SB

02/27      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                        103,459.26
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000023075456 Eed:250227
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0586Y        ACH
           Origin#:9090209001 CO Eff: 25/ 02/27                              250227
           Rp0586Y3 Trn: 0583075456Tc

02/28      Orig CO Name:ADP Payroll Fees           Orig ID:9659605001 Desc Date:250228                                   53.32
           CO Entry Descr:ADP Fees Sec:CCD          Trace#:021000024732170
           Eed:250228    Ind ID:400064232717               Ind Name:683937135Diamond
           Comic                                                          550374703
           Trn: 0594732170Tc

02/28      Fedwire Debit Via: Pncbank Phil/        0053 A/C: Saul Ewing IOLTA Escrow                           325,000.00
           US Ref:/Bnf/Client: 391844.00001Diamond Escrow Prof Feesdebtor Imad:
           0228Mmqfmp2M080110 Trn: 0576400059Vb
           YOUR REF: NONREF




                                                                                                        Page 14 of 16
                     Case 25-10308             Doc 436-7      Filed 05/09/25          Page 87 of 110

                                                                           February 01, 2025 through February 28, 2025
                                                                            Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                              Amount
Date

02/28      Book Transfer Debit A/C: Banca Sella Spa Biella Italy 13900 It Ref: Inv                                 5,510.00
           25H5587 Trn: 0575800059Vb
           YOUR REF: NONREF

02/28      Book Transfer Debit A/C: JPMorgan NY Participant On Partior Tampa FL                                         143.60
           33647 US Ben:/008-902734-4 Difference Engine Pte Ltd Ref: Inv 012625
           020925 011925 Trn: 0575200059Vb
           YOUR REF: NONREF

02/28      Book Transfer Debit A/C: Industrial & Commercial Bank of Shanghai 200120                            949,878.00
           China Cn Ref: Inv 250122Dcd/Reg/Gds/ Trn: 0575000059Vb
           YOUR REF: NONREF

02/28      Fedwire Debit Via: Bk of Nyc/        0018 A/C: Raymond James & Associates                           150,000.00
           Inc US Ref: Deal Code 59T964 Inv 185608418380/Bnf/Deal Code 59T964
           Imad: 0228Mmqfmp2M080184 Trn: 0575300059Vb
           YOUR REF: NONREF

02/28      Chips Debit Via: Bank of America, N.A./0959 A/C: Hasbro, Inc. Pawtucket, RI.                          49,078.32
           02861 US Ref: Inv# 022625 Ssn: 00763400 Trn: 0575400059Vb
           YOUR REF: NONREF

02/28      Book Transfer Debit A/C: Hdfc Bank Ltd Kanjur Marg East Mumbai India IN                                      184.00
           Ref: Inv 012625 Trn: 0575700059Vb
           YOUR REF: NONREF

02/28      Orig CO Name:Diamond Comic D            Orig ID:9775979001 Desc Date:Prfund                                  540.00
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000025078991 Eed:250228
           Ind ID:9775979001                Ind Name:EFT File Name: Rp0594Z          ACH
           Origin#:9090209001 CO Eff: 25/ 02/28                              250228
           Rp0594Zw Trn: 0595078991Tc

Total                                                                                                    $16,913,947.36




Daily Balance


                                               Ledger                                                                   Ledger
Date                                          Balance       Date                                                    Balance

02/03                                       $38,364.73      02/18                                          $1,650,794.78
02/04                                      $115,104.09      02/19                                            $166,137.80
02/05                                       $79,188.02      02/20                                            $863,690.07
02/06                                      $206,180.82      02/21                                                $9,298.75
02/07                                       $48,011.23      02/24                                              $21,051.72
02/10                                       $87,152.06      02/25                                            $366,242.23
02/11                                       $43,785.08      02/26                                              $89,913.60
02/12                                       $25,622.51      02/27                                            $190,659.70
02/13                                      $147,813.71      02/28                                            $303,834.92
02/14                                       $79,336.51




          Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                        Page 15 of 16
Case 25-10308      Doc 436-7        Filed 05/09/25   Page 88 of 110




                This Page Intentionally Left Blank




                                                                  Page 16 of 16
                                                            Case 25-10308               Doc 436-7           Filed 05/09/25            Page 89 of 110

        JPMorgan Chase Bank N.A.

        Suite 4500Þ TD Bank Tower

        66 Wellington Street West

        TorontoÞ ON M5K 1E7




                                                                                                                        JPMorgan Chase BankÞ N.A - Toronto Branch

                                                                                                                        Suite 4500Þ TD Bank Tower

                                                                                                                        66 Wellington Street West

                                                                                                                        TorontoÞ Ontario
        04243 X01 931 001 020 06025

                                                                                                                        M5K 1E7
        DIAMOND COMIC DISTRIBUTORSÞ INC.
                                                                                                                        Canada
        10150 YORK RD
                                                                                                                        SWIFT BICÐ CHASCATTCTS
        HUNT VALLEY MD 210303340 USA


                                                                                                                        TelephoneÐ+1 â416á 981-9200

                                                                                                                        FaxÐ+1 â416á 981-2340




                                                                                                                        PAGE NUMBERÐ 1 of 5




In case of error or questions about your statement contact us using the above addressÛtelephone numbers as soon as you can. If you think your statement or receipt is incorrect or if you need additional informati on

about an entry listed on your statement or receiptÞ we must hear from you no later than 30 days after we send the first statement on which the problem or error appeared. If you tell us orallyÞ we may require that you

send us your complaint or question in writing within 10 business days. Should it be necessary to lodge a formal complaint you may do so in writing toÐ Complaints OfficerÞ at the address posted above. If you are not

 satisfied with our efforts to resolve your complaintÞ you may contact the Financial Consumer Agency of Canada â“The Agency”á at www.fcac-acfc.qc.ca or call the Agency at 1-866-461-3222. You may write to the

                            Agency at the following addressÐ Financial Consumer Agency of CanadaÞ 6th FloorÞ Enterprise BuildingÞ 427 Laurier Avenue WestÞ OttawaÞ Ontario K1R 1B9.
                                                      Case 25-10308         Doc 436-7           Filed 05/09/25         Page 90 of 110
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                   STATEMENT DATEÐ 28 FEB 2025

 ACCOUNT NUMBERÐ              9564                                                              CURRENCYÐ CAD

 IBANÐ                                                                                          STATEMENT PERIOD FROMÐ 1 FEB 2025 TO 28 FEB 2025

 BBANÐ         9564                                                                             STATEMENT NUMBERÐ 000062

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                           PAGE NUMBERÐ 2 of 5

                                                                                                TAX IDÐ




               Reference                    Transaction   Transaction   Value Date               Debits                           Credits                             Balance

                                               Date          Type


Previous Balance                             31 JAN                                                                                                                             116Þ820.45


Outgoing Wire Payment                         3 FEB          TRF          3 FEB                            20Þ000.00                                                             96Þ820.45

  CUSTREFÐ 9377452Ï BANK REFÐ

  5267984   31600Ï

  BENEFICIARY CANPAR EXPRESS INC

Lockbox                                       4 FEB          LBX          4 FEB                                                             204Þ284.94                          301Þ105.39

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502047174211Ï

  ÛSYSREFÛCL2502047174211ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ151 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Lockbox                                       6 FEB          LBX          6 FEB                                                              16Þ980.78                          318Þ086.17

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502067209674Ï

  ÛSYSREFÛCL2502067209674ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ15 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Outgoing Wire Payment                        10 FEB          TRF         10 FEB                           310Þ000.00                                                              8Þ086.17

  CUSTREFÐ 86314692Ï BANK REFÐ

  6651161   31600Ï

  BENEFICIARY CHASUS33

Lockbox                                      10 FEB          LBX         10 FEB                                                              59Þ623.99                           67Þ710.16

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502107250231Ï

  ÛSYSREFÛCL2502107250231ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ10 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

                                                                                     Total Dr             330Þ000.00   Total Cr             280Þ889.71   Net MÛMent             -49Þ110.29
                                                      Case 25-10308         Doc 436-7           Filed 05/09/25         Page 91 of 110
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                   STATEMENT DATEÐ 28 FEB 2025

 ACCOUNT NUMBERÐ              9564                                                              CURRENCYÐ CAD

 IBANÐ                                                                                          STATEMENT PERIOD FROMÐ 1 FEB 2025 TO 28 FEB 2025

 BBANÐ         9564                                                                             STATEMENT NUMBERÐ 000062

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                           PAGE NUMBERÐ 3 of 5

                                                                                                TAX IDÐ




               Reference                    Transaction   Transaction   Value Date               Debits                           Credits                             Balance

                                               Date          Type

Outgoing Wire Payment                        11 FEB          TRF         11 FEB                            20Þ000.00                                                             47Þ710.16

  CUSTREFÐ 9377452Ï BANK REFÐ

  7012334   31600Ï

  BENEFICIARY CANPAR EXPRESS INC

Lockbox                                      11 FEB          LBX         11 FEB                                                              78Þ495.37                          126Þ205.53

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502117270645Ï

  ÛSYSREFÛCL2502117270645ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ67 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Lockbox                                      12 FEB          LBX         12 FEB                                                               3Þ411.86                          129Þ617.39

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502127285188Ï

  ÛSYSREFÛCL2502127285188ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ3 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Outgoing Wire Payment                        19 FEB          TRF         19 FEB                            20Þ000.00                                                            109Þ617.39

  CUSTREFÐ 9377452Ï BANK REFÐ

  9293239   31600Ï

  BENEFICIARY CANPAR EXPRESS INC

Monthly AC Analysis Charges                  20 FEB          CHG         20 FEB                             1Þ454.84                                                            108Þ162.55

Lockbox                                      20 FEB          LBX         20 FEB                                                              59Þ516.35                          167Þ678.90

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502207377532Ï

  ÛSYSREFÛCL2502207377532ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ37 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Outgoing Wire Payment                        21 FEB          TRF         21 FEB                           100Þ000.00                                                             67Þ678.90

  CUSTREFÐ 36494446Ï BANK REFÐ

  9646087   31600Ï

  BENEFICIARY CHASUS33

                                                                                     Total Dr             471Þ454.84   Total Cr             422Þ313.29   Net MÛMent             -49Þ141.55
                                                      Case 25-10308         Doc 436-7           Filed 05/09/25         Page 92 of 110
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                   STATEMENT DATEÐ 28 FEB 2025

 ACCOUNT NUMBERÐ              9564                                                              CURRENCYÐ CAD

 IBANÐ                                                                                          STATEMENT PERIOD FROMÐ 1 FEB 2025 TO 28 FEB 2025

 BBANÐ          9564                                                                            STATEMENT NUMBERÐ 000062

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                           PAGE NUMBERÐ 4 of 5

                                                                                                TAX IDÐ




                Reference                   Transaction   Transaction   Value Date               Debits                           Credits                             Balance

                                               Date          Type

Lockbox                                      21 FEB          LBX         21 FEB                                                               3Þ417.87                           71Þ096.77

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502217402660Ï

  ÛSYSREFÛCL2502217402660ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ5 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Outgoing Wire Payment                        24 FEB          TRF         24 FEB                            20Þ000.00                                                             51Þ096.77

  CUSTREFÐ 9377452Ï BANK REFÐ

  1341138   31600Ï

  BENEFICIARY CANPAR EXPRESS INC

Lockbox                                      25 FEB          LBX         25 FEB                                                              90Þ678.70                          141Þ775.47

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502257448184Ï

  ÛSYSREFÛCL2502257448184ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ63 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Outgoing Wire Payment                        26 FEB          TRF         26 FEB                              805.58                                                             140Þ969.89

  CUSTREFÐ 9377452Ï BANK REFÐ

  2065870   31600Ï

  BENEFICIARY FRASER DIRECT

  DISTRIBUTION SERVICES

Lockbox                                      26 FEB          LBX         26 FEB                                                               6Þ141.25                          147Þ111.14

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502267467958Ï

  ÛSYSREFÛCL2502267467958ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ7 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Inward Clearing Debit                        26 FEB          CHK         26 FEB                             4Þ633.05                                                            142Þ478.09

  CUSTREFÐ 1760Ï

                                                                                     Total Dr             496Þ893.47   Total Cr             522Þ551.11   Net MÛMent              25Þ657.64
                                                      Case 25-10308          Doc 436-7          Filed 05/09/25         Page 93 of 110
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                   STATEMENT DATEÐ 28 FEB 2025

 ACCOUNT NUMBERÐ                 9564                                                           CURRENCYÐ CAD

 IBANÐ                                                                                          STATEMENT PERIOD FROMÐ 1 FEB 2025 TO 28 FEB 2025

 BBANÐ          9564                                                                            STATEMENT NUMBERÐ 000062

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                           PAGE NUMBERÐ 5 of 5

                                                                                                TAX IDÐ




                Reference                   Transaction   Transaction   Value Date               Debits                           Credits                             Balance

                                               Date          Type

Lockbox                                      27 FEB          LBX         27 FEB                                                               3Þ570.60                          146Þ048.69

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2502277487466Ï

  ÛSYSREFÛCL2502277487466ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

                                                                                     Total Dr             496Þ893.47   Total Cr             526Þ121.71   Net MÛMent              29Þ228.24




Number of Debit TransactionsÐ                                           9

Number of Credit TransactionsÐ                                          10
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 94 of 110
                                                            Case 25-10308               Doc 436-7           Filed 05/09/25            Page 95 of 110

        JPMorgan Chase Bank N.A.

        Suite 4500Þ TD Bank Tower

        66 Wellington Street West

        TorontoÞ ON M5K 1E7




                                                                                                                        JPMorgan Chase BankÞ N.A - Toronto Branch

                                                                                                                        Suite 4500Þ TD Bank Tower

                                                                                                                        66 Wellington Street West

                                                                                                                        TorontoÞ Ontario
        03108 X01 931 001 020 06025

                                                                                                                        M5K 1E7
        DIAMOND COMIC DISTRIBUTORSÞ INC.
                                                                                                                        Canada
        10150 YORK RD
                                                                                                                        SWIFT BICÐ CHASCATTCTS
        HUNT VALLEY MD 210303340 USA


                                                                                                                        TelephoneÐ+1 â416á 981-9200

                                                                                                                        FaxÐ+1 â416á 981-2340




                                                                                                                        PAGE NUMBERÐ 1 of 3




In case of error or questions about your statement contact us using the above addressÛtelephone numbers as soon as you can. If you think your statement or receipt is incorrect or if you need additional informati on

about an entry listed on your statement or receiptÞ we must hear from you no later than 30 days after we send the first statement on which the problem or error appeared. If you tell us orallyÞ we may require that you

send us your complaint or question in writing within 10 business days. Should it be necessary to lodge a formal complaint you may do so in writing toÐ Complaints OfficerÞ at the address posted above. If you are not

 satisfied with our efforts to resolve your complaintÞ you may contact the Financial Consumer Agency of Canada â“The Agency”á at www.fcac-acfc.qc.ca or call the Agency at 1-866-461-3222. You may write to the

                            Agency at the following addressÐ Financial Consumer Agency of CanadaÞ 6th FloorÞ Enterprise BuildingÞ 427 Laurier Avenue WestÞ OttawaÞ Ontario K1R 1B9.
                                                      Case 25-10308         Doc 436-7           Filed 05/09/25        Page 96 of 110
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                   STATEMENT DATEÐ 28 FEB 2025

 ACCOUNT NUMBERÐ              9566                                                              CURRENCYÐ USD

 IBANÐ                                                                                          STATEMENT PERIOD FROMÐ 1 FEB 2025 TO 28 FEB 2025

 BBANÐ         9566                                                                             STATEMENT NUMBERÐ 000060

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                           PAGE NUMBERÐ 2 of 3

                                                                                                TAX IDÐ




               Reference                    Transaction   Transaction   Value Date               Debits                          Credits                            Balance

                                               Date          Type


Previous Balance                             31 JAN                                                                                                                           37Þ533.83


Lockbox                                       6 FEB          LBX          7 FEB                                                             5Þ052.47                          42Þ586.30

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2502067209500Ï

  ÛSYSREFÛCL2502067209500ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ2 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Outgoing Wire Payment                         7 FEB          TRF          7 FEB                           40Þ000.00                                                            2Þ586.30

  CUSTREFÐ 9377452Ï BANK REFÐ

  6654427   31600Ï

  BENEFICIARY DIAMOND COMIC

  DISTRIBUTORSÞ INC.

Lockbox                                      11 FEB          LBX         12 FEB                                                             2Þ574.56                           5Þ160.86

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2502117268590Ï

  ÛSYSREFÛCL2502117268590ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Lockbox                                      18 FEB          LBX         19 FEB                                                             3Þ841.67                           9Þ002.53

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2502187348865Ï

  ÛSYSREFÛCL2502187348865ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Monthly AC Analysis Charges                  20 FEB          CHG         20 FEB                             471.00                                                             8Þ531.53

                                                                                     Total Dr             40Þ471.00   Total Cr             11Þ468.70   Net MÛMent             -29Þ002.30
                                                      Case 25-10308         Doc 436-7           Filed 05/09/25        Page 97 of 110
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                   STATEMENT DATEÐ 28 FEB 2025

 ACCOUNT NUMBERÐ                 9566                                                           CURRENCYÐ USD

 IBANÐ                                                                                          STATEMENT PERIOD FROMÐ 1 FEB 2025 TO 28 FEB 2025

 BBANÐ          9566                                                                            STATEMENT NUMBERÐ 000060

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                           PAGE NUMBERÐ 3 of 3

                                                                                                TAX IDÐ




                Reference                   Transaction   Transaction   Value Date               Debits                          Credits                            Balance

                                               Date          Type

Lockbox                                      25 FEB          LBX         26 FEB                                                             5Þ719.21                          14Þ250.74

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2502257447960Ï

  ÛSYSREFÛCL2502257447960ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

                                                                                     Total Dr             40Þ471.00   Total Cr             17Þ187.91   Net MÛMent             -23Þ283.09




Number of Debit TransactionsÐ                                           2

Number of Credit TransactionsÐ                                          4
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 98 of 110
                            Case 25-10308            Doc 436-7            Filed 05/09/25       Page 99 of 110

                                                                                      February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      6266
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00073999 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       CONTROLLED DISBURSEMENT ACCOUNT
       --
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                      Shares


Opening Ledger Balance                                                                                   $0.00


Deposits and Credits                                                     17                      $367,303.12


Withdrawals and Debits                                                    0                              $0.00


List Posted Items                                                        27                       $88,878.17


Checks Paid                                                              54                      $278,424.95


Ending Ledger Balance                                                                                    $0.00


Deposits and Credits

Ledger              Description                                                                                                    Amount

Date


02/04              Abr Special - A Increase                                                                                      $25,973.63

02/05              Abr Special - A Increase                                                                                         437.85

02/07              Abr Special - A Increase                                                                                      130,059.07

02/10              Abr Special - A Increase                                                                                        3,097.13

02/11              Abr Special - A Increase                                                                                        1,480.18

02/12              Abr Special - A Increase                                                                                        4,381.02

02/13              Abr Special - A Increase                                                                                        2,299.22

02/14              Abr Special - A Increase                                                                                       28,213.70

02/18              Abr Special - A Increase                                                                                       17,105.80

02/19              Abr Special - A Increase                                                                                       17,924.58

02/20              Abr Special - A Increase                                                                                        9,424.27

02/21              Abr Special - A Increase                                                                                        5,540.45

02/24              Abr Special - A Increase                                                                                        8,400.00

02/25              Abr Special - A Increase                                                                                       70,953.59

02/26              Abr Special - A Increase                                                                                        6,997.01

02/27              Abr Special - A Increase                                                                                        1,790.99


* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
                                                                                                                   Page 1 of 4
                              Case 25-10308          Doc 436-7        Filed 05/09/25         Page 100 of 110

                                                                                     February 01, 2025 through February 28, 2025
                                                                                      Account Number:                     6266




Deposits and Credits                (continued)


Ledger              Description                                                                                                 Amount

Date


02/28               Abr Special - A Increase                                                                               33,224.63

Total                                                                                                                  $367,303.12



Withdrawals and Debits

Ledger              Description                                                                                                 Amount

Date

02/19               List Posted Items Quantity               10                                                          $17,924.58

02/25               List Posted Items Quantity               17                                                            70,953.59

Total*                                                                                                                            $0.00
*This total excludes the List Posted Items amount set forth in the summary above.



Checks Paid

         Check      Date Paid         Amount        Check    Date Paid          Amount         Check     Date Paid              Amount

         141663     02/13            $419.04       141702    02/11             $110.85        141739*     02/21            $5,100.53
         141679*    02/05            $427.22       141704*   02/12            $4,381.02       141742*     02/27                 $103.83
         141682*    02/04           $8,844.47      141706*   02/18           $11,117.53       141743      02/27                 $141.36
         141683     02/07         $129,762.87      141707    02/18             $132.30        141746*     02/26                 $389.08
         141684     02/07               $3.41      141708    02/18             $342.89        141748*     02/26            $1,249.46
         141685     02/04          $16,109.86      141711*   02/14            $1,586.54       141751*     02/20                 $199.00
         141687*    02/10           $3,051.87      141714*   02/21             $289.92        141759*     02/20            $4,233.10
         141688     02/05             $10.63       141715    02/20            $1,500.00       141761*     02/28          $14,563.42
         141689     02/07            $292.79       141716    02/21             $150.00        141764*     02/28                   $9.79
         141690     02/10             $45.26       141718*   02/14              $75.00        141767*     02/28            $1,916.67
         141691     02/04           $1,019.30      141721*   02/18             $192.35        141769*     02/26                 $234.38
         141692     02/11           $1,000.00      141722    02/18             $350.00        141772*     02/26            $2,484.25
         141693     02/11            $153.51       141723    02/14           $25,351.51       141775*     02/27                 $922.80
         141696*    02/18           $4,817.53      141724    02/14            $1,200.65       141782*     02/28            $3,350.00
         141697     02/11            $215.82       141725    02/20              $13.28        141789*     02/28          $10,464.68
         141698     02/13           $1,880.18      141727*   02/20            $2,576.49       141792*     02/28            $2,920.07
         141700*    02/24           $8,400.00      141735*   02/26            $2,240.00       141794*     02/26                 $399.84
         141701     02/18            $153.20       141736    02/20             $902.40        141801*     02/27                 $623.00


Total          54 check(s)                                                                                            $278,424.95
* indicates gap in sequence


Daily Balance


                                                      Ledger                                                                    Ledger

Date                                                 Balance         Date                                                       Balance

02/04                                                   $0.00        02/19                                                        $0.00
02/05                                                   $0.00        02/20                                                        $0.00
02/07                                                   $0.00        02/21                                                        $0.00
02/10                                                   $0.00        02/24                                                        $0.00
02/11                                                   $0.00        02/25                                                        $0.00
02/12                                                   $0.00        02/26                                                        $0.00
02/13                                                   $0.00        02/27                                                        $0.00
02/14                                                   $0.00        02/28                                                        $0.00
02/18                                                   $0.00




                   Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                                  Page 2 of 4
                           Case 25-10308          Doc 436-7       Filed 05/09/25        Page 101 of 110

                                                                                February 01, 2025 through February 28, 2025
                                                                                 Account Number:                         6266




       Diamond Comic Distributors, Inc.
       Controlled Disbursement Account
       --




Stop Payment Renewal Notice


Account Number                 6266                                                                  Bank Number:         802




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke           Sequence          Date              Renewal                  Low Range or                         High Range

Stop             Number            Entered           Date                    Check Number                            or Amount

                 0000019           05/06/2020        05/06/2025                     109012                           $3,038.29
                 0000020           05/07/2020        05/07/2025                     108903                           $1,536.00
                 0000021           05/26/2020        05/26/2025                     109500                           $1,365.70
                 0000022           05/28/2020        05/28/2025                     109231                               $464.44
                 0000054           05/06/2021        05/06/2025                     117430                           $9,740.19
                 0000055           05/06/2021        05/06/2025                     119037                           $2,116.80
                 0000056           05/10/2021        05/10/2025                     118428                         $13,103.14
                 0000057           05/19/2021        05/19/2025                     119221                           $4,785.61
                 0000077           05/24/2022        05/24/2025                     123969                               $293.20
                 0000092           05/17/2023        05/17/2025                     127662                           $4,524.45
                 0000093           05/25/2023        05/25/2025                     131728                         $61,029.41
                 0000121           05/03/2024        05/03/2025                     137398                           $8,039.10
                 0000122           05/03/2024        05/03/2025                     137719                               $870.23
                 0000123           05/30/2024        05/30/2025                     138260                           $4,852.00




Diamond Comic Distributors, Inc.                                                      JPMorgan Chase Bank, N.A.
Controlled Disbursement Account                                                       P O Box 182051
--                                                                                    Columbus     OH 43218-2051
10150 York Rd
Hunt Valley MD 21030-3340




                                                                                                           Page 3 of 4
Case 25-10308     Doc 436-7        Filed 05/09/25    Page 102 of 110




                This Page Intentionally Left Blank




                                                                  Page 4 of 4
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 103 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 104 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 105 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 106 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 107 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 108 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 109 of 110
Case 25-10308   Doc 436-7   Filed 05/09/25   Page 110 of 110
